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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                      Charlottesville Division

    MATAN GOLDSTEIN,                               )
                                                   )
              Plaintiff,                           )
                                                   )
    v.                                             )
                                                   )
    THE RECTOR AND VISITORS OF THE                 )
    UNIVERSITY OF VIRGINIA (a/k/a and              )
    hereinafter referred to as “THE                )
    UNIVERSITY OF VIRGINIA” or                     )        CASE #: 3:24-cv-00036-RSB-JCH
    “UVA”); PRESIDENT JAMES E. RYAN,               )
    in his personal and individual capacity;       )          JURY TRIAL DEMANDED
    FACULTY FOR JUSTICE IN                         )
    PALESTINE UVA CHAPTER (a/k/a and               )
    hereinafter referred to as “FJP at UVA”);      )
    STUDENTS FOR JUSTICE IN                        )
    PALESTINE AT UVA (a/k/a and                    )
    hereinafter referred to as “SJP at UVA”),      )
                                                   )
              Defendants.                          )
                                                   )

   “We have come to know Man as he really is. After all, man is that being who invented the gas
  chambers of Auschwitz; however, he is also that being who entered those gas chambers upright,
                   with the Lord’s Prayer or the Shema Yisrael on his lips.”

         Rabbi Harold S. Kushner, as quoted in the preface to Viktor Frankl’s transcendent work,
                                      Man’s Search for Meaning.

                                      AMENDED COMPLAINT

  COMES NOW PLAINTIFF Matan Goldstein, through undersigned counsel, who hereby avers,

  alleges, and complains of the Defendants as follows:




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                                       I. INTRODUCTION

  1.    An image of courage, an image of hate:




  2.    The image in Paragraph 1 is a photograph depicting University of Virginia freshman

        student Matan Goldstein—eighteen years old at the time of the photograph, wearing his

        Yarmulke bearing the Star of David, and carrying the flag of Israel—being berated,

        heckled, threatened, harassed, and bullied by University of Virginia students and

        University of Virginia faculty members at the central, most famous and historic site on the

        University of Virginia campus on October 25, 2023, less than two months after his arrival

        in Charlottesville to begin his college education.

  3.    The photograph depicts University of Virginia students and University of Virginia faculty

        members, on the steps of the University of Virginia Rotunda—with full notice to and

        awareness of the University officials tasked with preventing antisemitic harassment, abuse,

        and bullying—acting on behalf of groups or associations who have been directly linked to



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        Hamas, a federally designated Foreign Terrorist Organization whose sole aim is the

        destruction of the state of Israel and the extermination of the Jewish people.

  4.    The UVA students and UVA faculty members (all members of Defendants SJP at UVA

        and FJP at UVA) engaged in the intimidation, harassment,

  5.    and abuse for the purpose of carrying out Hamas’s agenda to foment chaos within the

        United States regarding support for Israel and to instill fear in the hearts and minds of

        Jewish, Israeli-American, and Zionist students and faculty members like Matan Goldstein.

        The groups specifically threatened and targeted Matan because of his Jewish faith,

        ethnicity, and heritage, because of his Israeli-American national origins and shared

        ancestry, and because he is a Zionist. The students, student groups, faculty members, and

        faculty groups did in fact intimidate Matan Goldstein and instill fear and trepidation in

        Matan Goldstein because of his Jewish faith, ethnicity, and heritage, because of his Israeli-

        American national origins and shared ancestry, and because he is a Zionist.

  6.    In the moments shortly after the photograph was taken, Matan was surrounded and

        assaulted—pushed, shoved, and slapped—by protesters in the same, nearly identical

        fashion employed by members of other Students for Justice in Palestine “chapters” on other

        universities and colleges in similar antisemitic, anti-Israel, anti-Zionist disruptions of those

        educational environments. Protesters acting on behalf of and in concert with Defendants

        FJP at UVA and SJP at UVA threatened Matan with death and serious, grievous bodily

        injury, shouting that they would “teach him a lesson” if and when they could get their hands

        on him.

  7.    The photograph and the events surrounding it took place during one of the pre-planned,

        pre-announced antisemitic, anti-Israel, and anti-Zionism demonstrations and disruptions of




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        UVA and the Plaintiff’s educational environment by UVA faculty members, UVA faculty

        groups, UVA students, and UVA student groups including Defendant Faculty for Justice

        in Palestine UVA Chapter and Defendant Students for Justice in Palestine at UVA.

  8.    Defendants SJP at UVA and FJP at UVA are antisemitic, anti-Israel, anti-Zionist hate

        groups who enjoy the full support of the University of Virginia, including but not limited

        to receiving financial support, aid, and comfort from “Agency Level” and “Special Status”

        student groups such as UVA’s student council, legal advice and representation from UVA’s

        Law School, and a ready ear and helping hand from President Ryan who acts as an eager

        conduit for these hate groups to the University’s resources and policy-making

        functionaries.

  9.    As set forth in painstaking detail below, since October 7, 2023, and continuing into the

        foreseeable future, Matan’s “educational environment” has been pervaded, saturated, and

        thoroughly infected with the sepsis of antisemitism, anti-Israel bias, and anti-Zionism.

  10.   Matan has personally been exposed to and endured every instance of hate, harassment, and

        abuse that is contained in this Amended Complaint.

  11.   The severe hate has thwarted, impaired, and blocked Matan’s access to public

        accommodations and the public accommodation that is the University’s educational

        environment. Matan has been personally deprived of the natural and reasonably expected

        benefits of his educational experience.

  12.   Matan has been exposed to and forced to endure severe and intolerable harassment and

        abuse of an antisemitic, anti-Israel, and anti-Zionist nature that has been constant, frequent,

        and continuous throughout the University’s educational environment since October 7,

        2023.




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  13.   The University of Virginia administration, specifically including Defendant President

        Ryan, possessed full knowledge and awareness that antisemitic hate groups were being

        formed on campus and that they planned a campaign of hate-based and disruptive events

        to terrorize Jewish students, including Matan, and to destabilize and delegitimize support

        in the United States for Israel by creating an intolerable and hostile educational

        environment for Matan and other Jewish students.

  14.   Matan has personally filed numerous formal complaints through a variety of University

        apparatuses and outlets, including the “Just Report It!” system, the University Judiciary

        Committee, the University’s Office of Equal Opportunity and Civil Rights (or “EOCR”),

        Student Affairs, the University Police Department, the University Student Health System,

        the Charlottesville Police Department, a Title VI complaint with the United States

        Department of Education, in writing and face-to-face with President Ryan, and even this

        lawsuit.

  15.   That the acts and misconduct of UVA student group Defendant SJP at UVA and its student

        members and UVA faculty group Defendant FJP at UVA and its members occurred is not

        in credible dispute. Most, if not all, are memorialized in photographs and social media

        posts, among other forms of recording.

  16.   The antisemitism and antisemitic harassment, abuse, and misconduct at the University of

        Virginia are undisputably severe, unwelcome, and objectively offensive—obscenely so.

  17.   The “pervasion” or “pervasive” nature of antisemitism at the University of Virginia has

        two legal effects: First, the facts as alleged above and below qualify as a “hostile

        educational environment” under applicable law; and, second, the complete saturation and

        infection of every element and component of the “educational environment” raises an




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        independent basis for the University’s own culpability, independent of the “deliberate

        indifference” theory of imputation, which is likewise present here.

  18.   At any moment from October 8, 2023, to the present, the University of Virginia and

        President Ryan have the power and duty to bring the antisemitic, hate-based discrimination

        and harassment of Matan and the school’s Jewish students and faculty to an immediate

        end. The University and President Ryan are empowered by numerous policies and

        procedures specifically enacted for this very purpose. At all times, the University and

        President Ryan have possessed the organizational capacity and personnel to bring to a swift

        end the misconduct that is complained of in this Amended Complaint.

  19.   The applicable and governing laws—and reasonable expectations, standards, and duties of

        care—require the University of Virginia and President Ryan to act.

  20.   Yet, to this date, the University of Virginia and President Ryan have actively and

        purposefully refused to act, refused to properly and reasonably discharge their duties. The

        Plaintiff expressly alleges that the University of Virginia affirmatively chose to do the

        wrong thing—in this case, doing absolutely nothing at all—despite knowing what the law

        requires and despite knowing that UVA’s Jewish population is at risk and has been

        subjected daily to illegal harassment, torment, and even physical danger. There can be no

        argument from the University about the reasonableness of the school’s response, because

        there has been no response.

  21.   To date, the University of Virginia and President Ryan have refused to acknowledge that

        antisemitism exists on UVA’s campus, have refused to admit that those groups’

        antisemitic, anti-Israel, and anti-Zionist behavior and speech are antisemitic, and have




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        refused to implement any steps or measures whatsoever to protect Jewish students or their

        rights to attend and participate in the University of Virginia educational environment.

  22.   Instead, the University of Virginia and its most senior leaders have used their platforms

        and their resources to shame, humiliate, and retaliate against Matan, his parents, and other

        Jewish students and their parents who have come forward to express their fears to the

        University administration.

  23.   Lending credence to the allegations and claims that this is a much larger concerted and

        calculated movement against Jewish students by pro-Hamas groups across the country, are

        the numerous lawsuits brought by other Jewish students at UVA’s “peer institutions”

        against schools whose administrators are closely connected and in many cases, close

        friends and colleagues with Defendant President Ryan, alleging similar misconduct by

        local chapters of Students for Justice in Palestine and Faculty for Justice in Palestine as

        well as unreasonable inaction and failures to respond (and deliberate indifference) on the

        part of the schools and their administrations.1

  24.   Likewise, several lawsuits have been initiated by courageous victims of the October 7,

        2023, terrorist attacks by Hamas in Israel. Those suits seek redress from a number of Hamas

        affiliates and proxies who are common in the terror-victim lawsuits, the most notable of

        which is National Students for Justice in Palestine. Importantly, Defendant Students for

        Justice in Palestine at UVA is a named defendant in the terror-victims’ lawsuit pending




  1
        Brandeis v. University of California at Berkeley, 3:23-cv-06133 (N.D. Cal.); Brandeis v. Harvard, 1:24-cv-
        11354 (D. Mass.); C.S. v. Columbia, 1:24-cv-03232 (S.D.N.Y.); Frankel v. UCLA, 2:24-cv-04702 (C.D.
        Cal.); Gerwaski v. UNLV, 2:24-cv-00985 (D. Nev.); Ingber v. NYU, 1:23-cv-10023 (S.D.N.Y.); Jews at
        Haverford v. Haverford, 2:24-cv-02044 (E.D. Pa.); Kestenbaum v. Harvard, 1:24-cv-10092 (D. Mass.);
        Yakoby v. Penn, 2:23-cv-04789 (E.D. Pa.). This list is not exhaustive.



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        before the United States District Court in Tampa, Florida.2 All of these lawsuits tell a

        chilling and compelling story of an internationally coordinated campaign of antisemitism

        and antisemitic terror, all purposefully calculated to destroy Israel and the Jewish people

        there by delegitimizing Israel on college campuses here and destabilizing support for Israel

        and Jewish people by harassing, abusing, and terrorizing Jewish students and faculty on

        our nation’s “prestigious” university campuses.

  25.   The Defendants have individually and collectively deprived Matan Goldstein of all that is

        good at the University of Virginia, all that is beautiful and joyous in the journey to wear

        the “honor of honors” as a University of Virginia student.

                                    II. STATEMENT OF THE CASE

  26.   The instant lawsuit is a civil action sounding in federal constitutional and statutory and

        state statutory and common law causes of action and theories of relief.

  27.   In this civil action, the Plaintiff, individually and on his own behalf, seeks injunctive and

        declaratory relief, compensatory damages, punitive damages, attorneys’ fees, litigation

        costs, and pre- and post-judgment interest.

  28.   This actual, justiciable controversy revolves around the Defendants’ individual and

        collective liability for gross misconduct and the impairment and deprivation of the

        Plaintiff’s right to live, study, learn, and thrive at a public university free of hate-based

        discrimination, abuse, harassment, and retaliation. The Plaintiff is a victim of hate-based,

        intentional discrimination, severe harassment and abuse, and illegal retaliation.




  2
        Shnaider v. National Students for Justice in Palestine, et al., 8:24-cv-01067 (M.D. Fla.); Parizer v. National
        Students for Justice in Palestine, et al., 1:24-cv-00724 (E.D. Va.).


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                               III. JURISDICTION AND VENUE

  29.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

        as if alleged anew.

  30.   Subject matter jurisdiction is proper under 28 U.S.C. § 1331 and 28 U.S.C. § 1367 in the

        United States District Court for the Western District of Virginia.

  31.   Venue is proper in the United States District Court for the Western District of Virginia

        under 28 U.S.C. § 1391 because all of the events, acts, errors, and omissions giving rise to

        the Plaintiff’s claims occurred within this judicial district.

  32.   The United States District Court for the Western District of Virginia possesses and may

        exercise personal jurisdiction over all Defendants under applicable law.

                                    IV. PARTIES & ACTORS

  33.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

        as if alleged anew.

  A.    THE PLAINTIFF

  34.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

        as if alleged anew.

  35.   Plaintiff Matan Goldstein is a Jewish, Israeli-American, Zionist and a current, actively

        enrolled student at the University of Virginia in Charlottesville, Virginia.

  36.   All of the events and incidents that are alleged in this Amended Complaint occurred,

        impacted, and damaged Matan, within the University of Virginia’s “educational

        environment,” while Matan was an actively enrolled, full-time student at the University of

        Virginia.




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  B.    DEFENDANTS STUDENTS FOR JUSTICE IN PALESTINE AT UVA &
        FACULTY FOR JUSTICE IN PALESTINE UVA CHAPTER

  37.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

        as if alleged anew.

        1.     Hamas and National Students for Justice in Palestine

  38.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

        as if alleged anew.

  39.   Hamas is a United States-designated Foreign Terrorist Organization founded in 1987 with

        the express goal of destroying the State of Israel. Hamas follows a “charter” that calls for

        the extermination of the Jewish people and the eradication of the Jewish homeland of Israel.

        Hamas also promotes and calls for the destruction of those who support Israel, including

        the United States.

  40.   On October 7, 2023, Hamas terrorists invaded Israel and committed savage and barbaric

        atrocities, the likes of which have not been seen since the Holocaust. Many members of

        the University of Virginia Community and their family members, including the Plaintiff,

        were directly impacted by the terrorist attack.

  41.   Defendant Students for Justice in Palestine at UVA has been called “the student arm of

        Hamas” and a “franchise without a franchise fee” for Hamas by United States government

        officials, antisemitism watch groups, anti-terror think tanks, and journalists reporting on

        these matters.

  42.   Defendant Faculty for Justice in Palestine UVA Chapter is likewise an “arm” of Hamas

        and was purposefully created by Hamas proxies in the United States to support and assist

        student “chapters” such as Defendant SJP at UVA.




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  43.   For several decades, as part of its calculated, long-term strategy to destroy Israel and

        undermine all support for Israel in the United States, Hamas created and directed the

        creation of numerous corporate entities, non-profit groups, charitable organizations, and

        unincorporated associations within the United States to promote its agenda and aims and

        to serve as the propaganda machine for the terror organization.

  44.   The Hamas web of people and entities in the United States is vast and includes “chapters”

        on college campuses across the country, including Defendants SJP at UVA and FJP at

        UVA.

  45.   The Hamas conspiracy web in the United States mimics the structure and organization of

        criminal enterprises such as international drug cartels. Hamas’s hate-based conspiracy

        employs numerous shell corporations that are routinely created, dissolved and often just

        abandoned without ever complying with any corporate governance laws or regulations.

        The formal and informal associations do not identify boards of directors or executive

        officers. The groups have limited or no articles of incorporation, no by-laws or operating

        agreements, and no organizational charts. Bank accounts for entirely separate organizations

        and entities, which are often sham “non-profits,” are used to conduct the operations of these

        groups. The groups use the “dark web” and other high-tech, encrypted, and secret portals

        and platforms to communicate with one another and conduct their operations in furtherance

        of Hamas’s mission.

  46.   Among the many national and parent groups or associations that have been created within

        the United States by or at the direction of Hamas, three of the most currently active and

        prominent are: the “US Campaign for the Academic and Cultural Boycott of Israel,” also

        known as “USACBI”; the “Americans for Justice in Palestine Educational Foundation,




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        Inc.,” also known as “American Muslims for Palestine” or “AMP”; and “National Students

        for Justice in Palestine,” also known as “NSJP,” “Students for Justice in Palestine,” or

        “SJP.”

  47.   AMP and NSJP are currently the subject of open investigations by state and federal

        authorities. The Office of Attorney General of the Commonwealth of Virginia recently

        secured a court order in the Circuit Court for the City of Richmond compelling AMP to

        produce important records regarding its financial support and activities. The United States

        Congressional Committee on Oversight and Accountability has demanded documents from

        AMP and NSJP regarding the groups’ funding and finances, the groups’ relationship and

        communications with Hamas or Hamas’s affiliates, and the groups’ communications and

        conduct surrounding Hamas’s terrorist attack on October 7, 2023.

  48.   An overwhelming body of compelling evidence conclusively demonstrates the existence

        of a direct connection and relationship among Hamas, AMP, and NSJP.

  49.   Further, the same body of evidence conclusively demonstrates NSJP’s preparations in

        advance of the horrors and atrocities of October 7, 2023, and its directives to local chapters

        such as Defendant Students for Justice in Palestine at UVA regarding Hamas’s strategy to

        destabilize support for Israel in the United States and to terrorize Jewish students through

        intimidating and sometimes violent student protests, harassment, abuse, and bullying on

        college campuses across the United States.

        2.       Defendant Students for Justice in Palestine at UVA

  50.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

        as if alleged anew.




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  51.   As alleged and supported by compelling evidence in official reports and studies and in

        multiple federal lawsuits, Hamas employs unconventional weapons in its campaign to

        destroy Israel, exterminate the Jewish people, and eradicate all nations and people who

        support Israel. One such weapon is the virus of lies, propaganda, and chaos spread around

        the world.

  52.   NSJP and its local chapter Defendant Students for Justice in Palestine at UVA are

        antisemitic, anti-Israel, anti-Zionist organizations formed for the purpose of advancing

        Hamas’s international war on Jews and Israel.

  53.   Prior to or contemporaneous with Hamas’s October 7, 2023, massacre in Israel, Hamas

        transmitted a global “call” for the mobilization of its allies and affiliates, the propagation

        of disinformation and antisemitic hate, and the instigation of chaos in the “soft underbelly”

        of American society: “elite” college and university campuses.

  54.   Defendant Students for Justice in Palestine at UVA (“SJP at UVA”)3 is a formally

        recognized (and perhaps funded) student group at the University of Virginia. It is known

        as a “CIO” or “Contracted Independent Organization.” A majority of its members must be

        actively enrolled students and those members and its officers are subject to all of the

        University’s anti-discrimination and anti-harassment policies, student codes of conduct,

        and local, state, and federal laws.

  55.   As a “CIO” at UVA, Defendant SJP at UVA is a formal, unincorporated association

        organized and operating under the laws of the Commonwealth of Virginia and located in


  3
        As with many of the other NSJP chapters across the country, Defendant SJP at UVA forms and reforms alias
        and alter-ego organizations and also will, from time to time, rename itself or change its name, all in the
        continuing effort to avoid transparency or detection and avoid compliance with applicable laws, regulations
        and policies. As of the filing of this Amended Complaint, the University of Virginia’s Student Affairs
        Division’s Multicultural Student Services Division – Department of Middle Eastern/North African Resources
        still identifies “Students for Justice in Palestine (SJP)” with a direct link the @sjpuva for its contact
        information as a viable Contracted Independent Organization.


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        Albemarle County, Virginia at the University of Virginia. Students for Justice in Palestine

        at UVA is a formal student group that exists and operates at and within the institution of

        the University of Virginia. Defendant SJP at UVA is an entity that is capable of suing and

        being sued and is subject to the jurisdiction of this Honorable Court.

  56.   As a “CIO” at UVA, Defendant SJP at UVA is required to have a membership, an

        organizational structure, including a “president” or executive, is required to convene

        regular meetings regarding activities and governance, and is required to have corporate

        governance documents such as a student group constitution and by-laws. SJP at UVA has

        somehow managed to secure organization and recognition from the University with only

        the barest minimum of documentation, none of which sets forth the identity of its members,

        its organizational structure, the identity of its officers, or the terms of any constitution or

        by-laws.

  57.   Members of SJP at UVA and participants in SJP at UVA’s disruptive and dangerous rallies

        and protests and other misconduct in UVA’s educational environment are instructed by

        SJP at UVA to wear masks and other garments and adornments to conceal their identity

        and to take other precautions to ensure that their identities are not revealed. SJP at UVA

        also instructs its members and participants how to engage with law enforcement and media,

        all the while advancing the aims and agenda of NSJP and SJP at UVA.

  58.   With the University of Virginia’s assistance, Defendant SJP at UVA uses strict student

        records and privacy laws in its attempt to shield and conceal members’ identities from the

        public and from other students.

  59.   Defendant SJP at UVA and its principals have created and act on behalf of and in concert

        with dozens of similar student organizations that appear to be mere alter egos or aliases for




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        SJP at UVA and are simply antisemitic facsimiles of SJP at UVA. These antisemitic, anti-

        Israel, pro-Hamas organizations bear names such as “Students for Peace and Justice in

        Palestine” (italics added), “UVA Apartheid Divest” and “Dissenters @ UVA,” to name but

        a few.

  60.   The current “President” of Defendant SJP at UVA, “J.R.,” is a rising “Fourth Year,” or

        senior, student at University of Virginia. “J.R.’s” identity is known to the Plaintiff and all

        the Defendants. At all times relevant to this Amended Complaint, “J.R.” was the

        “President” of SJP at UVA and the principal actor and agent for SJP at UVA and other

        antisemitic, anti-Israel, and anti-Zionist associations and groups within the UVA

        Community and educational environment. The President of SJP at UVA personally

        engaged in all of the acts, errors, and omissions that are attributed to SJP at UVA and did

        so entirely for the benefit and furtherance of the interests, aims, and directives of SJP at

        UVA, entirely within the course and scope of the student’s membership and duties as an

        officer of SJP at UVA, entirely within the educational environment at UVA, and solely as

        a student at the University of Virginia.

  61.   During a recent planned meeting with Defendant President Ryan regarding the antisemitic

        “BDS” movement, the President of SJP at UVA purported to speak for and represent as

        many as forty-three pro-Hamas, anti-Israel, antisemitic formal student organizations.

  62.   Another actor or agent of what is described as the “coalition” of student groups that

        includes Defendant SJP at UVA is UVA Student “E.W.,” a rising junior, or “Third Year”

        student who is actively and currently enrolled student at the University of Virginia. “E.W.”

        has participated in the antisemitic, anti-Israel, and anti-Zionist actions and protests of SJP

        at UVA and its alias or alter-ego associations. “E.W.” has spoken publicly in defense of




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        the “coalition” and expressly ridiculed the Plaintiff in the press. “E.W.’s” identity is known

        to the Plaintiff and the Defendants.

  63.   The very existence of SJP at UVA; membership in the antisemitic, pro-Hamas

        organization; SJP at UVA’s repeated violations of University policies and student codes of

        conduct; and the innumerable instances of hate-based misconduct alleged and referred to

        below constitute, as a matter of law, breaches of the numerous duties owed by SJP at UVA

        and its student-members to Matan and other members of the University community.

  64.   A recent New York Times article described the NSJP network, which includes Defendant

        SJP at UVA:

                But unlike many national campus groups—whether they are sororities,
                fraternities, religious or political—Students for Justice in Palestine is by
                design a loosely connected network of autonomous chapters. There is no
                national headquarters and no named leader. There is a national student
                steering committee, but it is anonymous. The group has never registered as
                a nonprofit, and it has never had to file tax documents. One of the people
                who founded it about 30 years ago, Hatem Bazian, has described the setup
                as ‘a symbolic franchise without a franchise fee.’ That deliberate lack of
                hierarchy has been crucial to the network’s ascent, allowing chapters to
                spring up with few obstacles, according to interviews with 20 people and a
                survey of videos, academic writings, archival news accounts and public
                records.4




  4
        Alan Blinder, Inside the Pro-Palestinian Group Protesting Across College Campuses, N.Y. TIMES (Nov. 17,
        2023).


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  65.   Defendant SJP at UVA, according to its own published admissions, “is” National Students

        for Justice in Palestine:




             Social Media “posts” by National SJP and the “@SJPUVA” social media account for
                             Defendant Students for Justice in Palestine at UVA.




              SJP at UVA flyer distributed directing media inquiries and requests to National SJP.

  66.   Shortly before or within mere hours after Hamas committed the single worst incident of

        wholesale slaughter of Jewish people since the Holocaust, National Students for Justice in




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        Palestine transmitted the “Day of Resistance Toolkit” to its chapters, including Defendant

        SJP at UVA. The “toolkit” is both an antisemitic manifesto and an operator’s manual for

        committing hate crimes on college campuses across the United States. The NSJP Day of

        Resistance Toolkit is attached as Exhibit A.

  67.   In its toolkit, National Students for Justice in Palestine called “for a national day of

        resistance on college campuses across occupied Turtle Island [the United States and

        Canada] and internationally this Thursday, October 12th, 2023.” The toolkit includes an

        invitation to a “how to organize a protest” seminar, “including roles, security, media

        training, and more[.]” The toolkit includes instructions regarding “messaging and framing”

        of the Hamas narrative, instructions for use of specific “hashtags” on social media posts,

        and “template graphics” for the creation of physical posters, “tabling materials,” and social

        media posts.

  68.   The NSJP toolkit goes on to proclaim:

               For over 75 years, our Palestinian people, through steadfast resistance, have
               waged a prolonged war for liberation and return to our colonized homeland.
               What we are witnessing now is a heightened stage of the Palestinian
               struggle—through tearing down colonial infrastructure and liberating our
               colonized land from illegal settlements and military checkpoints, our people
               are actualizing revolution. Palestine will be liberated from the river to
               the sea, and our resistance, through their bravery and love for land, continue
               to bring dignity and honor to the Palestinian people. As the diaspora-based
               student movement for Palestine liberation, our responsibility is to not only
               support, but struggle alongside our people back home. The forces of
               Zionism engage in media campaigns which attack our people and resistance
               from all sides—it is our responsibility, therefore, to break through their
               hegemonic narratives of “war” and “unprovoked aggression,” and instead
               ground our campuses and communities in a narrative which centers the
               legitimacy of resistance and the necessity of complete liberation. Please
               find below a breakdown of framework and important messaging which help
               contextualize, frame, and above all normalize and support our fearless
               resistance. (Emphasis added.)

                                            ***



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                Resistance comes in all forms—armed struggle, general strikes, and
                popular demonstrations. All of it is legitimate, and all of it is necessary.
                (Emphasis added.)

                                                 ***

                We as Palestinian students in exile are PART of this movement, not in
                solidarity with this movement. This is a moment of mobilization for all
                Palestinians. We must act as part of this movement. All of our efforts
                continue the work and resistance of Palestinians on the ground.

  69.   The plain text of the NSJP Toolkit confirms that chapters such as Defendants SJP at UVA

        do not merely assist Hamas’s ongoing terror campaign abroad—they perpetuate it in the

        United States.

  70.   The mission of National SJP and, by extension, its chapters, including Defendant SJP at

        UVA, mirror Hamas’s Charter.

  71.   National SJP proclaims its mission to be: “[T]o elevate the student movement for

        Palestinian liberation to a higher level of political engagement. We aim to develop a

        connected, disciplined movement that is equipped with the tools necessary to contribute to

        the fight for Palestinian liberation.”5

  72.   This parallels language in the 2017 Hamas Charter: “Resistance and jihad for the liberation

        of Palestine will remain a legitimate right, a duty and an honour [sic] for all the sons and

        daughters of our people and our Ummah.” The Hamas charter calls for the annihilation of

        Israel through “jihad” (i.e., holy war) and seeks to establish an Islamic state in place of

        Israel, “from the (Jordan) River to the (Mediterranean) Sea.” Hamas advocates the use of

        violence and terrorist attacks to achieve its ends. The leaders and founders of the parent or

        umbrella groups National Students for Justice in Palestine, American Muslims for


  5
        NATIONAL STUDENTS FOR JUSTICE IN PALESTINE, https://nationalsjp.org/about (last visited Aug. 6, 2024).



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        Palestine, USACBI, those groups’ precursor and predecessor entities, and the organizations

        themselves, were well-known vocal advocates and proponents of Hamas’s ideology and

        political program.

  73.   NSJP and its “chapters” employ a number of tactics to advance their antisemitic, anti-Israel,

        and anti-Zionist agenda, including plastering offensive, hateful antisemitic posters and

        materials throughout school facilities, including residential spaces, classrooms,

        administrative buildings, and shared common places; disrupting the educational

        environment by staging protests, rallies, “Noise Demos,” “sit ins,” “die ins,” “take overs”

        of buildings and facilities, and, of course, as discussed below and seen by every American

        who possesses a television, constructing “Jew Exclusion Zones” or “Gaza Encampments”

        in front of the most trafficked and frequently visited school spaces.

  74.   Another vicious tactic and retaliatory measure employed by National SJP and its chapters

        is “lawfare” or a variation thereof to target Jewish students and student-journalists who

        dare to stand up or speak out against antisemitism and hate. At Princeton, for example,

        National SJP is reported to have filed multiple “No Contact Orders” against innocent

        students and journalists in order to silence them.6 At UVA, Defendant SJP at UVA, with

        the help of Defendant FJP at UVA and their legion of supporters, including the UVA

        administration (and its lawyers), would weaponize the most sinister instrument in the

        University of Virginia’s history or culture: the Honor Charge.




  6
        Jessie Appleby, Princeton keeps letting students weaponize no-contact orders against student journalists,
        THE      FOUNDATION      FOR    INDIVIDUAL      RIGHTS     AND    EXPRESSION      (Jan.    25,     2024),
        https://www.thefire.org/news/princeton-keeps-letting-students-weaponize-no-contact-orders-against-
        student-journalists.


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        3.      Defendant Faculty for Justice in Palestine UVA Chapter

  75.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

        as if alleged anew.

  76.   One of the primary instruments employed by Hamas in its worldwide propaganda

        campaign to erode support for Israel is the international “Boycott, Divestment and

        Sanctions” or “BDS” movement. BDS groups, the BDS “movement,” and everything BDS

        “is,” can fairly be characterized as antisemitic, anti-Israel, and anti-Zionist.

  77.   BDS is a weapon in Hamas’s overall terror arsenal that it uses to achieve its objective of

        the destruction of Israel and all who support it.7 Importantly, many “peer institutions” of

        the University of Virginia—but not UVA—have banned BDS movements or referenda

        from taking place at their schools.

  78.   Within the United States, Hamas directs and promotes the BDS movement through its

        proxies, including AMP, NSJP, and the “US Campaign for the Academic and Cultural

        Boycott of Israel” or “USACBI.”

  79.   Like other Hamas affiliates in the United States, USACBI’s fundraising and finances are

        managed through detached shadowy networks of what it calls “fiscal sponsors.” USACBI’s

        “fiscal sponsor” is “Al-Awda (Palestine Right to Return Coalition)” and all donations are

        funneled through that group. This type of behavior mirrors the sophisticated money-

        laundering techniques employed by international drug cartels and other organized crime

        entities.

  80.   According to its own website and materials, USACBI “issued a call to form Faculty for

        Justice in Palestine (FJP) groups on campuses in order to support NSJP, protect local


  7
        Complaint, Shnaider v. Am. Muslims for Palestine, et al., 8:24-cv-01067, ECF No. 1, at ¶¶ 86-125.



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        SJP organizers, offer faculty defense, organize teach-ins and other actions, and engage

        in Palestine solidarity work generally.” (Emphasis added.)

  81.   According to Defendant FJP at UVA’s own materials and admissions, “we have established

        the University of Virginia Chapter of Faculty for Justice in Palestine (FJP) in response to

        the call by USACBI.”

  82.   Faculty for Justice in Palestine UVA Chapter is a formal faculty group that exists and

        operates at and within the educational environment of the University of Virginia. FJP at

        UVA is an unincorporated association organized, located, and operating under the laws

        and within the Commonwealth of Virginia, particularly the jurisdiction of Albemarle

        County, Virginia, where the University of Virginia is physically located. Defendant FJP at

        UVA is an entity that is capable of suing and being sued and is subject to the jurisdiction

        of this Honorable Court.

  83.   FJP at UVA is comprised of over one hundred, and perhaps several hundred, “scholars,”

        (self-described), “teachers,” (self-described), faculty, employees, administrators, graduate

        students, and “members of the UVa Community” (self-described). Many FJP at UVA

        faculty members are tenured professors who occupy endowed “chairs” or prestigious

        positions within the academic infrastructure of the University. These positions carry and

        connote great influence and power over other professors and administrators, and, most

        importantly, students.

  84.   Hundreds of UVA faculty members have specifically and personally joined and acted on

        behalf of Defendant FJP at UVA throughout the 2023-24 school year to create a hostile,

        unwelcome, and dangerous educational environment for the Plaintiff at the University of

        Virginia.




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  85.   The following University of Virginia faculty members are among the most visible UVA

        faculty members who have engaged and participated in open and obvious conduct within

        the University of Virginia’s educational environment, within the course and scope of their

        employment and work for the University of Virginia, and in full concert with and in

        furtherance of the aims, agenda, and interests of Defendant FJP at UVA: the Julia Allen

        Cooper Professor of Government and Foreign Affairs and Ambassador Henry J. Taylor

        and Mrs. Marion R. Taylor Professor of Politics Robert J. Fatton, Jr.; the Rouhollah

        Ramazani Arabian Peninsula and Gulf Studies Associate Professor and Global Legal

        History teacher at UVA’s School of Law Fahad Ahmad Bishara; Associate Professor of

        African Religious Thought & Democracy Oludamini Ogunnaike; Global Studies &

        Anthropology Associate Professor Tessa Farmer; Associate Professor Walter F. Heinecke;

        Global Development Studies Track Director & International Residential College Director

        of Studies Associate Professor David Edmunds; Global Commerce in Culture & Society

        Track Director and Global Studies & English Assistant Professor Laura Goldblatt; Middle

        Eastern & South Asian Languages & Cultures and Women, Gender & Sexuality Professor

        Geeta Patel; Irfan and Noreen Galaria Research Chair and Associate Professor in Islamic

        Studies Noah Salomon; former Director & Chair of the Carter G. Woodson Institute for

        African American & African Studies at the University of Virginia and Alice Griffin

        Professor Deborah E. McDowell; Head of Library and Research Librarian Benjamin

        Doherty; Art History Associate Professor Christa Noel Robbins; Religious Studies and

        African-American and African Studies Professor Ashon Crawley; and General Faculty

        Assistant Professor Levi Vonk. The foregoing is not an exhaustive list.




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  86.       Defendant FJP at UVA members regularly post aggressive and intimidating messages on

            social media that the Plaintiff finds threatening to his safety, well-being, and sense of

            belonging.

  87.       As an example confirming the saturation of the UVA educational environment by

            Defendants FJP at UVA and SJP at UVA and their members’ willingness to engage in

            ultra-aggressive and intimidating rhetoric:




                Popular FJP at UVA faculty member Professor Levi Vonk displaying the violent, antisemitic
        image of hate known as the “Bloody Hands,” which is a pro-Hamas reference to the gruesome murder and
        mutilation of Israeli IDF soldiers. Adjacent to Professor Vonk’s “Bloody Hands” post is his endorsement of
                                violence to achieve a political aim by protesters and activists.

  88.       The “Faculty Defense” group or wing of Defendant FJP at UVA is comprised of UVA Law

            School professors and UVA Law School students. Many of the professors and students in

            the “Faculty Defense” group are also members of the group known as the “National

            Lawyers Guild at UVA Law.” One glimpse at the National Lawyers Guild at UVA Law’s


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        Instagram page demonstrates that the group is part of or closely affiliated with Defendants

        FJP at UVA and SJP at UVA and that its members have actively participated in SJP at

        UVA’s protests and disruptions within the University of Virginia’s educational

        environment. Whether the members of the “Faculty Defense” group or “NLG at UVA”

        group are acting as protesters, “legal observers” active in the protests and supporting the

        protesters, or acting as defense lawyers appearing in various courts and tribunals (and the

        press) on behalf of members of Defendants FJP at UVA and SJP at UVA (or some

        combination of all three categories of involvement), the law professors are acting within

        the UVA educational environment, fully within the course and scope of their employment

        and positions with the University of Virginia and the Commonwealth of Virginia, and in

        an adversarial posture to UVA student Plaintiff Matan Goldstein and other members of the

        UVA Community.

  89.   The FJP at UVA “Faculty Defense” team includes UVA Law professors the Lewis F.

        Powell, Jr. Professor of Law Anne M. Coughlin; Assistant Professor of Law Kelly Orians;

        Associate Professor of Law Thomas Frampton; and UVA Law Lecturer Bruce R. Williams.

        Charlottesville attorney Jeffrey E. Fogel is also part of the Defendant FJP at UVA’s

        “Faculty Defense” team but does not appear to be formally associated with or employed

        by UVA Law School.

  90.   Importantly, the University of Virginia has ratified and approved its Law School engaging

        on behalf of pro-Hamas, antisemitic actors and entities against its own Jewish students,

        specifically including Matan.

  91.   Therefore, it can be fairly said that the University of Virginia, and therefore, the

        Commonwealth of Virginia, are actively engaged in, directing, and funding the legal




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        defense for Defendants SJP at UVA and FJP at UVA and are defending the interests and

        legal matters for pro-Hamas, antisemitic groups who harass and bully UVA Jewish

        students, specifically including Matan.

  92.   It can also be fairly said that as a result of this enmeshment and official engagement,

        Defendant FJP at UVA is the University of Virginia, and vice versa.

  93.   Faculty at the University of Virginia, including the UVA law professors identified above,

        are employees of the Commonwealth of Virginia and, as such, owe a host of duties to the

        Commonwealth, the University Community, and their students—meaning the entire

        student body, not just those “comrades” with whom they “stand” in ideological

        “solidarity.”

  94.   The very existence of FJP at UVA and membership in FJP at UVA, along with the

        numerous acts of misconduct set forth below are definitively antisemitic and are, as a

        matter of law, a breach of each faculty member’s and the faculty group’s legal duties.

  95.   FJP at UVA acts in concert with and/or acts and speaks for dozens of other pro-Hamas

        groups at the University of Virginia. Collectively, these groups appear to be comprised of

        hundreds of University faculty, students, staff, and administrators.

  96.   FJP at UVA raises funds and seeks donations; convenes meetings; hosts events; promotes

        other pro-Hamas entities and their events and efforts; makes University-wide

        “announcements”; issues “Open Letters” to UVA students and the world; has ratified

        “Principles of Unity” that include a pledge of fealty to “SJP” along with antisemitic

        declarations; has established a website and an email address; and has a governing body and

        executive, including the designation of “liaisons” to negotiate with the University of

        Virginia Administration:




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            Members of FJP at UVA at the May 2024 pro-Hamas, antisemitic “Jew Exclusion Zone”
                          or “Gaza Encampment” that it established on Grounds.

  97.   According to FJP at UVA’s announcements and materials, “FJP supports, amplifies, and

        protects the work of SJP and other pro-Palestinian students and student groups at UVA,”

        and “we have come together as a community of scholars, activists, and university staff in

        solidarity with our colleagues across the world to demand the liberation of the Palestinian

        people.”

  98.   In other words, Hamas issued a call to its supporters on college campuses nationwide to

        form loyal faculty and student cells or “chapters.” Those groups were instructed by parent

        organizations created by Hamas to support, amplify, and carry out the directives and

        mission of Hamas, namely the destruction of Israel and the extermination of the Jewish

        people.

  99.   On July 9, 2024, the United States Director of National Intelligence Avril Haines stated:

                  In recent weeks, Iranian government actors have sought to opportunistically
                  take advantage of ongoing protests regarding the war in Gaza, using a
                  playbook we’ve seen other actors use over the years. We have observed
                  actors tied to Iran’s government posing as activists online, seeking to
                  encourage protests, and even providing financial support to protesters.




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  100.   Defendant FJP at UVA and Defendant SJP at UVA heard and heeded the call from Hamas,

         and, apparently, even the Supreme Leader of the Islamic Revolution, as the Supreme

         Leader of Iran is formally called, the Ayatollah Seyyed Ali Hosseini Khameini himself,

         approves:




  C.     DEFENDANT THE UNIVERSITY OF VIRGINIA

  101.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

         as if alleged anew.

  102.   “The Rector and Visitors of the University of Virginia” is the official, corporate, and

         statutory name for the entity known and referred to herein as “The University of Virginia”

         or “UVA.”

  103.   The University of Virginia was founded in 1819. The school was conceived, founded,

         designed and, for the most part, constructed under the supervision of Thomas Jefferson.

         Today, the University of Virginia’s annual operating budget exceeds $5 billion (less than

         half of which is expended on academics). The public school’s endowment is estimated to

         far exceed $10 billion. The President of the University enjoys a salary and benefits that are

         reported to exceed $2 million in taxpayer cost and include housing, car allowances, and

         club memberships, to name but a few of the emoluments of the position. Numerous


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         administrators in the President’s “inner circle” of “vice presidents,” “counselors,” and

         “deans” are likewise highly compensated.

  104.   The University of Virginia is an operation of enormous proportions that utilizes what has

         been called a “Byzantine” organizational structure, with a web of interlocking policies,

         procedures, and regulations.

  105.   The University employs over 25,000 people and educates more than 25,000 enrolled

         students. Annual student tuition for a significant percentage of the undergraduate student

         population exceeds $50,000, exclusive of living expenses. Graduate school tuition is even

         higher: at the Law School, for example, tuition can exceed $75,000 per year.

  106.   The University of Virginia is a vast, powerful, and prestigious institution and entity. Most

         importantly, the University is first and foremost a public entity, and its officers and

         directors are first and foremost public officials and actors who swear oaths to act in the

         best interests of the Commonwealth of Virginia.

  107.   The University and President James E. Ryan owe a host of duties to the Commonwealth,

         the University as an institution of higher learning, and the members of the University

         Community, but none are more sacrosanct or incontrovertible than their duty to protect and

         safeguard students’ physical well-being.

  108.   The University of Virginia and President Ryan have failed in that charge, unreasonably so,

         when it comes to the protection of Jewish students and faculty.

  109.   The President of the University enjoys the full authority and power to direct, initiate, limit,

         alter, modify, or terminate the actions of the University’s assets.




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         1.     The University of Virginia Educational Environment

  110.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

         as if alleged anew.

  111.   The organism or being that “is” the University of Virginia is vast and extends far and wide,

         both physically and virtually. The “educational environment,” also known as the

         “University Community” includes people, places, and things that exist physically “in the

         real world,” virtually or “online,” and, finally, culturally and philosophically.

                a.      The UVA Physical Educational Environment

  112.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

         as if alleged anew.

  113.   The first and most obvious component of UVA’s “educational environment” is the physical

         realm. The UVA physical “educational environment” encompasses multiple sites

         throughout the City of Charlottesville and Albemarle County as well as other sites,

         campuses and facilities across the Commonwealth. These facilities are elaborate and

         extensive. They include multiple libraries, numerous residential halls, extensive and

         impressive classroom buildings with adjacent faculty offices and lounges, dozens of dining

         facilities, entertainment venues, study and meeting spaces, multiple state-of-the-art

         recreational buildings, and world-class student health facilities, to name but a few.

  114.   The University’s physical presence includes, of course, its “best-in-class” graduate

         schools, which also claim beautiful campuses in their own right within a stone’s throw of

         the “Grounds,” as the original university campus is known, where the undergraduate

         schools are located and most University operations take place.




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  115.   The most prominent, visible, and important component or area of the University of

         Virginia’s physical educational environment is the “Academical Village,” designed and

         built by Thomas Jefferson over two centuries ago. The “original” University—the Rotunda,

         the Lawn, the Range, and the surrounding Hotels and gardens—is an architectural wonder

         and philosophical masterpiece. “Mister Jefferson,” as he has been referred to lovingly by

         generations of UVA students, intended the Rotunda to be a true temple (of learning), rising

         above the Lawn’s manicured and serene plateau in near-spiritual expression of the

         University’s and his adoration of the pursuit of knowledge. The Lawn and Range were

         designed to house students and faculty as well as their learning environments. Every facet

         of the Lawn, from the rows of the colonnade to the uniqueness of each Pavilion, is infused

         with a specific philosophical meaning and an architectural or engineering function.

  116.   Today, “the Lawn,” as the entire original Grounds and Academical Village are sometimes

         called, is a UNESCO World Heritage Site and widely considered one of the greatest

         architectural wonders of the world.

  117.   People from around the world come to Charlottesville to see and learn about the Lawn and

         Thomas Jefferson’s vision for the school and the world.

  118.   At its heart, and, some might say, its soul, the Lawn and the Academical Village, no matter

         how far and wide the University may expand, irrespective of adoration and accolades, are

         and will always be a school—a public school.

  119.   Classes are still taught on the Lawn, academic activities and pursuits still occur on the

         Lawn, and University operations are still directed in those ancient and well-preserved (and

         beautiful) buildings. Students still live in the Lawn and Range rooms, just as they did when

         Jefferson, Madison, and Monroe were in charge, or when Edgar Allan Poe was a student.




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         Many applicants will readily proclaim that their heart became set on UVA as their college

         when they first set eyes upon the Lawn. To be allowed to live on the Lawn as a Fourth

         Year is among the highest privileges that can be bestowed upon a University of Virginia

         student.

  120.   It is difficult if not impossible to access classes, libraries, student organizations, or, really,

         any aspect of UVA student life without coming into close proximity and contact with the

         wonder that is the Lawn, and, under normal circumstances, who would want to avoid the

         Lawn? It is unfathomable to conceive of being a University of Virginia student without

         access to the Lawn or to be forced to live, study, and learn at UVA under circumstances in

         which the Lawn is an unsafe, hostile, and unwelcoming place. The Lawn represents

         everything that the University of Virginia educational environment is and will be, good

         and bad.

  121.   The UVA physical educational environment also includes, of course, residential halls or

         dormitories; dining rooms, cafeterias, and coffee or snack shops; classrooms; meeting and

         study spaces; libraries; recreational and entertainment facilities; and all physical buildings,

         property, and facilities that are owned, rented, or operated by the University of Virginia for

         any purpose. Additionally, buildings and spaces that may not be directly “owned or rented”

         by the University of Virginia are nonetheless part of the UVA educational environment.

         These include spaces and buildings owned or rented by “contracted independent

         organizations” such as fraternities and sororities that are closely governed and managed by

         the University and are subject to its myriad of rules, regulations, and policies.




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                b.      The UVA Virtual or Online Educational Environment

  122.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

         as if alleged anew.

  123.   The UVA “educational environment” includes the “online” or “virtual” UVA Community

         and student experience. The University of Virginia has fully and thoroughly adopted,

         embraced, and integrated technology into every aspect of its core functions and mission as

         an institution. The University boasts of this fact. The operation of the university, and

         UVA’s communications with and among its administrators, faculty, staff, and student

         body, all occur through the use of a dizzying array of technologies. UVA employs a

         multitude of “apps” or applications and social media platforms to execute its functions.

         Some of these platforms are strictly “internal,” such as “Advocate” or the like, but many

         are platforms that can be open to the public, such as “X,” “Instagram,” “Meta,” and

         “GroupMe,” to name but a few. Finally, few, if any, members of the University

         Community, or the individuals and entities who make up the “educational environment,”

         communicate with one another through traditional, “hard copy” forms such as paper letters.

         Instead, text messages and email, or similar versions thereof, are the ubiquitous and

         universal means by which members of the University community, ecosystem, and

         “educational environment” communicate.

  124.   The University and President Ryan maintain official social media accounts that are used to

         advance their objectives and communicate with the University Community, including the

         student body. UVA and President Ryan’s audience of “followers” number in the tens of

         thousands, or more.




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  125.   The Office of the University President also manages, maintains, and monitors social media

         and uses those platforms to communicate with the community. The official “@UVA”

         account on Twitter has more than 100,000 followers. The “@PresJimRyan” account on

         Twitter claims more than 24,400 followers. Those are just two of the many social media

         and communications applications utilized by the University and its thousands of faculty

         and administrators to conduct University business, communicate with the University

         community, and broadcast University “messaging.”

  126.   Every school, “college,” division, department, and program at UVA maintains a vibrant

         and robust social media presence on publicly available platforms. Additionally, most

         faculty members, and especially those who occupy positions of prestige and high status at

         UVA, likewise have a well-developed social media presence that is both the product of

         their association with the University and is a means by which they promote their work and

         elevate their careers and status within the “community.” Perhaps the best known and

         famous of these esteemed faculty members is Professor Larry Sabato, who is a veritable

         social media-posting machine, churning out a near-constant stream of commentary and

         observations. A number of UVA faculty members who occupy positions of great status and

         prestige within the University faculty and administration ranks, and who consider

         themselves to be “racial justice activists,” are likewise highly visible online through various

         platforms including “X” and “Bluesky Social” and publish dozens of social media posts

         daily to their thousands, or tens of thousands, of followers.

  127.   Most student groups, such as Defendant Students for Justice in Palestine at UVA, maintain

         a direct and active social media presence and use numerous accounts, including their own,

         “alias accounts,” and the accounts of alter-ego groups to perform their core functions,




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         advance their group’s interests, and communicate with one another and the world at large.

         In fact, Defendant SJP at UVA has designated its Instagram page or account as its official

         place of contact in its University-required organizational materials. When a person seeks

         to connect with SJP at UVA or to find out how to reach it, they are “linked” on UVA’s

         own website to SJP at UVA’s Instagram page. Though appearing to be contrary to

         Defendant UVA’s own policies, procedures, guidelines, and protocols, the only

         information readily available from the University regarding the official UVA student group

         SJP at UVA is the group’s Instagram page, which conveniently links to other alias groups,

         alter-ego associations, and affiliated organizations.

  128.   Similarly, this online component of UVA’s “educational environment” includes faculty

         groups such as Defendant Faculty for Justice in Palestine UVA Chapter and other UVA-

         endorsed groups such as the “National Lawyer’s Guild” and its UVA members or affiliates.

  129.   Whether these faculty members’, faculty groups’, students’, student groups’, or UVA

         administrators’ websites or social media “posts” are officially or formally endorsed or

         approved by the University is of no moment: the groups’ online expressions identify

         themselves as UVA actors and agents. They are known to the University, they are tolerated,

         and in some cases, supported by the University, and they are most certainly part of the

         “educational environment” and “University Community” that UVA has built, embraced,

         and fostered. When a student, faculty member, administrator, or a UVA group or

         organization—or the University itself—engages online, that post and material, including

         comments and “threads” are part of the “educational environment”—the “UVA

         Community” where students such as Matan exist.




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  130.   The “influence” of the University’s online, social media presence and platform, when

         taking into account UVA’s departments, programs, faculty, students, and affiliated boards,

         foundations, and groups, reaches an audience of millions of “followers” and “viewers.”

                c.      The UVA Human Educational Environment

  131.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

         as if alleged anew.

  132.   Every organization or entity is defined by its people, and the University of Virginia and its

         educational environment are no different.

  133.   The “student body,” which includes the student population of individuals, student groups

         and organizations, and student leadership bodies, is one of the core components and

         fundamentally important ingredients of a university or college and its educational

         environment. The student body—its culture, behavior, ethos, and outwardly projected

         appearance—is among the most visible representations and embodiments of a university

         or college.

  134.   Similarly, the “Faculty,” which includes the university or college’s teachers, professors,

         and assistants as well as formal and informal faculty groups and associations, is an

         indispensable human element of the university or college and its educational environment,

         without which an institution cannot be said to exist.

  135.   Another cornerstone, foundational element of every university and college is its

         administration and its departments and divisions. The organization of the administration

         component of the modern university resembles that of a multi-national corporation,

         especially at the University of Virginia.




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  136.   Regarding the behemoth that is the University of Virginia Administration, Defendants the

         University of Virginia and President Ryan, possess a veritable arsenal of personnel,

         equipment, and capabilities that may be brought to bear in any crisis, circumstance, or

         situation to protect student well-being or to promote the interests of University (and, by

         extension, the Commonwealth as a whole).

  137.   These assets include the University Police; the Office of University Counsel; the University

         Public Relations Apparatus; the “Division of Diversity, Equity & Inclusion” (“DEI”),

         which includes the Office of Equal Opportunity and Civil Rights (or “EOCR”); the

         Division of Student Affairs and the Office of the Dean of Students; and, finally, the Student

         Affairs Divisions’ student organizations known as “Agency Organizations” and “Special

         Status Organizations” in which the student-administrators are considered agents of the

         University, are afforded the benefit of legal counsel, and are covered by the University’s

         Risk Management Plan—these organizations include the Honor Committee, the University

         Judiciary Committee, and Student Council.

  138.   These apparatuses employ hundreds of people. Few, if any, have any scholarly or teaching

         roles or obligations, but most are tasked—at least nominally—with protecting students

         from discrimination, harassment, abuse, violence, and retaliation, including antisemitism.

         The citizens of the Commonwealth of Virginia expend tens of millions of dollars annually

         on the salaries of these university administrators with the expectation that they will protect

         students from physical harm and illegal abuse, harassment, bullying, and discrimination.

  139.   Regarding the “Administration” element of the educational environment, it should be noted

         that the University of Virginia, at President Ryan’s direction, has purposefully and

         intentionally refused to adopt a position or principle of “institutional neutrality.” This




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         decision has a direct and profound impact upon the educational environment at UVA. Just

         like UVA’s “celebrity faculty members” who enjoy hundreds of thousands of followers on

         social media and who appear on television, podcasts, and print media routinely if not daily,

         the University, through its official channels and its senior leadership, including President

         Ryan, routinely takes positions about issues and controversies around the world, often

         when there is no discernible connection to the principle, core functions of the University.

         Under this activist philosophy or the absence of institutional neutrality, the University’s

         and its leaders’ failure or refusal to speak or take a position regarding circumstances or

         controversies, especially those that directly impact the educational environment is itself an

         expression of the University’s position or view about matters that are often of great

         consequence to the University Community. The UVA Administration, particularly its

         decisions to speak or refuse to speak, have a great deal of influence upon and shape the

         educational environment in which UVA students exist.

  140.   The human component of UVA’s educational environment also includes individuals and

         groups who may or may not be directly employed, engaged by, or even associated with the

         University but who nonetheless maintain a regular presence in and around the physical and

         virtual University Community and play such a role and have such an impact on the

         educational environment that they are an element of it. For instance, members of local and

         regional “ANTIFA” groups dedicated to anarchy and civil disruption routinely appear

         alongside SJP at UVA and FJP at UVA protesters at UVA campus rallies.

                d.      The UVA “Academy” Educational Environment

  141.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

         as if alleged anew.




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  142.   The “academy,” or academic purpose and operations of the university, is supposed to be

         the central mission and focus of colleges and universities. UVA is no exception.

  143.   In terms of the educational environment, the “academy” at UVA includes undergraduate

         schools and colleges and degree programs, non-degree courses of study and pursuits,

         institutes and “centers,” graduate schools (including, the School of Law), programs such

         as study abroad opportunities and exchange agreements with other, often foreign,

         universities and colleges, research initiatives, and the varied and expansive curricula

         offered to students. Finally, “grades” and performance evaluations are an important part of

         the “academy” and are an important component of the educational environment at UVA.

  144.   All of the elements and components identified above are the organs, limbs, connective

         tissue, soul, intelligence, and persona of the University of Virginia. These elements and

         components are the “educational environment” for the University of Virginia.

                e.      The UVA “Community of Trust” Educational Environment

  145.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

         as if alleged anew.

  146.   Next to the physical place that is the Lawn and “Academical Village,” The University of

         Virginia is most proud of its so-called “Community of Trust.” While the “student-led”

         University Judiciary Committee and Student Council and the “adult-led” EOCR, Division

         of Student Affairs, and University Police Department are said to be key components of

         UVA’s “Community of Trust,” it is the “student-led” Honor System that is considered by

         the University to be the crown jewel of the proverbial “Community of Trust” tiara.

  147.   Although touted as being “entirely student-run,” this is simply not true. According to its

         own governing documents and resolutions of the Board of Visitors, the authority over and




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         administration of the Honor System is the province of the Rector of the University, the

         Board of Visitors, and the President of the University. Professional “legal advice and

         guidance” for the Honor System are delivered by the Office of University Counsel, in

         addition to and conjunction with the various University lawyers assigned to advise and

         assist the Honor Committee and its agents.

  148.   When the Honor System or Honor Committee acts, it is doing so on behalf of and as an

         agency of the University of Virginia, whether the actor or agent is a student-administrator

         or a paid employee-administrator. It is the University of Virginia that adjudicates the fate

         of those brought before the Honor Committee, and it is the University of Virginia that

         metes out the punishment levied by the Honor Committee, even when the so-called

         “judges” and “jurors” are mere teenagers in their first or second year of college.

  149.   The Honor System is considered a “Special Status” and “Agency” organization entitled to

         legal counsel and coverage under the Commonwealth of Virginia’s risk management

         program. In that regard, the University of Virginia administration, which includes the

         Rector, the President, and the University Counsel, maintains authority, oversight, and

         supervision of the Honor System, including the highly consequential decision to accept a

         charge and proceed with a prosecution of a student.

  150.   It is the administrators—most notably, at all times relevant to this Amended Complaint,

         Defendant Ryan—who bears responsibility for the legality and correct execution of the

         University’s most stern, severe, and grave disciplinary process. When the Honor System is

         misused or perverted or the Committee and its supervisors and participants engage in

         unconstitutional or illegal behavior and decisions—and punishments—it is those, most




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         senior administrators who are legally responsible and morally culpable and those who must

         be held to account.

  151.   An Honor Charge is the single, most serious peril in which a University of Virginia student

         can find him or herself. UVA professors and administrators will readily admit that a student

         has more likelihood of rehabilitating his or her reputation and career following a murder

         conviction than from an Honor Charge at UVA.

  152.   The University of Virginia has published glossy marketing materials touting the virtues of

         its Honor System and the “Community of Trust.” In those materials, the University almost

         delights in recounting the vicious, draconian side of this “student-run” process. According

         to the University’s own published materials, which are purposefully ominous, so

         devastating is the effect of being accused of an Honor Offense that accused students are

         known to have suffered severe psychological break downs along with permanent emotional

         and physical harm simply by being charged. Suicidal ideations and attempts are not

         uncommon, and, most upsetting, the University wants students to know it. Innocent or

         guilty, convicted or acquitted, an Honor Charge represents a terrible Rubicon that once

         crossed, cannot be uncrossed.

  153.   Once a charge has been filed, no matter how obviously bogus, fraudulent, or fake, the

         University boasts that it cannot be withdrawn by the accuser or “reporter.” The charge

         can, however, be summarily dismissed, sua sponte, by the so-called adults in the room: the

         University administration or the Honor Committee.

  154.   Upon filing, the charge and the prosecution of the charge become the University’s

         responsibility. The University immediately assumes the role of accuser, investigator, judge,

         jury, and executioner.




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  155.   One of the “sanctions” available to the Honor Committee to punish a student upon a “guilty

         verdict” rendered by student “jurors” is “permanent removal from the Community of

         Trust,” meaning dishonorable expulsion from the University of Virginia. The Honor

         Committee proclaims that upon such a sanction being delivered, the Registrar of the

         University is obligated to terminate all of the student’s rights and privileges and to append

         an “Outcome Letter” in the student’s transcript and permanent educational record. That

         student is forever banished from everything that is the University of Virginia and its

         “Community of Trust.”

  156.   That is what faces a student when an Honor Charge is initiated.

  157.   The “Community of Trust” and the Honor System are central components, perhaps the

         most central components, of the UVA educational environment.

  158.   The University of Virginia “educational environment,” whether considered in whole or in

         part, is a public accommodation.

  159.   UVA’s 2024 “Hype Video” depicts the UVA educational environment as it should be for

         all students in rich, vibrant detail.8 The convincing and compelling video is both an

         admission and a promise. The video depicts what was taken from Matan Goldstein, forever,

         as a result of illegal and immoral hate, harassment, bullying, and abuse.

         2.      The Duties, Policies, and Procedures That Govern the University of Virginia’s
                 Educational Environment

  160.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

         as if alleged anew.




  8
         YOUTUBE, Get to Know UVA: Excellence & Energy,
         https://www.youtube.com/watch?v=YV87R54LYtc&t=6s (last visited Aug. 6, 2024).


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  161.   The University of Virginia and every member of its “community” and the educational

         environment, including faculty and students, operate under and are governed by a number

         of federally imposed, state-imposed, and University-imposed standards and duties of care

         and conduct regarding their acts and omissions.

  162.   The duties of care and standards of conduct apply to and govern the behavior of faculty

         and students, especially the manner in which other students are treated in the UVA

         educational environment.

  163.   These interlocking statutes, regulations, and University policies and procedures also

         impose upon the University and its administrators certain duties and responsibilities to

         prevent, respond to, and correct infractions and violations of the rules that govern the

         educational environment and to respond to and address harms and damages suffered by

         members of the University Community, most notably students, as a result of the infractions

         and violations.

  164.   The University and its administration owe students a duty of care that obligates them to do

         everything in their power to guarantee student safety and to act swiftly, decisively, and

         effectively when student safety is jeopardized or threatened.

  165.   The University and its administration owe students a duty of care that obligates them to do

         everything in their power to prevent students from being harmed by violence, harassment,

         and abuse.

  166.   The University and its administration owe students who are victims of violence,

         harassment, or abuse a duty of care to respond swiftly, decisively, and effectively with the

         finest care and the full range of resources and capabilities, regardless of their personal




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         views about the subject matter at hand or their opinions about the severity of the harms or

         the extent and significance of the damages (or lack thereof).

  167.   The University of Virginia is governed by a Board of Visitors, whose duties and powers

         are determined and controlled by the statutes of the Commonwealth of Virginia, as

         amended from time-to-time by the General Assembly. The portions of the Code of Virginia

         that provide for the general organization and governance of The University of Virginia may

         be found in Va. Code Sections 23.1-2200, et seq. The Manual of the Board of Visitors of

         the University of Virginia constitutes the corporate bylaws of The University of Virginia

         and sets forth the Board of Visitors’ internal organization, procedures of operation, and the

         responsibilities of the administrative officers selected by it to carry out its directives of

         policy and program.

  168.   According to the “Mission Statement” set forth in the Board of Visitors’ Manual:

                Purpose

                The University of Virginia is a public institution of higher learning guided
                by a founding vision of discovery, innovation, and development of the full
                potential of talented students from all walks of life. It serves the
                Commonwealth of Virginia, the nation, and the world by developing
                responsible citizen leaders and professionals; advancing, preserving, and
                disseminating knowledge; and providing world-class patient care.

                We are defined by:

                •       Our enduring commitment to a vibrant and unique residential
                        learning environment marked by the free and collegial exchange of
                        ideas;

                •       Our unwavering support of a collaborative, diverse community
                        bound together by distinctive foundational values of honor,
                        integrity, trust and respect;

                •       Our universal dedication to excellence and affordable access.




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  169.   According to the University of Virginia’s 2023-2024 Faculty Handbook, “[t]he Officers of

         the Board of Visitors are: the Rector of the University of Virginia, the Vice Rector, the

         President of the University, the Chief Operating Officer of the University, the Provost of

         the University, and the Secretary to the Board of Visitors.”

  170.   Importantly, according to its “Statement of Visitor Responsibilities,” enacted by the Board

         of Visitors and set forth in the Board of Visitors’ Board Basics book, “Visitors do not speak

         on behalf of the University or the Board unless designated by the rector and/or the

         president to do so.” (Emphasis added.)

  171.   According to a formal, published legal opinion of the Attorney General of Virginia,

         announced in writing on October 2, 2023, every member of the University of Virginia’s

         Board of Visitors and the Board itself, which naturally and logically includes the Board’s

         officers, owes a “primary duty” to the Commonwealth of Virginia as a whole, rather than

         a duty to serve the interests of the university or college “only.”

  172.   The University of Virginia “educational environment” is a public accommodation under

         state and federal law.

  173.   The University of Virginia is a “state government agency” of the Commonwealth of

         Virginia.

  174.   It is the express public policy of the Commonwealth of Virginia to “safeguard all

         individuals within the Commonwealth from unlawful discrimination because of race, color,

         religion, ethnic or national origin,” “in places of public accommodation, including

         educational institutions.” Virginia Human Rights Act, Va. Code Ann. § 2.2-3900

         (underscoring added).




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  175.   It is the express public policy of the Commonwealth of Virginia “to preserve the public

         safety, health, and general welfare.” Id.

  176.   It is the express public policy of the Commonwealth of Virginia “to further the interests,

         rights, and privileges of individuals within the Commonwealth.” Id.

  177.   Administrators, faculty, and non-faculty, non-administrative staff of the University of

         Virginia are employees of the Commonwealth of Virginia. The payor listed on the front of

         every UVA employee’s paycheck, from the President of the University to a part-time, paid

         student manager for the football team, reads “The Rector and Visitors of the University of

         Virginia,” which, legally, is the Commonwealth of Virginia.

  178.   Members and officers of the Board of Visitors, administrators, faculty, and every non-

         faculty, non-administrative employee of the University of Virginia are bound by and have

         a duty to acknowledge, observe, and strictly adhere to the laws and public policies of the

         Commonwealth of Virginia.

  179.   According to the regulations and laws governing the behavior and expectations of

         employees of the Commonwealth of Virginia:

                It is the policy of the Commonwealth to foster a culture that demonstrates
                the principles of civility, diversity, equity, and inclusion. In keeping with
                this commitment, workplace harassment (including sexual harassment),
                bullying (including cyber-bullying), and workplace violence of any kind
                are prohibited in state government agencies.

                                                          ***

                Expectations for appropriate behaviors extend to . . . students . . . and other
                third parties in the workplace.

                Virginia Department of Human Resource Management, Policy 2.35 Civility
                in the Workplace (“Authority and Interpretation: Title 2.2 of the Virginia
                Code”) (emphasis added).




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  180.   According to the UVA Office of the Executive Vice President and Provost’s Conflict of

         Interest—Faculty portion of the University’s Academic Policies:

                Faculty members are public officials whose professional activities may
                create situations in which their private or personal interests are potentially
                in opposition to their official responsibilities. A faculty member must be
                sensitive to the potential for conflict of interest situations and act in a
                manner to minimize their effects.

                                                       ***

                As a matter of sound judgment and professional ethics, faculty members
                have a responsibility to avoid any apparent or actual conflict between their
                professional responsibilities and personal interests in terms of their dealings
                or relationships with students.

                                                       ***

                Failure to abide by the conflict of interest principles described above can
                have serious consequences.

  181.   According to the University Code of Ethics for Faculty and Staff, expressly approved and

         adopted by the Board of Visitors on December 6, 2019, the Faculty are bound by the

         following duties and obligations, among others:

                1.     Compliance and Ethics: We perform our responsibilities ethically
                       and honestly, in compliance with all University policies and
                       applicable federal, state, and local laws.

                2.     Use of University Resources: We use University resources only for
                       their intended business purpose, as aligned with the University’s
                       mission. We promote accurate financial reporting, protection of the
                       University’s assets, and responsible fiscal management. Our
                       expenditures are reasonable and necessary.

                3.     Conflicts of Interest: We uphold our primary professional
                       responsibilities to the University and the Commonwealth of
                       Virginia, and actively avoid and report all actual, potential, and
                       perceived conflicts of interest.

                4.     Gifts and Gratuities: We perform our public duties without
                       accepting, soliciting or offering anything of economic value such as
                       gifts, gratuities, favors, or benefits that may improperly influence



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                         our professional judgment or seek to influence the judgment of
                         others.

                 5.      Confidentiality: We preserve the confidentiality and security of
                         University records and we protect the privacy of individuals who
                         provide personal information to the University. We access
                         information only as necessary and disclose information only to those
                         individuals with a legitimate reason to receive it.

                 6.      Equal Opportunity: We promote an inclusive and welcoming
                         community that respects the rights, abilities, and opinions of all
                         people. We value equal opportunity and diversity. We do not
                         tolerate discrimination or harassment of any kind.

                 7.      Respectful Workplace: We treat every individual with kindness,
                         dignity and respect, regardless of position or status. We provide a
                         safe and healthy environment for working, living, and learning. We
                         collaborate with others in a positive and respectful manner.

                 8.      Honesty and Integrity: We act and communicate honestly and with
                         integrity, upholding the University’s values at all times. We do not
                         condone dishonesty by anyone in any form, including fraud, theft,
                         cheating, plagiarism or lying.

                 9.      Reporting Without Fear of Retaliation: We report all violations
                         of law or University policy, without fear of retaliation for reports
                         made in good faith. We investigate all concerns and determine
                         corrective action. We will cooperate with all investigations into
                         suspected wrongdoing.

  182.   Every student, faculty member, administrator, and employee of the University of Virginia

         is bound and obligated by and owes a duty to observe and adhere to HRM-009: Preventing

         and Addressing Discrimination and Harassment. The policy extends and applies to “current

         and former employees of the University, students, and third parties, e.g., applicants for

         admission or employment, participants in University programs or activities, customers for

         services, vendors, contractors, and volunteers.” The “Oversight Executive” of UVA’s anti-

         discrimination and harassment policy is Defendant President Ryan. The policy provides,

         in pertinent part:




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                Reason for Policy:

                The University is committed to providing a workplace and educational
                environment, programs, and activities free of discrimination and
                harassment. This policy does not allow curtailment or censorship of
                constitutionally protected expression.

                                                      ***

                Policy Statement:

                The University will not tolerate discrimination or harassment in the
                workplace, academic setting, or in its programs or activities based on age,
                color, disability, family medical or genetic information, gender identity or
                expression, marital status, military status (which includes active duty
                service members, reserve service members, and dependents), national or
                ethnic origin, political affiliation, pregnancy, race, religion, sex, sexual
                orientation, or veteran status. This policy is intended to be consistent with
                applicable federal and state laws and state and University policies.

  183.   Every student, faculty member, administrator, and employee of the University of Virginia

         is bound by and obligated to observe and adhere to HRM-010: Preventing and Addressing

         Retaliation. In the policy, retaliation is defined as “[a]dverse action, including but not

         limited to reprisal, interference, restraint, penalty, discrimination, intimidation, or

         harassment.” The “Oversight Executive” of UVA’s anti-retaliation policy is Defendant

         President Ryan. The policy provides, in pertinent part:

                Reason for Policy:

                The University is committed to providing a workplace and educational
                environment, programs and activities free of retaliation against persons
                who, in good faith (holding a genuine belief in the truth of one’s
                allegations), complain of discrimination and/or harassment as defined in
                policy, HRM-009, Preventing and Addressing Discrimination and
                Harassment, or who assist with or participate in the process outlined in
                EOCR’s Preventing and Addressing Discrimination, Harassment and
                Retaliation Complaint Procedures. This policy does not allow curtailment
                or censorship of constitutionally protected expression.

                Policy Statement:




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                 The University prohibits retaliation directed against a person for making a
                 good faith complaint under the policy HRM-009: Preventing and
                 Addressing Discrimination and Harassment or this policy or assisting or
                 participating in the complaint process. Retaliation may exist even when the
                 underlying complaint is without merit or not substantiated.

                 This policy is intended to be consistent with applicable federal and state
                 laws and state and University policies.

  184.   In addition to the array of state and federal laws, regulations, and public policies, along

         with the University’s policies and procedures set forth or alluded to above that govern how

         students and student groups at the University of Virginia should behave and how they

         should treat others, the University also has codified and announced numerous policies and

         procedures, including grievance and punishment procedures, regarding student rights and

         responsibilities.

  185.   According to the Office of the Vice President and Chief Student Affairs Officer and the

         Dean of Students, at the University of Virginia, students enjoy certain rights and

         responsibilities and are bound by the following duties, rules, and codes of conduct:

                 Introduction

                 The University of Virginia is a community of scholars in which the ideals
                 of freedom of inquiry, freedom of thought, freedom of expression, and
                 freedom of the individual are sustained. The University is committed to
                 supporting the exercise of any right guaranteed to individuals by the
                 Constitution and the Code of Virginia and to educating students relative to
                 their responsibilities.

                 Student Rights

                 The University of Virginia seeks to maintain an environment where students
                 have the following rights:

                 •       Expression - Students can freely examine and exchange diverse
                         ideas in an orderly manner inside and outside the classroom;

                 •       Association - Students can associate freely with other individuals,
                         groups of individuals and organizations for purposes which do not
                         infringe on the rights of others;


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              •     Freedom from Discrimination - Students can expect to participate
                    fully in the University community without discrimination as defined
                    by federal and state law and University regulations;

              •     Safe Environment - Students can function in their daily activities
                    without unreasonable concerns for personal safety;

              •     Discipline - Students can expect discipline to be implemented
                    through established procedures containing all elements of due
                    process for the adjudication of charges, and the opportunity for
                    continued University involvement (as appropriate) until the
                    resolution of the charges;

              •     Privacy - Students are free of unreasonable intrusions into personal
                    records and/or matters relevant to identity, living space and well
                    being;

              •     High Quality Resources - Students have access to high quality
                    resources which support intellectual and social development;

              •     Counseling - Students have access to support in managing personal
                    adjustments, understanding self and others, and career planning and
                    personal decision making;

              •     Grievance Process - Students have access to established procedures
                    for respectfully presenting and addressing their concerns/complaints
                    to the University;

              •     Learning Beyond Formal Instruction - Students have access to a
                    variety activities beyond the classroom, which support intellectual
                    and personal development;

              •     Education - Students have access to excellent faculty, academic
                    technology, classrooms, libraries, presentations and other resources
                    necessary for the learning process;

              •     Personal Growth - Students live and study in a setting that fosters
                    personal growth;

              •     Participation in Community Affairs - Students have opportunities to
                    interact with people and institutions both within and beyond the
                    University community;

              •     Student Activity Fee Refunds - Students may apply for a partial
                    refund of their student activity fee if they do not wish to support the



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                        particular speech activities of some student organizations receiving
                        these funds;

                •       University Governance - Students participate in the governance of
                        the University, with opportunities including but not limited to the
                        Honor and University Judiciary committees, allocations of student
                        activities fees, programming (University Programs Council),
                        Residence Life (resident staff and house councils), and through
                        membership on University and school committees;

                •       Prompt Responses from Administration - Students have the right to
                        expect prompt and courteous responses from the University’s
                        academic and administrative departments;

                •       Academic and Administrative Policies - Students can expect
                        academic and administrative policies that support intellectual
                        inquiry, learning, and growth.

                Student Responsibilities

                The exercise and preservation of these freedoms and rights require a respect
                for the rights of all in the community. Students enrolling in the University
                assume an obligation to conduct themselves in a manner that is civil and
                compatible with the University’s function as an educational institution. It is
                clear that in a community of learning, willful disruption of the educational
                process, destruction of property, and interference with the orderly process
                of the University, or with the rights of other members of the University,
                cannot be tolerated. In order to fulfill its functions of imparting and gaining
                knowledge, the University has the authority and responsibility to maintain
                order within the University and to exclude those who are disruptive of the
                educational process.

  186.   As part of the Division of Student Affairs and as a vital component of the University’s

         “Community of Trust,” the “student-led” University Judiciary Committee (or “UJC”) is

         charged with establishing the University’s “judicial system,” adjudicating cases brought

         before it, and, with the University administration’s assistance and execution, “sanctioning”

         and punishing students.




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  187.   According to University and UJC materials and governing documents, “[t]he UJC hears

         cases of alleged misconduct by a student or a student group brought to its attention by any

         member of the academic or civic community. Anyone can file a case.” Importantly:

                 While the Judiciary Committee is student-run, all decisions of the UJC are
                 subject to review by the Vice President and Chief Student Affairs Officer.
                 If they believe that any decision is so inappropriate that it is not in the best
                 interest of the University, they may consult with the Committee for a
                 possible revision or refer it to the Judicial Review Board. A case is finalized
                 when either the Vice President and Chief Student Affairs Officer approves
                 the decision or when the Judicial Review Board of the Board of Visitors has
                 rendered a decision in cases of appeal.

  188.   The University Judiciary Committee investigates charges, conducts and presides over trials

         for guilt and punishment, and delivers punishment to those students found guilty by

         Committee. The UJC may levy up to ten different levels of “sanction” upon a student

         ranging in severity from an oral admonition to the ultimate penalty, permanent expulsion,

         or, as it calls it, “termination.”

  189.   The University Judiciary Committee is charged with and has established a Student Code

         of Conduct that further codifies and announces the duties owed by students at the

         University of Virginia to one another, the University, and the surrounding community:

                 Purpose

                 To maintain and promote a community of respect, safety, and freedom

                 Philosophy

                 Students take responsibility for establishing the codes of conduct we desire in our
                 academic community. By entering the University, we, as students, accept the
                 responsibility: to respect the physical welfare of all persons in the University
                 community, to keep from misuse or harm property which belongs to the University
                 or members of this community, to maintain an atmosphere conducive to education
                 and scholarship, to contribute to the pursuit of the University’s goals, and to further
                 the ideals of Honor and Freedom.




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              The Standards of Conduct

              The University of Virginia is a community of scholars in which the ideals of
              freedom of inquiry, freedom of thought, freedom of expression, and freedom of the
              individual are sustained. It is committed to preserving the exercise of the rights and
              responsibilities in the Constitution. The exercise and preservation of these freedoms
              and rights require a respect for the rights of all in the community to enjoy them to
              the same extent. It is clear that in a community of learning, willful disruption of the
              educational process, destruction of property, and interference with the orderly
              process of the University or with the rights of other members of the University
              cannot be tolerated. Students enrolling in the University assume an obligation to
              conduct themselves in a manner compatible with the University’s function as an
              educational institution. To fulfill its functions of imparting and gaining knowledge,
              the University has the responsibility to maintain an atmosphere conducive to its
              educational purpose.

              1.     Physical assault of any person on University-owned or leased
                     property, at any University sanctioned function, at the permanent or
                     temporary local residence of a University student, faculty member,
                     employee, visitor, or in the City of Charlottesville or Albemarle
                     County, or Prohibited Conduct, as defined in the University of
                     Virginia Policy on Sexual and Gender-Based Harassment and Other
                     Forms of Interpersonal Violence.

              2.     Conduct which intentionally or recklessly threatens the health or
                     safety of any person on University-owned or leased property, at a
                     University sanctioned function, at the permanent or temporary local
                     residence of a University student, faculty member, employee or
                     visitor, or in the city of Charlottesville or Albemarle County.

              3.     Unauthorized entry into or occupation of University facilities which
                     are locked, closed to student activities or otherwise restricted as to
                     use.

              4.     Intentional disruption or obstruction of teaching, research,
                     administration, disciplinary procedures, other University activities,
                     or activities authorized to take place on University property.

              5.     Unlawfully blocking or impeding normal pedestrian or vehicular
                     traffic on or adjacent to University property.

              6.     Violation of University policies or regulations referenced in The
                     Record, including policies concerning residence and the use of
                     University facilities.




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                7.     Alteration, fabrication, or misuse of, or obtaining unauthorized
                       access to University identification cards, other documents, or
                       computer files or systems.

                8.     Disorderly conduct on University-owned or leased property or at a
                       University-sanctioned function. Disorderly conduct is defined to
                       include but is not limited to acts that breach the peace, are lewd,
                       indecent, or obscene, and that are not Constitutionally protected
                       speech.

                9.     Substantial damage to University-owned or leased property or to
                       any property in the city of Charlottesville or Albemarle County or
                       to property of a University student, employee, faculty member, or
                       visitor, occurring on University-owned or leased property or at the
                       permanent or temporary local residence of any student, faculty
                       member, employee or visitor.

                10.    Any violation of Federal, State, or local law, if such directly affects
                       the University’s pursuit of its proper educational purposes and only
                       to the extent such violations are not covered by other Standards of
                       Conduct and only where a specific provision of a statute or
                       ordinance is charged in the complaint.

                11.    Intentional, reckless, or negligent conduct which obstructs the
                       operations of the Honor or Judiciary Committee, or conduct that
                       violates their rules of confidentiality.

                12.    Failure to comply with directions of University officials acting
                       under provisions 1-11 set above. This shall include failure to give
                       identity in situations concerning alleged violations of sections 1-11.

  190.   In addition to the rules, regulations, policies, and procedures set forth above governing

         students and faculty at the University of Virginia, official and formal student groups at

         UVA, called “Contracted Independent Organizations” or “CIOs,” such as Defendant SJP

         at UVA, must execute the Agreement for a Contracted Independent Organization for each

         school year. The “contract” includes the following terms:

                For the duration of this Agreement and as a condition of this Agreement,
                the CIO represents that

                (a)    at least 51% of its members are University students,




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                (b)     a minimum of 10 University students are listed as members, and

                (c)     all of its officers are enrolled in a degree-granting program (they can
                        be part-time or full-time fee-paying University students).

                This agreement does not become effective until approved by the Division
                of Student Affairs.

                                                       ***

                The CIO also represents that its associated activities and the associated
                activities of its members, whether or not sponsored or officially approved
                by the CIO, do not and will not violate local, state or federal law or the
                University’s Standards of Conduct.

                                                       ***

                The University’s Preventing and Addressing Discrimination and
                Harassment        (https://uvapolicy.virginia.edu/policy/HRM-009)         and
                Preventing               and              Addressing             Retaliation
                (https://uvapolicy.virginia.edu/policy/HRM-010) policies, as well as
                applicable state and/or federal law, prohibit Discrimination, Harassment,
                and Retaliation (“PADHR Conduct”). The CIO acknowledges that by
                signing this agreement, the University has the authority to investigate
                reports of Prohibited Conduct or PADHR Conduct made by University
                students against members of the CIO, and to determine appropriate
                sanctions, which may include suspension or termination of the CIO
                agreement, restrictions on the rights of the CIO to use University facilities,
                and access University services and resources. CIO Members’ failure to
                comply with the University’s policies listed in this section may result in
                the University severing all ties with the CIO.

                The undersigned further attests that he/she is bound by the University’s
                Honor Code and is knowledgeable of the responsibilities of the officers of
                the CIO. . . . The undersigned hereby acknowledges that the CIO is
                responsible for adhering to all local, state, and federal laws, as well as
                the policies, deadlines, and guidelines applicable to CIOs at the
                University of Virginia. (Emphasis added.)

  191.   Defendant SJP at UVA’s “CIO” contract was executed under the “Honor” of its President,

         UVA Student “J.R.,” with a formal, executed copy supplied to “The Rector and Visitors of

         the University of Virginia.”




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  192.   The University of Virginia is an “educational environment” that is composed of physical

         place and elements; a virtual and online presence and universe; the human and personnel

         component, including groups and associations; the “academy” or academic component; the

         “UVA Community of Trust;” and the duties, laws, regulations, policies and procedures that

         bind the pieces together.

  193.   The University of Virginia “educational environment” is a public accommodation under

         state and federal law.

  194.   The University of Virginia and President Ryan owe a special duty of care to protect and

         safeguard UVA students in an “educational environment” free of violence, harassment,

         abuse, bullying, and discrimination. This includes the affirmative duty to act to protect

         students at all times, to safeguard the educational environment, even when doing so is

         unpopular.

  195.   UVA faculty, administrators, and staff are public employees and public officials who are

         bound by state and federal laws as well as University policies and procedures.

  196.   UVA students possess a panoply of rights beyond being residents or citizens of the

         Commonwealth of Virginia and the United States. However, UVA students and student

         groups are also bound and governed by rules and regulations that do not apply to non-

         student private citizens.

  197.   Regarding antisemitism and antisemitic abuse, harassment, and discrimination at the

         University of Virginia and within its “educational environment,” the University of Virginia

         has, to date, failed to enforce and has refused to even threaten to enforce a single policy,

         rule, law, or student code of conduct.




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  3.     The University of Virginia’s Capacity & Willingness To Punish “Hate” on Campus

  198.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

         as if alleged anew.

  199.   As demonstrated above, the University of Virginia is obligated to adhere to and enforce

         numerous policies, codes of conduct, and governing laws regarding discrimination,

         harassment, and abuse, most notably its own policies and procedures regarding

         discrimination, harassment, and procedure.

  200.   As demonstrated above and below, the University of Virginia possesses a veritable arsenal

         of resources and assets that can be deployed on a moment’s notice to address what it

         perceives to be threats to student safety or incidents of “offensive” speech or misconduct.

  201.   The University of Virginia routinely punishes and sanctions conduct and behavior,

         including “pure speech,” that it finds offensive.

  202.   Nevertheless, the University of Virginia has failed and purposefully refused to punish,

         sanction, or condemn, or take any action whatsoever regarding antisemitism and

         antisemitic harassment and abuse occurring in the UVA educational environment at the

         hands of its own students and faculty members.

  203.   The University of Virginia and President Ryan readily admit that they have taken no

         actions whatsoever to enforce the laws, rules, regulations, policies, and codes of conduct

         that govern students, student groups, faculty, and faculty groups regarding credible

         accusations of antisemitism and antisemitic abuse, harassment, and misconduct.

  204.   The University of Virginia and President Ryan now claim that their failure and refusal to

         protect Jewish students and faculty are warranted by the First Amendment and Free Speech

         principles.




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  205.   That excuse is a mere façade, a fake pretext.

  206.   The Ryan Administration and the University have shown on a number of well-documented

         occasions that they possess the capability and willingness to suppress and punish even

         “pure speech” and will do so without regard to the First Amendment or other fundamental

         civil rights, so long as it finds the speech “offensive.”

  207.   In this educational environment, Jewish students are viewed as one particular “race” or

         “color,” and those who are antisemitic, anti-Israel, and anti-Zionist are categorized as being

         of another “race” or “people of color.” In other words, “but for” Matan’s “race,” as that

         term is defined by Title VI and the Fourteenth Amendment, President Ryan would have

         acted and would have enforced the laws, regulations, rules, policies, and codes of conduct

         that govern students and faculty at the University of Virginia that would have protected

         Matan from the harassment and abuse that he suffered.

  208.   Similarly, the facts and circumstances surrounding the wrongful persecution, litigation, and

         ultimate settlement of the Morgan Bettinger Matter,9 utterly refute any attempt by

         President Ryan to suggest that the University and he genuinely believe that the First

         Amendment prohibits disciplinary measures regarding matters of “pure speech” that are

         deemed “offensive.” Morgan Bettinger was a victim or a racial hoax that was amplified

         and wrongfully prosecuted by the University of Virginia and President Ryan. Morgan was

         a twenty-one year old UVA student who was wrongfully persecuted, punished, and

         ostracized from the community by the University of Virginia and the Ryan Administration

         for speaking fifteen words during a friendly conversation with a truck driver who had no

         connection to the University, while she was caught unawares in the perimeter of a non-



  9
         Bettinger v. The Rector and Visitors of the Univ. of Va., et al., 3:23-cv-00041-NKM (W.D. Va.).


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         University-related Black Lives Matter “noise demonstration” that disrupted businesses and

         caused a traffic stoppage in downtown Charlottesville on her way home from work, away

         from UVA’s campus, during a time when UVA’s premises were closed, the school was not

         in session, and operations were “locked down.”

  209.   For that, the University of Virginia swiftly, publicly and officially condemned Morgan

         before ever speaking with her; the University offered resources and personnel to comfort

         people who never knew, spoke to or even saw Morgan; subjected Morgan to three separate

         investigations lasting thirteen months; investigated, tried, and punished Morgan in sham

         proceedings initiated by UVA’s Dean of Students; and ultimately expelled Morgan from

         the University “in abeyance.”

  210.   During the horrible crucible, Morgan was “doxxed,” subjected to credible, detailed, and

         gruesome death threats, forced to go into hiding and wear disguises (at the suggestion of

         University Police), forced to attend class anonymously and via Zoom, and subjected to

         condemnation, humiliation, and ridicule by her fellow classmates and UVA faculty

         members.

  211.   President Ryan was personally aware of every detail and development in the matter, was

         personally aware and fully knowledgeable of the illegality and immorality of the

         University’s treatment of Morgan, and was personally aware that he and he alone possessed

         the right and solemn duty to protect Morgan and put an end to the wrongful prosecutions

         and damages being inflicted on the young woman. The express message to Morgan from

         President Ryan’s office, with full awareness and knowledge that the University and by

         extension the Commonwealth of Virginia, faced clear liability for egregious constitutional

         and civil rights violations, was “tell her to go ahead and sue.” President Ryan personally




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         refused to intervene or properly discharge his executive oversight functions regarding her

         case. Even after Morgan was forced to engage counsel, file suit, and ultimately secure a

         meaningful settlement from the University, President Ryan personally refused to meet with

         Morgan or even acknowledge or express remorse for the harms she suffered.

  212.   The University of Virginia, under the Ryan Administration, demonstrated that it was more

         than capable and willing to suppress and punish “pure speech” despite its wariness of the

         First Amendment and Free Speech implications.

  213.   In the middle of the night of September 7, 2022, a person who was neither a student, a

         faculty member, nor in any way connected to the University of Virginia (and was not even

         a resident of the City of Charlottesville) placed a piece of rope around the Homer statue on

         the Lawn in an act of protest denouncing child sexual abuse and pedophilia. The piece of

         rope was tied in a manner resembling a noose and was discovered by University security

         personnel around 4:00AM. The display was not, to anyone’s knowledge, ever seen or

         observed by any students, faculty members, or other visitors to the University.

  214.   President Ryan and every department of the University of Virginia immediately sprang

         into action to denounce the incident as a “hate crime” (which turned out to be erroneous)

         and to implement remedial and corrective measures throughout the University Community.

  215.   Importantly, in the hours after the “noose” was discovered, Defendant President Ryan

         publicly stated, in writing:

                The facts available indicate that this was an act intended to intimidate
                members of this community. A noose is a recognizable and well-known
                symbol of violence, most closely associated with the racially motivated
                lynchings of African Americans. The combination of those factors led
                University public safety officials to determine that this incident met the
                criteria of a hate crime. (Emphasis added.)




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  216.   The University and President Ryan broadcast multiple “Community Alerts” through the

         University’s official online groups and communications channels; posted multiple

         condemnations and expressions of anguish through the school’s and its officials’ various

         social media platforms; published formal letters of outrage, condemnation, and promises

         to heal the community; convened the University’s Threat Assessment Team (as the

         University did in the Bettinger Matter); launched investigations by the University Police

         Department (as the University did in the Bettinger Matter); notified and called upon the

         Albemarle County Police and the Virginia State Police and the Federal Bureau of

         Investigation to investigate, apprehend, and prosecute the perpetrator; offered a reward of

         $10,000 for information identifying the perpetrator; and convened numerous meetings for

         several weeks on end at the University’s request with Black students, faculty members, and

         community residents to allay their fears, listen to their demands regarding the University’s

         response, and to assure them that the University had complied with their requests and

         demands. Nearly every University organization or affiliate also immediately publicly

         published an expression of outrage and condemnation. At some point, the individual was

         arrested and charged in Albemarle County Circuit Court with felony hate crimes at the

         University’s urging, even after it learned that the “noose” was not racially motivated.

  217.   These examples of disparate treatment are yet another form of proof and evidence of racial

         animus and discriminatory intent.

  218.   The University of Virginia and President Ryan’s decisions regarding Matan Goldstein, the

         Jewish students population at UVA, and lack of adherence to or enforcement of governing

         laws, rules, policies, and codes of conduct are racially influenced and motivated.




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  219.   The University of Virginia and President Ryan have refused to offer any rationale or

         legitimate educational basis to explain why, on the one hand, the University will readily

         punish “pure speech” that it finds “racially offensive” but has not taken any action or

         enforced any of its own policies and codes of conduct regarding antisemitism or antisemitic

         abuse and harassment occurring on its own campus. The only explanation is intentional

         discrimination on the basis of race, ethnicity, national origin, shared ancestry, and religion.

  220.   The racial identity of perpetrator and victim are critical elements and factors regarding the

         University and President Ryan’s student or faculty discipline decision-making.

  221.   But for race, and specifically but for the Plaintiff’s race, national origin, ethnicity, and

         shared ancestry, the University and President Ryan would have enforced the applicable and

         governing laws, rules, regulations, policies, and codes of conduct and would have afforded

         the Plaintiff protection from the illegal, immoral hate-based discrimination, harassment,

         and abuse in the University of Virginia educational environment.

  222.   These are but a few examples of President Ryan and the University punishing “pure

         speech,” and yet, these examples alone beg the question: If a piece of rope hung on a statue

         constitutes a “hate crime,” in President Ryan’s own words, why don’t antisemitic chants

         on Grounds and posters on University facilities calling for the murder of Jews and the

         extermination of the state and people of Israel constitute “hate crimes?” The only

         explanation is intentional discrimination.

  223.   The Plaintiff alleges and claims that the University of Virginia and President Ryan’s

         express refusal to protect him and their failure to enforce governing laws, rules, policies,

         and codes of conduct are because of race, specifically, because of his race.




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  224.   The evidence adduced thus far in this matter would suggest that the University of Virginia

         is perfectly willing to take substantial, aggressive actions, even the suppression of “pure

         speech,” when it finds the perpetrators, the misconduct, or the speech repugnant or

         offensive, but will not take any actions of any kind against antisemitism or antisemitic

         abuse, harassment, or even violence.

  225.   At all times and in all events relevant and material to this action, Defendants the University

         of Virginia and President Ryan acted under color of state law and authority.

  226.   As to Defendant the University of Virginia, the Plaintiff seeks a declaratory judgment,

         prospective injunctive relief, compensatory damages, and attorneys’ fees and costs under

         Title VI and 42 U.S.C. § 1988.

  D.     DEFENDANT PRESIDENT JAMES E. RYAN

  227.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

         as if alleged anew.

  228.   Defendant James E. Ryan, who is being sued in his official, individual, and personal

         capacities, is the ninth President of the University of Virginia and was serving in that

         position at all times relevant to this action. Pursuant to Sections 4.22(1), (7), (8) and (9) of

         The Manual of the Board of Visitors of the University of Virginia:

                 As the principal administrative officer of the University and chief executive
                 officer of the Academic Division, the President shall have the following
                 powers and duties:

                                                        ***

                 (1) The President shall have responsibility for the operation of the
                     University in conformity with the purposes and policies determined by
                     the Board;

                                                        ***




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                (7) The President shall at all times maintain cordial relationships with the
                    students, guarding and protecting their best interests;

                                                       ***

                (8) The President shall use particular efforts to preserve and foster the
                    Honor System;

                                                       ***

                (9) The President shall be responsible for the discipline of students with the
                    power to impose appropriate penalties including expulsion;

                                                       ***

  229.   President Ryan lives at Carr’s Hill, the University President’s mansion across from the

         Rotunda on the University Grounds in Charlottesville. According to public interest groups

         who have conducted studies and evaluations of salaries and compensation at the University

         of Virginia, the value of President Ryan’s annual compensation and benefits purportedly

         exceed a taxpayer cost of $2,000,000.

  230.   Defendant President Ryan is the University of Virginia’s supreme and ultimate arbiter and

         administrator over the protection of every student’s “best interests,” including their

         physical safety and most fundamental civil rights. Defendant President Ryan does not have

         the legal authority to shirk or abrogate his ultimate responsibilities, and he is not legally

         permitted to delegate away his duties to protect his students’ “best interests” and their

         constitutionally protected civil rights, even under the guise of “student self-government.”

  231.   By operation of law, as a matter of fact, and according to his own admissions, President

         Ryan was and remains to this day the sole person with the authority to render and approve

         the decisions, efforts, strategy, resolution, and disposition of Matan Goldstein’s student

         experience; his mistreatment at the hands of the University itself; the University’s tolerance

         and encouragement of discrimination, harassment, and abuse on University premises and



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         during the course and scope of University operations by University actors, agents, and

         University Community members; the University’s mishandling of these matters, including

         the instant litigation; and, finally, the University’s purposeful retaliation against Matan for

         engaging in protected activities.

  232.   President Ryan is a constitutional law and education law expert whose advisors and

         counselors are also constitutional law and education law experts. President Ryan was fully

         aware and cognizant at all times that his acts, errors, and omissions unequivocally violated

         clear the Plaintiff’s well-established federally protected civil rights. Therefore, the defense

         of qualified immunity is not available to him.

  233.   As to Defendant Ryan, the Plaintiff seeks a declaratory judgment, injunctive relief,

         compensatory damages, punitive damages, and attorneys’ fees and costs under 42 U.S.C.

         §§ 1981, 1983, and 1988. At all times and in all events relevant and material to this action,

         President Ryan acted under color of state law and authority, and he is sued in his personal

         and individual capacities. Defendant Ryan is a resident of Charlottesville, Virginia, is

         competent and capable of suing and being sued, and is subject to the jurisdiction of this

         Honorable Court.

                                             V. THE FACTS

  234.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

         as if alleged anew.

  A.     THE WORLD’S OLDEST HATRED

  235.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

         as if alleged anew.




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  236.   Antisemitism and the hatred of and desire to eradicate the Jewish people from the Earth

         have been called “the world’s oldest form of hate.”

  237.   Anti-Israel bias is antisemitism and antisemitic. It also constitutes a form of national origin

         and shared ancestry discrimination.

  238.   Anti-Zionism or being anti-Zionist is antisemitism and antisemitic. It also constitutes a

         form of religious, national origin, and shared ancestry discrimination.

  239.   The phrase or chant “from the river to the sea, Palestine will be free” whether written or

         spoken, is an antisemitic slogan that implies and calls for the death of Jews and the

         destruction of Israel and its people. The phrase refers to and calls for the ethnic cleansing

         of the land between the Jordan River and the Mediterranean Sea: Israel. This definition and

         interpretation are not subject to multiple meanings nor can they be credibly disputed.

  240.   The phrase or chant “intifada, revolution, there is only one (or final) solution,” whether

         written or spoken, is an antisemitic slogan that implies and calls for the death of Jews, the

         destruction of Israel and its people, and evokes the horrors of the Holocaust, which was

         termed “the Final Solution” by the Nazis. The word “intifada” means “uprising against

         Israel (or Jews).” This is another statement of fact that cannot be credibly disputed.

  241.   Images of Hamas terrorists or Hamas’s terrorist symbols posted are antisemitic, especially

         when posted within an educational environment. The images are meant to evoke and

         celebrate the massacre of Jews. The images and symbols are broadcast and displayed for

         the sole purpose of threatening and intimidating Jews, for the purpose of causing Jewish

         students such as Matan to experience fear, anxiety, and severe anguish, and for the purpose

         of causing Jewish students such as Matan to feel unwelcome, and, if the antisemitism is

         successful, to avoid or leave the educational environment altogether.




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  242.    Defendants SJP at UVA and FJP at UVA routinely display images and paint graffiti

          depicting an inverted “red triangle.” According to the Anti-Defamation League, the red

          triangles are used to “represent Hamas itself and glorify its use of violence in many popular

          anti-Zionist memes and political cartoons. For example, individuals will place the symbol

          over an image of Israeli soldiers or overlaid on a Star of David as a way to call for further

          violent resistance.”




    Image depicting the Columbus Memorial Fountain at Union Station in Washington, D.C., defaced by pro-Hamas
                agitators during the July 24, 2024, official State address to a joint session of Congress
                                    by Israel Prime Minister Benjamin Netanyahu.

  243.    Glorifying the Holocaust or the slaughter of Jewish people or anti-Israel terrorist attacks

          within an educational environment is antisemitic and calculated to cause Jewish students

          such as Matan anguish and fear.

  244.    As discussed above, the Boycott, Divestment, and Sanctions Movement, also known as

          “BDS” or the “BDS Movement,” is an antisemitic, anti-Israel, and anti-Zionist maneuver

          or tactic employed by Hamas and its worldwide proxies with “demonization and

          delegitimization of Israel” as its “predominant drive,” according to the Anti-Defamation

          League. Proponents of BDS cynically and falsely attempt to cast BDS as similar to the

          efforts used to dismantle apartheid in South Africa in the 1980s. The BDS movement

          demands that universities and colleges eliminate student exchange programs with Israel



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          and its schools and cancel all joint research initiatives with Israel and its institutions of

          higher learning, among other patently antisemitic positions.

  245.    In truth, BDS is just another phony codeword for the hatred of Jews and an antisemitic

          strategy by Hamas to undermine, delegitimize, and destabilize Israel.

  246.    In the weeks and days leading up to the October 7, 2023, massacre in Israel, Students for

          Justice in Palestine chapters across the country, specifically including Defendant SJP at

          UVA, came alive with increasing hateful chatter and intensity:




                    A Defendant SJP at UVA flyer interfering with the educational environment of
                             UVA students planning to study in Israel and showing the
                     involvement of other antisemitic groups and connection to UVA Law School.




                          Defendant SJP at UVA’s Instagram post of September 17, 2023.
    “Black September” is universally recognized and most widely identified as the Palestinian terror organization,



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               formed in 1970, that carried out the Munich Massacre at the 1972 Munich Olympiad
                       in which eleven Jewish, Israeli athletes and coaches were murdered.

  247.   As with all of the virtual and physical expressions of antisemitic hate by Defendants SJP

         at UVA and FJP at UVA, the posts above were widely disseminated and were all viewed

         by Matan, just a few weeks after his arrival at the University of Virginia.

  248.   Matan and his parents, like most of the other Jewish students at UVA and their parents, are

         intimately aware of and sensitive to antisemitism in the world, in the United States, and at

         UVA. Matan and his parents are in constant contact with other UVA Jewish students and

         their parents, and all are in constant contact with Jewish students and their parents at other

         colleges and universities. Countless social media groups exist in which students and parents

         share their hopes, dreams, fears, and awareness of danger.

  249.   Matan and his parents are not “unusual” or “outliers.” Matan and his parents are deeply

         devout and faithful to Judaism and are deeply attached both spiritually and culturally to the

         Jewish homeland of Israel and the idea and faith that is Israel. They are also aware, vigilant,

         and alert to antisemitism and hate directed at their faith, their people, and their sacred

         homeland. This is true for most Jewish students and their parents at UVA and schools just

         like UVA across the country. Thanks to social media and the ubiquity of smartphones,

         Jewish students and their parents can and do connect to thousands of other Jewish students

         and parents in their communities, their schools, and across the country.

  250.   When a national group such as NSJP announces openly that it seeks and desires the

         extermination of Jews and the destruction of Israel, the Jewish community, specifically

         including Matan and his parents, are immediately aware of it, and they pass the word. When

         a school’s “chapter” or franchise, such as SJP at UVA and FJP at UVA, announces that it

         “is” the national organization and that it “supports and stands in solidarity” with its



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         “comrades” who have announced their desire to kill Jews and destroy Israel “by any means

         necessary,” Matan and his parents and thousands, if not tens of thousands of Jewish

         students and their parents, will have heard it and read it and feared the inevitable hate-

         based torment that would be sure to follow within seconds of the hatred being announced.

  251.   Students like Matan and parents like Matan’s parents share their fears and warn others of

         what’s coming.

  252.   The antisemites and antisemitic organizations know this. That their messages of hate—

         their antisemitic bullying and torment—will be seen and viewed and shared by the Jewish

         community is not a “bug” of their vile program, it is a feature. They want to sow terror and

         anguish and anxiety among the Jewish families. They want Jewish students who support

         Israel to flee campuses in fear for their lives. Their aim is to make the educational

         environment for every Jewish student, every supporter of Israel, every Zionist, an

         inhospitable, hostile, toxic environment.

  253.   Social media posts such as the ones above were shared widely among the Jewish

         community at UVA and beyond, and specifically reviewed by Matan and his parents. It is

         important to remember that these posts would have been transmitted just a few weeks after

         Matan’s arrival for his freshman year in college.

  254.   The posts above are clear evidence of the pervasion of severe, objectively offensive

         antisemitism throughout the virtual or online world that is the UVA educational

         environment, which, in today’s world, occupies the vast majority of time, attention, and

         resources of the entire “educational environment.” These posts were viewed tens of

         thousands of times and shared, “liked,” and “reposted” thousands of times by UVA




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         students and faculty, further confirming saturation and infection of the human component

         of the University of Virginia’s educational environment.

  255.   That is what SJP at UVA and FJP at UVA want, and that is what they have created.

  256.   The University of Virginia and President Ryan have enabled and allowed antisemitism to

         happen, they have illegally remained deliberately indifferent to the campaign of hate being

         waged against Jewish students, and they have illegally refused to take a single action to

         protect Jewish students or give them the full, unfettered access to the educational

         environment that they deserve and are entitled to receive.

  257.   The antisemitism at UVA has caused Matan great anguish and fear of imminent danger

         and harm, caused him to worry that UVA was sponsoring and supporting groups that

         openly celebrated the massacre of Jews, and has effectively barred and impaired Matan’s

         access to the UVA educational environment.

  258.   The lie that being “anti-Israel” or “anti-Zionist” is not antisemitic or not necessarily

         antisemitic is a dishonest form of antisemitism much in the way that David Duke of the Ku

         Klux Klan claims not to be a racist but rather a “proponent of European-American rights.”

  259.   As with nearly all Jewish people known to the Plaintiff and, polls show, as many as 90%

         of Jewish people in the world, Israel lies at the core of Matan Goldstein’s identity. Israel

         represents the homeland of the Jewish people, given to them by God and set aside for them

         for thousands of years. Judaism is synonymous with supporting Israel. To be a faithful Jew

         means to support the right of Israel to exist.

  260.   To oppose these Jewish ideals and principles of faith is to be antisemitic.

  261.   Just as white supremacists use thinly veiled “codes” to express their hate while appearing

         benign, innocuous, or defensible (such as emblazoning the numbers “88” on garments or




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         tattoos in place of “HH” or “Heil Hitler”), antisemites attempt to cloak their bigotry and

         hatred in code words and phrases and craft images that have symbols of hate embedded in

         what might otherwise be innocuous imagery.

  262.   Saying, “I am not antisemitic, I just oppose the right of Israel to exist,” or “I am not

         antisemitic, I am anti-Zionist,” is synonymous with antisemitism, and when institutions or

         individuals feign ignorance in understanding what those hateful slogans and beliefs mean,

         they are being willfully ignorant or masking their own antisemitism.

  263.   Denial of the existence of antisemitism is a form of antisemitism and a form of prejudice,

         discrimination and hate. A particularly pernicious form of denial is known as “gaslighting”

         where the victim is belittled and ridiculed as crazy (or, as in this case, an “imbecile”), a liar

         (as has been done here), or, worse, as someone whose act of speaking out “harms” the

         Jewish community (as has been done here). Gaslighting is as old as antisemitism itself and

         is a form of psychological abuse and manipulation. Gaslighting in the context of

         antisemitism is itself antisemitic.

  264.   UVA students who are members of SJP at UVA have been recruited by the University to

         claim, without condemnation or reproach, that Matan and others like him can be likened to

         “the boy who cried wolf” in published, mainstream media articles.

  265.   Lawyers who are members of FJP at UVA’s “Faculty Defense” team have likewise taken

         to the press to publicly refer to Matan as an “imbecile,” calling him a liar, and saying that

         his lawsuit is an “embarrassment to the legal profession.”

  266.   Since October 7, 2023, numerous high-profile, “celebrity” professors at UVA have taken

         to social media to espouse antisemitic, anti-Israel, and anti-Zionist rhetoric and positions.

         These posts and positions have been viewed by Matan and most of the members of the




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         UVA Community, and they are known to the University Administration and President

         Ryan.

  267.   Rather than working with Matan, the University and President Ryan have actively taken

         steps in public to brand him a liar and to portray his claims as “lacking credibility.”

  268.   The University has publicly published false claims that no Jewish students or faculty

         members have lodged complaints or grievances about antisemitic harassment and abuse.

  269.   These are not just outright lies, they are also a classic example of “gaslighting.”

  270.   Likewise, those who seek to “gaslight,” deny the existence of antisemitism, or defend their

         antisemitic behavior by recruiting or pressuring Jews to support their denial are guilty of

         antisemitism and antisemitic abuse and harassment.

  271.   To Jewish people who are adherents to their faith and the deep, sacred bond among God,

         their people, and Israel, a particularly hurtful and noxious form of “gaslighting” is the so-

         called “As a Jew defense.”10

  272.   At the direction of NSJP, Defendant SJP at UVA and its members formed and operate

         multiple alter-ego and alias groups, specifically including the local chapter of a national

         antisemitic, anti-Israel, anti-Zionist group that calls itself Jewish Voice for Peace.

  273.   National and international Jewish organizations such as Canary Mission have investigated

         Jewish Voice for Peace and have alleged that the group’s leader is a man named Hatem

         Bazian, who, according to experts and investigators, is neither Jewish nor a voice for peace.

         Mr. Bazian is reported to be a virulent antisemite, the founder of both NSJP and AMP, and



  10
         Eli Lake, A Brief History of the ‘AsAJew’, COMMENTARY MAGAZINE (Mar. 2024),
         https://www.commentary.org/articles/eli-lake/asajew-brief-history/. The University’s decision to solicit,
         craft, publish, and rely upon a “statement” by a group identifying itself as the “UVA Jewish Leadership
         Advisory Board” to defend its inaction and deny the existence of antisemitism on Grounds while denouncing
         Matan is a prime example of the “As A Jew defense” and antisemitic “gaslighting” in practice.



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         a leader in the antisemitic Boycott, Divestment, and Sanctions movement who routinely

         defends Hamas and has called for “intifada” in the United States.

  274.   Defendant SJP at UVA and FJP at UVA’s conduct, including the conduct depicted above,

         is objectively offensive, severe, antisemitic, and purposefully calculated to interfere with

         the rights of Jewish students and diminish Jewish students’ access to the educational

         environment.

  275.   None of this behavior or these antisemitic slogans, chants, or images have any place in a

         public accommodation or a publicly supported educational environment such as a public

         university.

  276.   The antisemitic slogans, chants, and images violate University of Virginia policies and

         student codes of conduct. Importantly, the antisemitic chants, slogans, posters, and social

         media posts are all violations of the University of Virginia’s anti-harassment policies and

         student codes of conduct.

  277.   The expressions of hate were specifically calculated to intimidate Jewish students and

         faculty and specifically disseminated to create a hostile educational environment where

         Jewish people were made to feel unwelcome and unsafe and to deprive Jewish students of

         free and unfettered access to the public accommodation educational environment.

  278.   The University of Virginia administration, specifically including President Ryan, the

         Office of the President, the UVA Police Department, the Office of University Counsel, the

         EOCR, and the UVA Student Affairs Division were all well-aware of the existence of the

         antisemitic groups operating on campus. They were well-aware of the increasing

         expressions of hostility and antisemitism towards the Jewish population in their

         community.




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  279.   The body of written, documentary evidence, mostly in email format, that has been secured

         by the Plaintiff thus far demonstrates that all of the administrative bodies identified above

         were specifically and actually aware not only of the antisemitism and antisemitic abuse

         occurring on grounds, but the multitude of complaints that were being lodged with every

         possible outlet or apparatus by Jewish students, including Matan, and Jewish faculty

         members.

  280.   Most notably and shockingly, the Plaintiff possesses written evidence conclusively

         demonstrating beyond credible dispute that the University and all of the administrators and

         administrative bodies listed above were specifically aware and on notice of the antisemitic

         harassment and abuse occurring in the educational environment and specifically aware of

         formal complaints by UVA students and faculty members reporting the offensive and

         threatening behavior by Defendants SJP at UVA and FJP at UVA and expressing fear of

         grave danger before the University dishonestly reported to the press and the University

         Community that it had not received “any” complaints or concerns about antisemitism or

         antisemitic misconduct.

  281.   Despite possessing actual knowledge of the student and faculty antisemitic misconduct and

         despite multiple formal complaints by students and faculty members, the University of

         Virginia has, to date, refused to take any actions of any kind in response.

  282.   The University of Virginia should have taken precautions to protect its Jewish students and

         faculty and to plan and prepare for the inevitable onslaught of harassment, abuse, bullying,

         and even physical violence that was certain to occur.

  283.   The University of Virginia did not condemn the student groups on its campus with known

         ties to organizations created, directed, and funded by federally designated Foreign Terrorist




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         Organizations. The University of Virginia did not transmit “Community Alerts” warning

         the students and faculty of the presence of this menace in their educational environment.

  284.   The University of Virginia did not mobilize the “Threat Assessment Team” regarding

         antisemitism on campus, antisemitic “hate crimes,” or Defendants SJP at UVA and FJP at

         UVA or their affiliates.

  285.   The University of Virginia did not engage its own University Police Department regarding

         antisemitism on campus, antisemitic “hate crimes,” or Defendants SJP at UVA and FJP at

         UVA or their affiliates. The University of Virginia did not report to or call upon the

         Albemarle County Police Department, the Virginia State Police, or the Federal Bureau of

         Investigation (FBI) regarding antisemitism on campus, antisemitic “hate crimes,” or

         Defendants SJP at UVA and FJP at UVA or their affiliates.

  286.   To date, the University of Virginia has not enforced or taken any measures or steps to

         enforce a single one of its many anti-discrimination, anti-harassment, anti-bullying, and

         anti-retaliation policies and codes of conduct regarding antisemitism and antisemitic

         misconduct occurring at UVA.

  287.   The University of Virginia and President Ryan could have taken and was required to take

         action against the hate building and being fomented in their backyard, their educational

         environment. But they did not. Instead, they stood purposefully silent, frozen, and would

         remain so for the entire school year while hate descended on Charlottesville.

  B.     OCTOBER 7, 2023

  288.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

         as if alleged anew.




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  289.   On October 7, 2023, the state and people of Israel, people of Jewish faith worldwide, and,

         indeed, every decent and civilized person with even an ounce of dignity or humanity within

         them, suffered and experienced the single most catastrophic act of antisemitic terrorism

         since the Holocaust. The atrocities are too numerous and the savagery too grotesque to

         adequately depict in this Complaint.

  290.   Make no mistake, however, the atrocities were numerous. The savagery was grotesque.

         The acts constituted crimes against humanity.

  291.   On that day, in Israel, more than 1,200 innocent people, almost all of them Jews, were

         butchered, murdered, mutilated, raped, and tortured by Hamas. On that day, babies were

         slaughtered, whole families were burned alive, women were raped and sexually mutilated,

         and well over one thousand innocent people lost their lives. On that day, 250 innocent

         civilians were taken hostage and removed from Israel to hidden Hamas bunkers and other

         terrorist encampments deep within Gaza, where many continue to be held, murdered,

         tortured, and raped to this very day.

  292.   While the following excerpt of evidence from the attacks obtained by Israeli defense and

         security forces is but one tiny glimpse into the perverted display of inhumanity exhibited

         by Hamas and those who support it, it is telling nonetheless. Thoroughly disturbing and

         unsettling, it must be read to understand the depravity of the antisemitic pestilence that has

         been allowed to shroud the University of Virginia in a cloak of hate:

                Terrorist:      “Hey Dad, I’m calling you from Miflasim! [the Israeli
                                Kibbutz] Open WhatsApp now and see all the murdered!
                                Look how many I killed with my hands! Your son just killed
                                Jews!”

                Father:         “Allahu Akbar!” [Allah is the greatest]

                Terrorist:      “This is from Miflasim!”



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                Father:        “Allah yahfazuk!” [May Allah keep you safe]

                Terrorist:     “Dad, I’m calling you from the phone of a Jew! I just killed
                               her and her husband with my own hands! I killed 10! Dad, I
                               killed 10 with my own hands! Dad, open WhatsApp and see
                               how many I killed!”

  293.   Among the living, the dead, and the missing were family members and friends of many

         UVA students and faculty. Actively enrolled UVA students learned that relatives were

         sequestered in bomb shelters. Actively employed UVA faculty learned that close relatives

         had been brutally murdered. UVA Community members learned that friends and relatives

         had been taken hostage. Students and faculty alike watched their phones and computers for

         news of friends and family on a second-by-second basis.

  294.   The innocent Jewish, Israeli, and Israeli-American members of this nation and this

         University Community did not know that Hamas, the foreign terrorist organization

         responsible for the atrocities, had simultaneously mobilized its United States-based

         propaganda arm and proxies to launch pre-programmed public relations campaigns aimed

         at promoting Hamas and societal disruption within the United States.

  295.   Hamas’s attack on Israel took months, if not years, to plan and execute, and its efforts

         within the United States were likewise meticulously crafted and coordinated.

  296.   On Hamas’s signal, United States-based proxies, affiliates, and “chapters” launched an

         offensive campaign within our borders to advance Hamas’s antisemitic, anti-Israeli, and

         Anti-American objectives.

  297.   Within the United States, pro-Hamas support groups, activists, and agents number in the

         tens of thousands and encompass hundreds of organized and regimented groups, affiliates,

         and “chapters.”




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  298.   In the immediate aftermath of October 7, 2023, posts and openly expressed sentiments such

         as the following became ubiquitous and commonplace throughout the United States:11




  299.   Matan is a Jew. Matan is an Israeli-American. Matan is a Zionist.

  300.   Describing the storm clouds of antisemitic hate that have darkened the skies above our

         nation, particularly on university and college campuses nationwide since October 7, 2023,

         United States President Joseph R. Biden, speaking at the United States Capitol for the

         Holocaust Memorial Museum’s Days of Remembrance ceremonies on May 7, 2024,

         remarked, in pertinent part:

                 Germany, 1933. Hitler and his Nazi party rise to power by rekindling one
                 of the world’s oldest forms of prejudice and hate: antisemitism. His rule
                 didn’t begin with mass murder. It started slowly across economic, political,
                 social, and cultural life: propaganda demonizing Jews; boycotts of Jewish
                 businesses; synagogues defaced with swastikas; harassment of Jews in the
                 street and in the schools; antisemitic demonstrations, pogroms, organized
                 riots.

                 With the indifference of the world, Hitler knew he could expand his reign
                 of terror by eliminating Jews from Germany, to annihilate Jews across

  11
         Every aspect of this vile post, whether taken literally or within some “context,” qualifies as hate speech.
         Sadly, the words and their meaning are entirely consistent with the epithets and treatment hurled at Jewish
         students at the University of Virginia during the 2023-24 academic year.


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              Europe through genocide the Nazi’s called the “Final Solution” —
              concentration camps, gas chambers, mass shootings.

              By the time the war ended, 6 million Jews — one out of every three Jews in
              the entire world — were murdered.

              This ancient hatred of Jews didn’t begin with the Holocaust; it didn’t end
              with the Holocaust, either, or after — or even after our victory in World
              War Two. This hatred continues to lie deep in the hearts of too many people
              in the world, and it requires our continued vigilance and outspokenness.

              That hatred was brought to life on October 7th in 2023. On a sacred Jewish
              holiday, the terrorist group Hamas unleashed the deadliest day of the Jewish
              people since the Holocaust.

              Driven by ancient desire to wipeout the Jewish people off the face of the
              Earth, over 1,200 innocent people — babies, parents, grandparents —
              slaughtered in their kibbutz, massacred at a musical festival, brutally raped,
              mutilated, and sexually assaulted. Thousands more carrying wounds,
              bullets, and shrapnel from the memory of that terrible day they
              endured. Hundreds taken hostage, including survivors of the Shoah.

              Now, here we are, not 75 years later but just seven and a half months later,
              and people are already forgetting. They’re already forgetting that Hamas
              unleashed this terror, that it was Hamas that brutalized Israelis, that it was
              Hamas who took and continues to hold hostages. I have not forgotten, nor
              have you, and we will not forget. (Applause.)

              And as Jews around the world still cope with the atrocities and trauma of
              that day and its aftermath, we’ve seen a ferocious surge of antisemitism
              in America and around the world: vicious propaganda on social media,
              Jews forced to keep their — hide their kippahs under baseball hats,
              tuck their Jewish stars into their shirts.

              On college campuses, Jewish students blocked, harassed, attacked
              while walking to class.

              Antisemitism — antisemitic posters, slogans calling for the annihilation
              of Israel, the world’s only Jewish State.

              Too many people denying, downplaying, rationalizing, ignoring the horrors
              of the Holocaust and October 7th, including Hamas’s appalling use of
              sexual violence to torture and terrorize Jews.

              It’s absolutely despicable, and it must stop.




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                Official White House Transcript, www.whitehouse.gov (emphasis added).

  301.   The October 7, 2023, atrocities, the massacre, the crimes against humanity in Israel were

         merely the beginning, the initial thrust, of the Hamas campaign to destroy Israel,

         exterminate Jews from the Earth, and to preside over the demise over every nation, people,

         and culture that supports Israel. The next phase of Hamas’s campaign was the mobilization

         of the United States-based propaganda “franchises.”

  302.   Defendants SJP at UVA and FJP at UVA were ready for and awaiting Hamas’s call, and

         when NSJP ordered them to engage and attack the Jewish populations on their campuses,

         they did so with bloodthirsty zeal.

  303.   Importantly, as family members of UVA students and faculty were huddled in bunkers in

         Israel or lying dead in the killing fields of the Be’eri kibbutz, as Hamas began mobilizing

         its United States proxies to wage a war of harassment and propaganda on college campuses,

         President Ryan and the entire University of Virginia Administration slept unawares, having

         undertaken no precautions whatsoever for the onslaught of hate that was about to be

         unleashed.

  C.     OCTOBER 8, 2023 – PRESENT

  304.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

         as if alleged anew.

  305.   In the early hours of October 8, 2023, while Hamas’s terrorist attacks were still underway,

         as planned by Hamas, an aura of menace once again descended upon Charlottesville; hate

         once again returned to the “Grounds” of the University of Virginia, fomented by the

         “student arm” of Hamas, Defendant SJP at UVA and its pro-Hamas faculty support group,

         Defendant FJP at UVA.




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  306.   Hamas directed its United States proxy, National Students for Justice in Palestine, to

         prepare its followers—students and faculty in dozens of “chapters” across the United

         States—to amplify Hamas’s public relations campaign, propagate hate and sow widespread

         dissension in their communities.

  307.   Within mere hours of the gruesome attacks in Israel and while many members of the

         University of Virginia Community were still reeling and trying to confirm whether their

         loved ones were dead, alive, or taken hostage, a number of formal and well-organized, pro-

         Hamas, UVA faculty and student groups emerged publicly with slick messaging and public

         relations efforts, pre-prepared by Hamas-proxy National SJP, specifically calculated to

         promote Hamas, to oppose Israel, Israelis, and people of the Jewish faith, and to create a

         toxic, abusive, intimidating educational environment for Jews and Israelis in this

         community:




                          Official Statement of Students for Justice in Palestine at UVA
          at approximately 8:43AM on October 8, 2023, transmitted widely to the University Community.

  308.   Defendants SJP at UVA and FJP at UVA’s opening salvo in the pro-Hamas campaign was

         delivered on the morning of October 8, 2023, when it published and widely distributed the




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         utterly grotesque and indefensible “Students for Justice in Palestine at UVA Statement on

         Current Situation in Gaza, Palestine,” circulated at approximately 8:43AM.

  309.   The “Statement” is a vile expression of hate and antisemitism. In the Statement’s very first

         paragraph, Defendant SJP at UVA refers to the worst act of terror against Jews, the single,

         most devasting and gruesome massacre of Jewish people since the Holocaust was “an

         unprecedented feat for the 21st century[.]” Defendant SJP at UVA then goes on to extol

         the virtues of the rape, mutilation, and torture of innocent Jewish people as noble acts in

         Hamas’s mission to destroy Israel and secure “Palestinian liberation.”

  310.   The loathsome, antisemitic publication was widely and thoroughly disseminated

         throughout the University of Virginia educational environment and beyond. The Jewish

         community, specifically including Matan and his parents, were immediately aware of and

         confronted with this stark, hateful celebration of antisemitic terrorism.

  311.   Matan received and was horrified and traumatized by SJP at UVA’s pro-Hamas,

         murderous, antisemitism, as were many other Jewish student, faculty members, and their

         families. Equally disturbing to Matan was the University’s total silence.

  312.   Jewish students and their parents immediately received SJP at UVA’s expression of

         antisemitism. With the exception of those antisemitic students and faculty members at

         UVA who support the wholesale murder of Jews and destruction of Israel, the “Statement”

         was met with revulsion and horror. Parents of Jewish students, including Matan’s, urged

         their children to avoid going out in public, to refrain from wearing their kippahs or jewelry

         that could identify them as Jews, and to consider returning home—in other words, getting

         out.




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  313.   This UVA-based, pro-Hamas campaign of abuse and harassment would become

         widespread, pervasive, coordinated, and include an “all-University” effort involving every

         constituency and apparatus of the higher education institution and its mission.

  314.   From October 8, 2023, to the present, the whole educational environment—the physical

         realm, the virtual space that is an integral part of University life and operations (and a part

         of every human’s daily life), the human element of students, student groups, student

         leaders, faculty members, and faculty groups, the “academy” or academic element of

         schools, departments, institutes, grades, and, finally, the “UVA Community of Trust”—

         have been thoroughly saturated and pervaded by a constant, unending barrage of

         antisemitic hate and animus that have warped and altered both the terms and conditions of

         the student experience that is the educational environment but also has perverted and

         thwarted free and unfettered access to the public accommodation that is the educational

         environment.

  315.   Every day since October 8, 2023, Matan has been met with some form of antisemitic insult

         or threat in and on UVA’s educational environment. Every day and in every way, Jewish

         students, including Matan, have been intimidated and threatened because of their Jewish

         identity, their shared ancestry, and national origins and ethnicity. Every day and in every

         way, Jewish students, including Matan, have been made to feel “less than” and

         “unwelcome” in the UVA educational environment.

  316.   On October 8, 2023, Defendant SJP at UVA, identifying itself as “We, Students for Justice

         in Palestine,” and “students at the University of Virginia’s SJP Chapter,” published a “SJP

         Statement on occupied Palestine” that was co-signed by thirty-eight student organizations,

         including the Black Student Alliance, the National Pan-Hellenic Council, and the “secret




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         society” known as the “13 Society,” to name but a few. Many of the student leaders and

         executive officers of some of the most prominent, influential, and powerful student Agency

         Organizations and Special Status Organizations, such as the Honor Committee, were and

         are members of the student groups that co-signed the antisemitic, hate-based manifesto

         published by Defendant SJP at UVA.

  317.   This conglomeration of student groups and their members supporting Hamas and

         antisemitism further demonstrates and is conclusive evidence that the human element or

         component of the UVA educational environment has been thoroughly pervaded by

         antisemitic hate that is severe and objectively offensive.

  318.   The University of Virginia and President Ryan did not condemn or express any disapproval

         of any kind with Defendant SJP at UVA or Defendant FJP at UVA’s October 8th antisemitic

         misconduct and harassment.

  319.   Shortly after the issuance of the atrocious “Statement” by SJP at UVA, pre-made

         antisemitic posters—created using templates provided by NSJP—as well as graffiti slogans

         praising Hamas and glorifying the massacre of Jews and the destruction of Israel began

         appearing all over the University physical educational environment where they would

         remain, emblazoned for everyone to see for the rest of the school year:




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                      Image of a “Lawn Room” door depicting Hamas terrorists and the
                    antisemitic phrase “From the River to the Sea, Palestine will be Free.”

  320.   Dozens of Lawn Room doors and other physical places of prominence, as well as school

         facilities and classrooms around the University’s campus were similarly adorned with

         identical images of hate.

  321.   These posters, images, and graffiti are antisemitic, deeply hurtful, and are severe and

         objectively offensive forms of hate.

  322.   Matan was exposed to and forced to study, eat, live, and exist among these images, every

         single day throughout the remainder of the school year.

  323.   Simultaneously, every day, thousands of students and faculty members began circulating

         hateful, disgusting, antisemitic social media posts that were quickly forwarded among the

         University Community, the educational environment, and shared around the world. This

         practice has continued through the present:




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      An Instagram “post” by UVA Student Council President “reposting” Defendant SJP at UVA’s antisemitic and
   plainly threatening “Bloody Handprint” image (taunting and threatening the Hillel at UVA - Brody Jewish Center).

  324.     Equally threatening, students and faculty across UVA’s campus and in class began wearing

           pro-Hamas adornments such as “keffiyehs” and “Bloody Handprint” pins and patches.

  325.     The wearing of masks and face-coverings is a troubling behavior of the University of

           Virginia faculty members and University of Virginia students while engaged in antisemitic

           protests and harassment and abuse.

  326.     The practice of wearing masks and Hamas-inspired face coverings is purposefully meant

           to conceal the protester’s identity while causing terror and fear in those who know what

           the masks and keffiyehs represent. The wearing of masks and face coverings while

           protesting is also a clear, open, and obvious violation of Virginia law.

  327.     Moreover, the masks and garb mimic the uniforms of Hamas terrorists. When accompanied

           by hateful signs and the chanting of antisemitic slogans and jeers calling for the murder of



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        Jews and extermination of Israel, the masks have the effect of purpose of terrorizing and

        intimidating Jewish students such as Matan Goldstein:




                                        Image of a Hamas militant terrorist.




                            SJP at UVA’s University of Virginia CIO “profile picture.”




             A terrifying and intimidating image taken from a video distributed worldwide by Hamas
         promising to create a “river of blood” in Paris as a result of allowing Israeli and Jewish athletes
         to participate in the Olympics. The video ended with the terrorist raising a severed human head.
                   The video was seen by Matan and millions of Jewish people around the world.




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  328.   One of the most oft-repeated concerns from Jewish students, their parents, and Jewish

         faculty members regards the wearing of masks and antisemitic face-coverings by pro-

         Hamas protesters on University premises during antisemitic, anti-Israel, and anti-Zionist

         protests.

  329.   Masks and pro-Hamas face coverings are not just intimidating and antisemitic—and taken

         that way by Matan—they are illegal in Virginia. In fact, the wearing of masks in the manner

         worn by SJP at UVA and FJP at UVA throughout the 2023-24 school year constitutes a

         felony. See, Prohibition of wearing of masks in certain places, Va. Code Ann. § 18.2-422.

  330.   Matan personally witnessed this and was terrified and traumatized by this severe and

         objectively offensive behavior.

  331.   As the frequency, number, and intensity of complaints and concerns from Jewish students,

         faculty members, and the parents of Jewish students to the University Administration

         increased, with particular focus on the “mask issue,” the Commonwealth Attorney for

         Albemarle County specifically admonished the University Administration that its failure

         to impose any consequences on students who refuse to comply with the law will break the

         law with impunity. “I doubt it would take long for the word to get around that the University

         is willing, in cases of mask wearing, to forgo enforcement of the law altogether.”

  332.   The Commonwealth Attorney was clearly explaining to the University of Virginia the

         logical consequences of “deliberate indifference.”

  333.   Still, the University of Virginia refused to respond. Still, the University of Virginia refused

         to take action.

  334.   On October 8, 2023, UVA and President Ryan remained silent.

  335.   On October 9, 2023, UVA and President Ryan remained silent.




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  336.   On October 9, the faculty arm of UVA’s pro-Hamas movement raised its head and publicly

         announced its presence:




                     SJP at UVA and FJP at UVA flyer widely distributed and disseminated
                  throughout the University of Virginia’s educational environment on October 9, 2023.

  337.   The poster and image above demonstrate that by October 9th, the faculty element of UVA’s

         educational environment had publicly and openly joined the frenzy of antisemitism and the

         efforts to demonize and terrorize Jews on campus.

  338.   The poster and social media posts are premade, using templates provided by NSJP that are

         identical to those used by other SJP “chapters.” The image depicts a doctored photograph

         of the massacre site where terrorists (edited by SJP at UVA and FJP at UVA out of the

         image) entered the Israel Kibbutz to murder innocent civilians and committed crimes

         against humanity and acts of unprecedented barbarity.

  339.   The image itself is shocking and offensive and is, in and of itself, a vulgar act of

         intimidation.




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  340.   The poster, distributed and adhered physically to University facilities across campus and

         circulated digitally online via social media platforms, demonstrates that University faculty

         members had joined and were supporting the pro-Hamas, antisemitic efforts and intended

         to overtake the University educational environment.

  341.   The image is meant to convey that Defendants SJP at UVA and FJP at UVA were engaged

         in an “all-University” onslaught, that the UVA faculty, meaning the school’s teachers and

         professors, were “on the side” of Hamas and yearned for the destruction of Israel and the

         extermination of Jewish people. The posters and images were a message that Jewish

         students were no longer safe in any classroom on UVA’s campus. No longer could Matan

         or any Jewish student expect fair, objective, unbiased, and impartial treatment or safety

         from a UVA professor or teacher.

  342.   The poster was meant to and in fact did intimidate and threaten Matan and other Jewish

         students. The very images and the exhortations to wear Palestinian colors and Hamas

         “kuffiyyes” are by definition antisemitic, anti-Israel, anti-Zionist, exclusionary, and

         intentionally calculated to segregate and thwart or outright bar Jewish students’ access to

         the educational environment. This was the actual impact the posters had on Matan.

  343.   The planned demonstrations involving University faculty, students, and University

         facilities, the published “statements,” endorsements from student and faculty groups,

         multitude of physical posters, widespread graffiti, and the cacophony of social media posts

         demonstrate that just one day into the Hamas campaign, by October 9, 2023, the entire

         University of Virginia “educational environment” was pervasively saturated and

         thoroughly infected with illegal and hostile harassment and abuse.




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  344.   “Decolonization” is a direct call for violence against Jews and Israelis. There is no other

         reason for or interpretation of that term.

  345.   On October 10, 2023, Attorney General for the Commonwealth of Virginia Jason Miyares

         published a pointed and detailed condemnation of Defendant SJP at UVA:

                I denounce the hateful message of the UVA Students for Justice in Palestine
                in the strongest terms possible. You cannot ‘mourn the loss of human life’
                and ‘hope for long-lasting peace’ and also cheer on the murder, rape, and
                hostage-taking by Hamas, a terrorist organization that exists for the
                destruction and murder of Jewish people. There should be room on our
                college campuses for free speech and substantive foreign policy
                discussions, but the hateful message of the Students for Justice in Palestine
                is exactly the wrong approach.

  346.   In the widely disseminated statement, the Attorney General for the Commonwealth

         actively and openly condemned the hate-based misconduct on UVA’s campus by a UVA

         student group, Defendant SJP at UVA.

  347.   The University did not respond to or acknowledge the Attorney General’s condemnation

         of antisemitic abuse occurring on its campus.

  348.   On the same day, October 10, 2023, Delegate Todd Gilbert, Speaker of Virginia’s House

         of Delegates at the time, joined the chorus of prominent public figures denouncing

         Defendant SJP at UVA:

                Some students at my alma mater @UVA fully endorse the rape, murder and
                kidnapping of innocent people which we now know includes the beheading
                of babies. I implore the University and @presjimryan to condemn this vile
                statement in the strongest possible terms and to take action.

  349.   The University did not respond to or even acknowledge the Speaker of the House of

         Delegates’ condemnation of antisemitic harassment and abuse at UVA and call for action.

  350.   Instead, on October 10, 2023, UVA and President Ryan remained silent.




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  351.   The United States Senate quickly spoke out specifically against Defendant SJP at UVA.

         On October 19, 2023, “Senate Resolution 418 -- Condemning Hamas and Antisemitic

         Student Activities on College Campuses in the United States” was introduced to the

         legislative body. In the resolution, the United States Senate identified and condemned the

         “University of Virginia chapter of Students for Justice in Palestine.” Among other

         pronouncements, the United States Senate denounced “the rhetoric of anti-Israel, pro-

         Hamas student groups as antisemitic, repugnant, and morally contemptible for

         sympathizing with genocidal violence against the State of Israel and risking the physical

         safety of Jewish Americans in the United States.” The resolution passed on October 26,

         2023.

  352.   The United States House of Representatives followed suit, passing House Resolution 883:

         “that the slogan ‘from the river to the sea, Palestine will be free’ is antisemitic and must be

         strongly condemned.’”

  353.   To date, President Ryan and the University of Virginia administration have refused to

         acknowledge or admit that the vile phrase is antisemitic. To date, President Ryan and the

         University of Virginia administration have refused to acknowledge or admit that the vile

         phrase is emblazoned on posters affixed across University buildings. To date, President

         Ryan and the University of Virginia administration have refused to acknowledge or admit

         that the vile phrase is chanted with regularity on campus by SJP at UVA and FJP at UVA

         members. To date, President Ryan and the University of Virginia administration have

         refused to condemn the vile phrase or its regular usage orally and in writing in the UVA

         educational environment.




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  354.   Imagine racist “nooses” being hung on doorways and buildings across campus and allowed

         to hang, unmolested, for an entire school year. Imagine the worst racial slur, beginning

         with the letter “N,” being yelled and chanted with impunity, constantly, across campus, for

         an entire school year. Imagine the University and its President remaining absolutely silent

         and inactive in the face of those vile, racist expressions. That is what Matan and other

         Jewish students have experienced in the 2023-2024 school year at UVA and will almost

         certainly experience when classes resume later this month.

  355.   Finally, on October 11, 2023, President Ryan spoke in a letter published in the University’s

         UVAToday online magazine.

  356.   The letter is a shocking display of weakness, callousness, and cowardice. While the letter

         feigns compassion with worn-out platitudes and does, just once, use the word

         “condemn,”—but only then in an indirect and convoluted manner—the missive quickly

         equivocates, mourning the future loss of “innocent lives” that will be caused by a “terrible

         war” that is sure to follow (apparently suggesting Israel as the cause and responsible party).

  357.   President Ryan’s letter does not use or make any reference to the words “Jew,” “Jewish,”

         “antisemitism,” or “antisemitic.” President Ryan makes no mention of antisemitism on

         UVA’s campus and makes no mention of the pro-Hamas student groups terrorizing UVA’s

         Jewish population. The letter does not condemn antisemitism, does not condemn or

         denounce antisemitic harassment, and does not remind pro-Hamas UVA students and

         faculty members that they are bound by UVA’s anti-harassment policies and codes of

         conduct.

  358.   Unsurprisingly unfazed and undeterred by President Ryan’s milquetoast letter to

         UVAToday magazine, the very next day, on October 12, 2023, Defendants SJP at UVA




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         and FJP at UVA, along with their members and adherents, staged the “Teach In” protest

         on the University’s Rotunda steps:




       Image of the October 12, 2023, “Day of Resistance” called for by NSJP, depicting over 100 protesters,
      mere feet from President Ryan’s office, wearing masks and face-coverings in violation of Virginia law and
     brandishing signs and banners emblazoned with antisemitic slogans calling for the destruction of Israel and
                                           extermination of Jewish people.

  359.   Defendant FJP at UVA confirmed its active involvement in concert with SJP at UVA and

         proved that antisemitic hostility had pervaded throughout the educational environment into

         the classroom, or “Academy” component of the educational environment, when FJP at

         UVA agents offered “extra credit” in their UVA classes to UVA students who attended the

         “teach in” on UVA premises:




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   Image depicting UVA instruction and teaching software being used by FJP at UVA agent and UVA Professor Tessa
     Farmer to communicate that “extra credit” will be offered to students who attend the pro-Hamas “teach in and
      demonstration” where they can learn “how we can be in solidarity with Palestinians resisting occupation.”

  360.     Matan was aware of the October 12, 2023, “teach in.” Matan was immediately aware that

           UVA faculty members were supporting Hamas and pro-Hamas groups and offering UVA

           students who supported Hamas and pro-Hamas groups “extra credit” and other academic

           advantages (which necessarily implies disadvantages to unfavored students or those who

           did not similarly support Hamas or pro-Hamas groups). Pro-Hamas faculty members have

           offered “extra credit” and boosts in grades to students who attend anti-Israeli, antisemitic

           rallies. UVA professors and student teachers who are members of FJP at UVA and SJP at

           UVA canceled classes altogether, encouraging their students to attend the pro-Hamas rally

           and support the antisemitism. Those acts and decisions are express and tangible education

           actions that are unlawful and actionable as to the professors who committed them and, as

           a matter of law, are imputed to the University of Virginia itself.




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  361.   Matan was also aware that the University has chosen to remain silent, in apparent

         ratification of the antisemitism and intimidating conduct occurring on its premises.

  362.   Matan, his parents, other Jewish students, and their parents, as well as Jewish and Israeli

         faculty members began lodging frequent concerns and complaints with every possible

         outlet at the University of Virginia.

  363.   The written evidentiary record contains countless direct pleas from Jewish students and

         their parents to Defendant President Ryan himself as early as October 14, 2023, just three

         days after his weak and ineffectual letter in UVAToday magazine and continuing to the

         present.

  364.   The Plaintiff has come into possession of written documentary evidence that a Jewish

         University of Virginia professor expressly reported “I feel danger to my personal physical

         safety” through a variety of avenues, including the University’s “Just Report It” system.

         This faculty member has also filed human resources complaints and a Title VII charge

         relating to physical dangers faced by him and other Jewish people at UVA and the dangers

         and threats posed by mask-wearing antisemitic protesters.

  365.   The Plaintiff possesses written documentary evidence that the University buried the Jewish

         faculty member’s report in its “SafeGrounds” archives and took no action whatsoever to

         address the fears of violence being expressed by members of the University Community.

  366.   The University has publicly, repeatedly claimed that Matan, his parents, other Jewish

         students and their parents, and Jewish faculty members have never complained, file

         grievances, or alerted them of their concerns, their worries, or their fears. This is a lie.




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  367.   Meanwhile, identical antisemitic misconduct was occurring at colleges and universities

         across the country, mainly at so-called and self-described “elite” or “prestigious” schools

         in New York, New England, and California.

  368.   Defendants SJP at UVA and FJP at UVA were quick to express their “solidarity” with these

         other “chapters,” endorsement and ratification of their misconduct, including outbreaks of

         violence, and their common lineage with and allegiance to National Students for Justice in

         Palestine. All of these groups and their members pledged their loyalty and support to

         Hamas and its mission to destroy Israel and the Jewish people and frequently posted or “re-

         posted” social media posts and images from other SJP chapters as if they were their own.

  369.   SJP chapters around the country, including SJP at UVA, employ materially similar or

         identical protest and disobedience tactics (including the use of similar garb and gear),

         materially similar or identical posters and images, and identical hateful, antisemitic chants.

  370.   Students at the University of Virginia were made plainly aware that antisemitic hate groups

         like members of SJP and FJP chapters across the country were committing violent crimes

         and even murdering Jewish people. Videos of protesters wearing the same garb as the UVA

         protesters, chanting the same chants as the UVA protesters, belonging to the same hate

         groups as the UVA protesters, and sharing the same beliefs and hatred as the UVA

         protesters depicted the protesters attacking, harassing, and terrorizing Jews at campuses

         nationwide. These news reports were viewed by Matan.

  371.   The University and its administration were obligated to be aware of the antisemitic crimes

         being committed by SJP chapters on college campuses across the country.

  372.   Matan was specifically aware that individuals affiliated with or loyal to Hamas or its cause

         were committing violent, despicable acts of terror, on a daily basis, around the world.




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   373.   Matan was specifically aware that NSJP chapters to whom Defendants SJP at UVA and

          FJP at UVA had pledged fealty, allegiance, and “solidarity” were increasing the frequency

          and intensity of illegal misconduct, including ever-increasing harassment and abuse and

          even violence against Jews.

   374.   Defendants SJP at UVA and FJP at UVA planned and executed the October 25, 2023,

          “Walkout for Gaza,” specifically designed and calculated to create a hostile educational

          environment, disrupt University operations and scholastic activities, and terrorize and

          intimidate Jewish students in the hopes that they would leave the University.

   375.   In preparation for the disruptive and antisemitic event, Defendants SJP at UVA and FJP at

          UVA distributed physical flyers and social media posts created from templates supplied by

          NSJP instructing protesters in a veritable “how to” manual for carrying out an illegal, hate-

          based antisemitic disruption of the educational environment:




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     Flyer widely distributed by Defendants SJP at UVA and FJP at UVA directing pro-Hamas students and faculty
    members to disrupt classes and operations at the University of Virginia on October 25, 2023. Note the professional
                  nature of the communique and instructions, the directives to avoid being “identified,”
                                  and the pejorative and hostile use of the term “Zionist.”

   376.     On October 25, 2023, hundreds of members of Defendants FJP at UVA and SJP at UVA

            conducted the disruptive and riotous “protest,” called a “walk out” during which students

            and faculty members abruptly rose from their seats or podiums in class and converged upon

            the Rotunda, the University’s physical operations center and spiritual temple at the center

            of the University’s Academical Village, a UNESCO World Heritage Site.

   377.     Hundreds of protesters carried NSJP-generated posters emblazoned with hateful,

            antisemitic images and slogans calling for the extermination of Jews. The protesters

            chanted antisemitic tropes and insults calling for the murder of the Jewish people and the

            destruction of Israel.

   378.     Defendants SJP at UVA and FJP at UVA also used their alter-ego and alias organizations

            to amplify notice of their antisemitic rally, to rationalize their antisemitism, and to disrupt

            the educational environment:




    Image of widely distributed flyer promoting the October 25 “Walk Out” depicting the support and endorsement of
          antisemitism and the planned antisemitic misconduct by numerous student groups and organizations.

   379.     Matan, like most, if not all of the Jewish students and faculty, was acutely and personally

            aware of every development and incident referenced above and below.



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   380.   The October 25th antisemitic demonstration occurred barely two months after classes had

          begun at UVA.

   381.   Matan and other Jewish and Israeli students discussed what was happening at UVA,

          discussed the October 25th protest that was planned, and discussed their shared fears for

          their safety and their well-being.

   382.   Matan learned that other Jewish students were afraid to attend or even be seen observing

          the rally for fear of being harassed or abused by pro-Hamas students and faculty and out of

          fear of retaliation by any or all of Defendants.

   383.   Matan, in an extraordinary act of courage, conviction, and faith—an 18-year-old, college

          freshman away from home for the first time—decided to attend the rally, wearing his

          Yarmulke, his Star of David, and carrying the flag of Israel.

   384.   Before going, Matan asked a Jewish, Israeli UVA professor to escort him. When

          interviewed months later by the University Police, the professor stated that he did not

          “want” to go to the event, but when Matan expressed fear, the professor felt it was his

          moral and ethical duty as a professor, teacher, adult, Jew, and Israeli to escort Matan and

          “bear witness” to the events. This Jewish UVA Professor lost his cousin to murder in Israel

          at the Hamas October 7th massacre.

   385.   At the protest, as Matan approached the Rotunda steps, a masked, female FJP at UVA

          member, who is a UVA professor, approached Matan aggressively and shouted that he

          “should not be there.”

   386.   Photographic evidence confirms that known members of ANTIFA were also present at the

          October 25, 2023, Rotunda antisemitic demonstration and disruption of classes and

          University operations. Just two weeks earlier, on October 11, 2023, the very same ANTIFA




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          members were photographed protesting a speaking event featuring Jewish author Abigail

          Shrier. At the Abigail Shrier event, agitators physically accosted elderly attendees by and

          followed them to their cars in a menacing and threatening fashion, prompting calls to the

          police. Other very sophisticated disruptive measures were taken, and, coincidentally, pro-

          Hamas posters and chants were likewise alleged to have been seen and heard.

   387.   These very same ANTIFA members would appear at other SJP at UVA and FJP at UVA

          disruptive events on UVA’s campus, most notably the UVA Encampment for Gaza later

          in the school year.

   388.   NSJP chapter members and their affiliates, specifically including SJP at UVA and FJP at

          UVA employ the exact same protest and riot techniques used by ANTIFA chapters. One

          such technique is to “huddle” or crowd closely around a human target, sometimes with

          backs turned to the target with the agitators facing outwards, so that the target cannot move

          in any direction without coming into contact with the agitator. Another technique used is

          the use of umbrellas, flags, and banners in an aggressive manner to block the vision of the

          target and to prevent anyone from seeing or helping the target or filming the assault. Often,

          insults and chants are shouted at the target while the person is surrounded.

   389.   These maneuvers, styles, and tactics have been used and widely seen in thousands of videos

          regarding SJP chapters at other schools such as UCLA and Harvard.

   390.   Both of these ANTIFA-inspired techniques were used on Matan on the Rotunda steps. As

          Matan stood on the Rotunda steps holding an Israeli flag, the SJP at UVA and FJP at UVA

          protesters converged closer to the steps, all facing him, shouting horrible slurs and insults

          and threatening him with physical violence and death.

   391.   Matan refused to run away.




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   392.   Suddenly, four or more protesters converged on Matan in the manner described above.

          Two sets of two protesters, holding “Gaza” or “Palestinian” flags at face or head height,

          advanced upon Matan to engulf and surround him, one set of two protesters descending

          from above him, the other two ascending from below. Once they came into physical contact

          with Matan, they shoved him and tried to forcibly drag his flag from his hands and knock

          Matan down or off the steps.

   393.   The UVA professor who escorted Matan was standing nearby, and, as he has stated to

          University Police, witnessed Matan being shoved, the attempts to rip the flag from his

          hands, and the attempts to surround Matan, block his vision and block Matan from sight,

          and possibly knock him down and off the Rotunda steps. The UVA professor stepped into

          the melee, and as a SJP at UVA protester shoved and started to swing at him, he announced

          that he was a UVA professor and “that they did not want to shove him.” The protesters

          backed off and Matan descended the Rotunda stairs. On the brick walkway in front of the

          Rotunda between the steps and the phalanx of SJP at UVA and FJP at UVA protesters

          howling and chanting for death to Israel and the extermination of Jews, Matan was

          physically assaulted once again, this time being slapped or shoved in the upper chest and

          shoulder area by a female protester.

   394.   At the October 25, 2023, event, Matan was berated, insulted, threatened with violence, and

          physically assaulted. Matan was placed in imminent danger of grievous bodily injury and

          was frightened, humiliated, and threatened.

   395.   Matan was scared to death.

   396.   Matan was also harassed, abused, and bullied by members of SJP at UVA and FJP at UVA

          because of his Jewish faith, because of his national origin, because of his shared ancestry,




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          because he is a Zionist, and because he was expressing his First Amendment rights of Free

          Speech and Religion.

   397.   The frequency and volume of written pleas for help to the University Administration and

          directly to President Ryan by Matan and his parents and other concerned Jewish students

          and their parents began to increase.

   398.   The University of Virginia should have taken steps to safeguard and shield its Jewish

          students from harm, to do everything in its power to make them feel safe, valued, and

          cherished, but mainly safe.

   399.   The University did nothing of the sort.

   400.   Instead, the University, and specifically President Ryan, insisted that antisemitism was not

          occurring on Grounds, that none of the affected Jewish students had complained or been

          harmed, and that Islamaphobia was just as big a problem on campus and required as much

          or more attention than antisemitism, anti-Israel bias, and anti-Zionism.

   401.   Unlike his meetings with aggrieved community members after the “noose incident” or his

          frequent parlays with members of SJP at UVA, FJP at UVA, and other antisemitic, pro-

          Hamas groups, President Ryan subjected Matan, his parents, and other Jewish students and

          their parents to months of “negotiations” over his “terms” before he would even agree to

          meet with them.

   402.   Four months would elapse before President Ryan met with Matan, his mother, and three

          other Jewish students and their parent.

   403.   Emboldened by the University’s silence and refusal to take action or even condemn their

          antisemitic bullying, Defendants SJP at UVA and FJP at UVA amplified the tempo of their

          outbursts and coordinated incidents of antisemitism and hate-based harassment and abuse.




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          On October 27, 2023, FJP at UVA published a pro-Hamas, antisemitic “Open Letter,” co-

          signed by at least eighty professors, including the FJP at UVA agents and members

          identified above.

   404.   The “Open Letter” was quickly followed by regular antisemitic, disruptive “rallies” and

          anti-Israel, anti-Zionist events throughout the University, always on University premises,

          always staffed and attended by UVA students and faculty, using UVA resources, and

          always occurring throughout the UVA educational environment.

   405.   Around the time of the SJP at UVA “Walkout” and the FJP at UVA “Open Letter,” the two

          groups and their affiliated, alter-ego groups announced the initiation of the UVA “BDS”

          campaign, in which the groups planned to stage an official UVA-sanctioned and sponsored

          “election” regarding the antisemitic Boycott, Divestment, and Sanctions movement.

   406.   Despite alarms being raised by multiple sources about the antisemitic and dangerous nature

          of the “BDS” movement and the planned “referendum,” the University Administration and

          President Ryan remained silent, refused to take any action whatsoever or even investigate

          whether the BDS movement was, as alleged, antisemitic, and refused to prevent the

          “referendum” from going forward. Even Board of Visitors members were alerted and made

          public note of their concern and consternation that an antisemitic movement that had been

          banned at some of the most liberal universities in the country was being allowed to take

          root at UVA.

   407.   On November 6, 2023, the Attorney General of the Commonwealth of Virginia, Jason S.

          Miyares, corresponded with President Ryan and other public university presidents in

          Virginia regarding the clear and present danger of antisemitism and antisemitic harassment

          and abuse on Virginia’s college campuses. The letter is attached as Exhibit B.




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   408.   The letter is startling in its courage, its frankness, and its unequivocal condemnation of the

          illegal misconduct that was being reported on college campuses, including, specifically,

          the University of Virginia:

                 The barbaric terrorist attack against Israel on October 7th was without
                 excuse or justification. Since then, we’ve seen tensions rise on our campuses
                 in Virginia amid a spasm of anti-semitic protests, chants, and rage.
                 Countless Virginia students of Jewish background feel threatened and
                 unsupported in today’s climate on our college campuses.

                 This is unacceptable.

                 Concerned students and parents are urging us to act with decisiveness and
                 moral clarity. Our Virginia universities should do more to address
                 antisemitism.

                 First, groups like “Students for Justice in Palestine” have repeatedly held
                 demonstrations in Virginia where protestors chant “from the river to the sea,
                 Palestine will be free.” This statement is a call for the complete destruction
                 of Israel and a denial of its right to exist. Conveniently, these protestors
                 never explain what would happen to the eight million Jews who live
                 between the river and the sea, leading to the inescapable conclusion that the
                 protestors are calling for a second Holocaust against innocent men, women,
                 and children.

                 These slogans and chants mostly have been met with silence from university
                 leaders, a silence both agitators and the most vulnerable have noticed. The
                 Anti-Defamation League reports a 388% increase in antisemitic incidents
                 compared to the same period last year. Across the country, Jewish students
                 have been threatened in person and online.

                 The First Amendment does not protect speech that is directed to inciting or
                 producing imminent lawless action, and which is likely to incite or produce
                 such action. See Brandenburg v. Ohio, 395 U.S. 444, 47 (1969). I strongly
                 recommend that you review your policies to ensure that you are taking those
                 steps necessary to protect your students and others in your campus
                 community from unlawful incitement beyond the bounds of the First
                 Amendment.

                                                         ***

                 We need leaders with moral clarity, not leaders who shirk the responsibility
                 of calling out bigotry and antisemitism. I urge you to help demonstrate that,




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                  in Virginia, we oppose antisemitism and anti-religious bigotry in all its
                  forms.

                                                             ***

                  Now is not the time for moral equivalency or half measures. Now is the time
                  for moral courage and leadership.

   409.   The University of Virginia and President Ryan ignored Attorney General Miyares’

          admonitions and directives.

   410.   Unsurprisingly, after UVA and President Ryan’s silence and inaction, just five days later,

          on November 11, 2023, SJP at UVA and FJP at UVA conducted the “Apartheid Wall

          Demonstration & March,” once again carrying and displaying antisemitic banners calling

          for the murder and extinction of Jews. In this latest iteration of hate, SJP at UVA and FJP

          at UVA constructed a physical barricade called the “Apartheid Wall” that they invited their

          protesters to paint and display in the areas of the “Main Grounds” that include the Lawn,

          the Rotunda, and the entrance plazas to the University’s main libraries:




      Banners and social media posts widely disseminated throughout the University’s educational environment.



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   411.   Matan was present with approximately fifteen to twenty other Jewish students. The pro-

          Hamas SJP at UVA and FJP at UVA protesters numbered in the hundreds, with some

          estimates suggesting as many as three hundred anti-Israel, anti-Zionist, antisemitic

          protesters present.

   412.   Approximately five University Police officers and UVA Associate Vice President for

          Student Affairs Marsh Pattie were present and positioned themselves in a manner to

          prevent the Jewish students from leaving a small area away from the pro-Hamas agitators,

          who were themselves allowed to roam and traverse the student public spaces as they

          pleased. At some point during the demonstration, several SJP at UVA protesters

          approached Matan, specifically, yelling and cursing antisemitic slurs at him, which were

          heard by the Jewish students and Mr. Pattie and the UPD officers. When Matan asked Mr.

          Pattie why they were allowed to approach him, and do so in an aggressive manner, Mr.

          Pattie responded that he believed that one of the SJP at UVA protesters yelling at Matan

          was not a University student. Neither Mr. Pattie nor the University Police took any action

          to protect Matan or force the protester to retreat.

   413.   On November 17, 2023, Matan was having lunch with a professor on “the Corner,” a

          popular strip of student-friendly stores and restaurants and an iconic part of University life

          and culture. As Matan and the professor sat quietly, a protester drove by and shouted “Free

          Palestine, you filthy Jew.” Matan reported the incident to the police but was quickly

          rebuffed because Matan could not identify the harasser. However, this unsettling incident

          conclusively demonstrates the troubling climate for Jewish students at the University of

          Virginia.




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   414.    Later that same day, the staccato of antisemitic events continued:




    Image depicting another flyer calling for another antisemitic, anti-Israel, anti-Zionist disruptive. Note that “UVA
     Dissenters is an alter-ego or alias of SJP at UVA created to advance NSJP and SJP at UVA’s “BDS” agenda.

   415.    For the 2023 Fall Semester, the University of Virginia academic calendar indicates no

           classes on November 22-24, 2023, for Thanksgiving, that classes ended on December 5,

           2023, and a final exam period running from December 5 to 17, 2023.

   416.    That did not stop the pro-Hamas “chapters” of SJP at UVA and FJP at UVA from

           continuing their cacophony of antisemitism and antisemitic disruptive events:




     Image depicting another “Teach-In” hosted by FJP at UVA. Note the location and use of University facilities, the
    use of the official University logos and banners, the official-sounding “Coalition of Concerned Faculty Members,”
               the professional, highly-technical “QR Code,” and the availability of “pizza and beverages.”




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   417.   The November 29, 2023 “Teach-In” was led by FJP at UVA members and agents UVA

          Professor Tessa Farmer and UVA Professor Fahad Bishara. In materials specifically

          supplied to President Ryan from concerned Jewish students and their parents, including

          Matan and his parents, the University and President Ryan were alerted that the “Teach In”

          was entirely antisemitic in nature.

   418.   UVA Professor Bishara and UVA Professor Farmer used phrases like “blah blah blah” in

          reference to the October 7 massacre in Israel. When asked why the “Teach-In” was so one-

          sided in favor of Hamas and pro-Hamas interests, UVA Professor Bishara responded, “I

          never said that any of us had to be academic.” This further confirms that the sole purpose

          was the advancement of NSJP and Hamas’s antisemitic campaign through its chapters.

   419.   On December 13, 2023, just as exams were concluding and most students were away from

          Grounds for the holidays, President Ryan announced the creation of the “Task Force on

          Religious Diversity and Belonging” through another article in the UVAToday online

          magazine. The Task Force was never meant to and does not address antisemitism at UVA

          or combat the antisemitic harassment and threats to the educational environment being

          experienced by Jewish students and faculty at UVA. In its mandate or charter, the “Task

          Force” does not even acknowledge or admit that antisemitism and antisemitic abuse exist

          at UVA or are a current problem.

   420.   In an arrogant display of callous indifference, President Ryan appointed two pro-Hamas

          members and agents of FJP at UVA to the committee, both of whom signed the FJP at

          UVA “Open Letter” and both of whom had engaged very publicly in patently antisemitic

          conduct and pronouncements in the weeks leading up to the announcement.




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   421.   Jewish students and parents, specifically including Matan and his parents, were outraged

          and explained to President Ryan that his selections for staffing of the so-called “Task

          Force” confirmed that addressing and combatting antisemitism were not part of its agenda.

   422.   Between students’ departure for the holidays and February 14, 2024, when President Ryan

          finally granted a meeting to four Jewish students, including Matan, the presence of

          antisemitic posters, signs, and graffiti did not diminish from the prior semester, nor did the

          cadence of antisemitic, disruptive events in the educational environment decrease.

   423.   Matan was and continued to be personally exposed to and forced to endure near-constant

          antisemitic harassment and abuse and an educational environment that was corroded by

          severe, objectively offensive, antisemitic hostility.

   424.   For instance:




    Image depicting an official pro-Hamas, antisemitic event hosted by a large coalition of cross-University groups,
      including Defendants SJP at UVA and FJP at UVA and others. Note that the event is taking place on UVA’s
                              Grounds, in UVA facilities, and that dinner will be provided.

   425.   Sometime in late January or early February 2024, Defendants SJP at UVA and FJP at UVA

          and their alter-ego and alias groups learned that the University of Virginia administration



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           was not going to prevent them from proceeding with the antisemitic “BDS Referendum” if

           they secured a certain number of signatures, which was all but guaranteed given the number

           of students and faculty who were already actively supporting and engaging in their pro-

           Hamas antisemitic misconduct on a regular, if not daily, basis.

   426.    Accordingly, on February 6, 2023, SJP at UVA and FJP at UVA announced the formation

           of yet another alter-ego, alias antisemitic, anti-Israel, and anti-Zionist “student group”

           called UVA Apartheid Divest, with the Instagram handle @UVAAD. The group secured

           950 signatures for its “BDS Referendum” campaign in less than 48 hours:




   Image depicting a workshop, for UVA students and faculty in furtherance of the antisemitic, anti-Israel, anti-Zionist
                  BDS campaign, hosted in UVA facilities by “UVA Apartheid Divestment Coalition,”
                               which includes Defendants SJP at UVA and FJP at UVA.

   427.    Importantly, by the time the four Jewish students were allowed to meet briefly with

           President Ryan on February 14, 2024, evidence possessed by the Plaintiff confirms that at

           least one Jewish UVA Professor, and perhaps others, had filed several complaints,

           including grievances with EOCR, UVA Human Resources, and the EEOC about exposure

           to and threats of “physical danger” in UVA’s educational environment because he is

           Jewish.




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   428.   Before the meeting with President Ryan, the Plaintiff himself initiated no less than three

          official complaints with the University Judiciary Committee about antisemitic misconduct

          under the UVA student code of conduct, all of which were summarily dismissed as “time

          barred.”

   429.   Before meeting with President Ryan, in addition to his other complaints and formal

          grievances, on January 25, 2024, Matan was summoned or invited to meet with University

          of Virginia Associate Vice President for Student Affairs Marsh Pattie and Associate Dean

          of Students Alex Hall at the Rotunda where he was asked to explain, again, in great detail,

          his complaints of antisemitic harassment, abuse, and physical assault at UVA. Vice

          President Pattie and Dean Hall’s only actions or responses were to inform Matan that he

          was free to “move out” of the First Year dorms if he felt unsafe or uncomfortable on

          Grounds.

   430.   Before the meeting with President Ryan, at the direction of the University Judiciary

          Committee, the Plaintiff himself initiated a complaint with UVA EOCR. On January 31,

          2024, the Plaintiff met with UVA EOCR Senior Compliance Director for Equal

          Opportunity and Civil Rights Nic Thompson, during which the Plaintiff described all of

          the incidents of antisemitic harassment and abuse that he had endured, in great detail. On

          February 9, 2024, Ms. Thompson advised the Plaintiff that “video footage [of the October

          25, 2023 disruptive event] was no longer available.” Ultimately, the EOCR declined to take

          any actions regarding antisemitism and antisemitic discrimination, harassment, and

          retaliation occurring regularly at UVA.

   431.   Before the meeting with President Ryan, at least one formal, federal civil rights

          investigation by the United States Department of Education’s Office for Civil Rights had




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          been opened regarding antisemitism at UVA. President Ryan’s lawyers filed the

          University’s Position Statement in which they repeated the false “no complaints” claim.

   432.   On February 14, 2024, after four months of pleas and requests and subsequent negotiations

          over conditions demanded by President Ryan and his “inner circle,” President Ryan finally

          met with four Jewish students.

   433.   When Jewish students and their parents asked President Ryan for help and petitioned him

          for a meeting, he forced them to wait nearly four months before he would meet with them.

          When President Ryan did agree to meet with his Jewish students, he demanded that the

          meeting be limited to only four Jewish parents, insisting that they attend in person with

          their “biological child” student also in attendance with them. President Ryan insisted that

          the meeting take place in his office, in person. Despite being a matter of serious, public

          importance at a public school, President Ryan insisted that the meeting be “confidential.”

   434.   The obstructions and delays thrown up by the Ryan Administration bespeak the philosophy

          of denial regarding antisemitism. The demand that the students “out themselves” and

          present themselves before the most powerful administrator in the University ecosystem, a

          man who can make or break their academic and future careers with a blink of an eye or

          stroke of the pen bespeaks the culture of power and retaliation that is the hallmark of this

          school, this administration, and this president.

   435.   President Ryan never made members of the African-American community at UVA or

          Charlottesville comply with any terms before he willingly met with them to discuss the

          “Noose Incident” and their feelings of safety afterwards.

   436.   During the meeting, the Jewish parents and students delivered a detailed and extensive

          multi-media presentation to President Ryan in their attempt to bring their plight and the




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          state of antisemitism at UVA to President Ryan’s attention. The Jewish students informed

          President Ryan that they felt afraid on campus. They felt intimidated on campus. They felt

          forced to hide indicia of their faith, lest they be targeted by pro-Hamas students and faculty.

          They feared retaliation by the University.

   437.   The Jewish community also feared retaliation from President Ryan, and they continue to

          fear retaliation from President Ryan. They were right to fear retaliation by the University

          and its senior administrators.

   438.   The University of Virginia ignored and rejected the Plaintiff’s pleas for help. Instead, after

          the meeting with President Ryan, and while University, state, and federal investigations

          into antisemitic civil rights violations were ongoing, the Plaintiff suffered retaliation at the

          hands of the Defendants.

   439.   Because Jewish students and their parents repeatedly advised President Ryan that they were

          traumatized by bias-related incidents that included threats of violence, they reasonably

          believed that they would have allies and protectors within the University Administration.

          Far from responding to their concerns, President Ryan “gaslit” the Jewish students with a

          series of lies, evasions, and acts of retaliation, further confirming Defendant UVA’s

          deliberate indifference toward antisemitic abuse, harassment, and intimidation that had

          sadly become a fact of everyday life for Jewish students and their parents at UVA.




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     This email, more than four months after the terrorist attacks and following months of negotiations regarding the
   terms under which President Ryan would agree to meet with victims who were his own students, speaks for itself and
    is the best evidence of the Administration’s total lack of seriousness and its deliberate indifference to the profound
                              and severe suffering being experienced by UVA’s Jewish students.

   440.     Two serious and pressing issues regarding antisemitism that were raised by the Jewish

            students and their parents in their presentation to President Ryan were the illegality and

            antisemitic nature of the masks and face coverings worn by anti-Israel, anti-Zionist, pro-

            Hamas protesters on UVA’s campus in clear violation of Virginia law and the patently

            antisemitic intent and nature of the BDS movement.

   441.     President Ryan was acutely aware that every major national and international Jewish

            organization, such as the Anti-Defamation League, had designated the BDS movement as

            a clear act of antisemitism and a front for antisemitic, anti-Israel, anti-Zionist hate.

            President Ryan was also acutely aware that other prominent schools and universities that

            UVA considers “peer” institutions had refused to allow BDS referendums to take place.

   442.     Nevertheless, President Ryan pledged to meet with BDS movement student and faculty

            groups and learn of their demands and how the University could best address their

            concerns. In fact, President Ryan and his inner circle of administrators, including Vice

            President for Student Affairs Kenyon Bonner, established lines of communication and



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          committed to prompt responsiveness with the BDS movement leader, which was none

          other than the President of Defendant SJP at UVA.

   443.   The evidence regarding President Ryan’s handling and responses to the hate-based,

          antisemitic BDS movement is conclusive and compelling evidence of President Ryan and

          the University of Virginia’s commitment to a policy of appeasement regarding antisemites

          and antisemitism, and a policy of denial, gaslighting, and retaliation regarding Jewish

          students. President Ryan and his staff members did not force the BDS antisemites to

          “negotiate” the terms for meeting with him, nor did they force the agitators to wait months

          on end to meet with him. Instead, President Ryan made it abundantly clear that he would

          drop everything and meet with them on nearly a moment’s notice if the BDS miscreants so

          desired.

   444.   While the pro-Hamas, BDS movement sponsors were gathering signatures and conducting

          their antisemitic campaign on UVA’s Lawn and elsewhere, they did so while wearing

          masks and face coverings in violation of Virginia law. Again, the wearing of antisemitic

          masks is intimidating and frightening to Jewish students and these acts did in fact

          intimidate and frighten Matan and create a barrier to his free, peaceful, and unfettered

          access to and enjoyment of the public accommodation educational environment.

   445.   As evidence of the University’s total unwillingness to take any actions to prevent or combat

          the hostile educational environment that existed at UVA, when Matan called the University

          Police to report the violations, he was told by University Police that the University

          administration had “endorsed” the wearing of masks by antisemitic protesters and

          disrupters, and, therefore, the University Police would not be taking any actions or

          responding to his report.




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   446.   The overtly antisemitic, anti-Israel, anti-Zionist BDS referendum proceeded to take place

          on February 26, 2023, with the full technical, structural, and organizational support of the

          University and its various divisions and agencies that handle and govern “referendums”

          and elections at the University.

   447.   FJP at UVA faculty members and agents allowed pro-Hamas, BDS movement supporters

          to lecture their classes regarding the merits of antisemitism and voting in favor of the

          “Boycotting, Divestment, and Sanction of Israel.” FJP at UVA faculty members and agents

          canceled classes so students could support and vote for the BDS Referendum.

   448.   The BDS referendum passed, in further proof of the thorough saturation of antisemitism in

          the University’s educational environment.

   449.   President Ryan never condemned or even expressed consternation over the overtly

          antisemitic BDS “referendum” taking place on his campus. Instead, President Ryan stated

          that if “he were a student, he would have voted against it.” A profile in courage this most

          definitely was not, and, most certainly, President Ryan’s embarrassing display of

          institutional and personal cowardice fell far short of Attorney General Miyares’

          impassioned call for “moral courage and leadership” from Virginia’s university presidents.

   450.   Four days after the BDS referendum, on March 1-3, 2024, the University of Virginia’s

          Board of Visitors met at their regularly appointed time. What took place at the meeting was

          an unprecedented display of hostility to the Jewish community and marked one of the

          lowest points in University history.

   451.   During the open session of the Board, President Ryan and several of his senior lieutenants,

          including Provost Ian Baucom, attempted to gloss over the “antisemitism problem” at UVA

          and assure the Board that, once again, “there was nothing to see here.” President Ryan and




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          Provost Baucom happily proclaimed that Jewish students and their parents were perfectly

          satisfied with UVA and its handling of the pro-Hamas, antisemitism crisis plaguing other

          universities.

   452.   Board of Visitors member E. Bertram Ellis with the support of other Board members, asked

          to be heard and to bring the matter of antisemitism at UVA to the full Board’s attention

          during the public, open session. Mr. Ellis stated that contrary to President Ryan and Provost

          Baucom’s declarations, he and other Board members, and the University’s administration,

          had received “hundreds” of complaints from parents regarding antisemitism and

          antisemitic harassment and abuse at the University of Virginia.

   453.   Rector Robert Hardie immediately interjected and stated that Mr. Ellis was “out of line”

          and that the issues he intended to raise would be addressed only in a non-public, closed

          session. That proclamation appears to be contrary to well-settled public records and open

          meetings laws in Virginia.

   454.   Mr. Ellis persisted in calling for a discussion, debate, and investigation into the claims of

          antisemitism and antisemitic harassment and abuse in the daylight, during public, open

          session.

   455.   Rector Hardie became aggressive and belligerent, and stated that the matter would be

          addressed, but only in “closed session,” and, for the first time, claimed that the subject of

          antisemitism and antisemitic harassment and abuse of students was a “student safety issue”

          that precluded discussion during open session, when the very subject had been discussed

          openly in public session just moments before, when the comments were benign, glowing,

          and patently untrue. President Ryan and his University Counsel did not interject or

          contradict Rector Hardie, who repeatedly stated with ever increasing volume and intensity




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          that the matter absolutely would not be addressed in open, public session, because it was

          an issue of “student safety.”

   456.   When Mr. Ellis made another appeal to bring the matter out in the open, Rector Hardie

          blurted out, with heat and venom, his face reddening, “you will be reprimanded!” and “you

          are out of line!” Rector Hardie then formally moved that the Board immediately proceed

          into closed, non-public session, reading language prepared by the University Counsel. The

          Board went into closed session, and the public will never know how or even whether

          antisemitism at UVA was addressed by the very public officials appointed by the Governor

          of Virginia to protect students and the school. Rector Hardie’s outburst was telling and

          served as strong evidence of the denial and gaslighting that has haunted the University for

          nearly a year.

   457.   Importantly, despite Rector Hardie proclaiming (very loudly) that the issue of antisemitism

          at UVA is a “student safety” matter during the tumultuous Board meeting, the University

          of Virginia has never taken a single action meant to protect the safety of Jewish students

          or prevent antisemitic hate-based violence, harassment, or abuse from permeating the

          University’s educational environment.

   458.   On the very same day that Rector Hardie was threatening to retaliate against and reprimand

          Mr. Ellis for discharging his duty as a public official to the Commonwealth of Virginia,

          Matan met with the UVA Counseling and Psychological Services student health clinic for

          the specific reason of addressing the trauma he was experiencing as a result of antisemitism

          at UVA and specifically the assault he had endured. The UVA “CAPS” professional

          responded that “students tend to get emotional” about Palestine and Gaza and that Matan

          should “try” to “empathize” with those who oppose Israel.




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   459.   As stated above, one of the instruments that NSJP and its chapters utilize to attack Jews on

          college campuses, akin to their disruptive events, antisemitic harassment, and the hateful

          BDS movement, is a form of “lawfare,” or the pursuit of bogus and fraudulent proceedings

          against Jewish students or their supporters in an effort to silence, intimidate, and harass

          them.

   460.   On or around March 21, 2024, Defendant SJP at UVA, by and through its President, “J.R.,”

          a UVA student, initiated a knowingly false and malicious Honor Charge against Matan.

          Defendant SJP at UVA did not even bother to disguise its motives: it admitted, in the false

          “charge,” that it was doing so because Matan spoke out in the national media about

          antisemitism at UVA and the harassment, abuse, and bullying that he had personally

          suffered.

   461.   The absurdity and fraudulence—and the thorough illegality—of the Honor Charge brought

          by SJP at UVA and quickly accepted for prosecution by the University against Matan were

          abundantly clear and obvious on the very face of the “Honor Report” or Charge.

   462.   Defendant UVA has admitted that before Matan was forced to engage counsel, President

          Ryan, the Office of the University President, and the Office of University Counsel were

          specifically aware of and participating in Matan’s Honor Case and the charges against him.

          This awareness included specific knowledge that Matan Goldstein, who had just met with

          President Ryan regarding antisemitism at UVA, was being charged and prosecuted for an

          “Honor Offense” by the President of Students for Justice in Palestine, for the “crime” of

          describing his experiences with antisemitism at UVA to a CBS reporter, which Defendnt

          SJP at UVA claimed “delegitimized” the pro-Hamas movement. President Ryan, his

          Office, and the Office of University Counsel were not only fully aware of the bogus and




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          retaliatory “lawfare” nature of the Honor Charge against Matan, they provided advice,

          support, and counsel to the Honor Committee in its wrongful prosecution of Matan.

   463.   Defendant UVA’s Office of University Counsel assisted and counseled the Honor

          Committee in its decisions, which were being closely monitored and overseen by the Office

          of the University President, to accept and move forward with the fraudulent and retaliatory

          proceeding, even in the face of the Matan’s personal pleas that the Honor Charge was false

          and brought in bad faith.

   464.   During the pendency of the fraudulent Honor Charge, when Matan’s entire life and his

          status as a UVA student hung in the balance, the University of Virginia knowingly and

          purposefully published a false and defamatory claim in the press, with full awareness that

          the University Community, the student body, and the Honor Committee would read it and

          be aware of the University’s (false) assertions of fact:

                 ongoing inquiries into those allegations have yet to return evidence to
                 substantiate the claims or to warrant disciplinary measures, despite
                 substantial investigative efforts. This includes specific allegations of
                 violence against one student at a protest, after which University Police
                 investigated thoroughly, using video evidence, witness statements, and
                 other methods. (Emphasis added.)

   465.   It is vitally important to understand that the University Police and the EOCR, among other

          agencies in the University administration, have confirmed and admitted on multiple

          occasions that they do not and have never possessed “video evidence, witness statements,”

          or any other form of evidence regarding the assault on Matan. In fact, at the time of the

          press release, five and a half months after the assault on the Rotunda steps, the University

          Police still had not spoken to or interviewed the UVA professor who witnessed Matan

          being assaulted.




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   466.   The University’s public relations and crisis response team, directed by President Ryan,

          knew that this statement to the press was false and knew that the false press release could

          create the impression that the phony Honor Charge was viable and credible. The University

          issued the false press release for the purpose of bolstering and justifying the University’s

          refusal and failure to address or prevent antisemitism on Grounds.

   467.   The Plaintiff was forced to engage private counsel at his own expense. The Plaintiff was

          forced to secure the sworn declaration, under penalty of perjury, from the UVA professor

          who witnessed all of the events and incidents.

   468.   After enduring nearly a month of extreme stress, anguish, and excruciating pain as an

          accused in the most grave of UVA disciplinary proceedings, Matan filed a motion to

          dismiss the Honor Charge, carefully outlining the deficiencies and illegality of the

          proceedings. The very next day, the Honor Committee met and mysteriously decided

          suddenly that the Honor Charge lacked any evidence to support it—a fact that was plainly

          obvious and well-known at the time of filing of the Charge, but somehow was purposefully

          overlooked when the University administration’s Honor Committee, with the assistance of

          the Office of University Counsel, elected to proceed forward with the illegal prosecution.

   469.   Though the fraudulent Honor Charge was dismissed and the Plaintiff exonerated, the illegal

          and improper aims and objectives of SJP at UVA and NSJP were achieved. Jewish

          students, including Matan, are afraid to speak out or stand up to antisemitism lest they too

          find themselves falsely charged with the worst crime imaginable in UVA culture.

   470.   Even in the aftermath, the University of Virginia, President Ryan, and the Honor

          Committee have not offered any comfort, support, or words of encouragement to Matan,

          nor have their subordinates or agents.




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   471.   So, as of today, the only action that the University of Virginia has actually undertaken

          regarding antisemitic hate, discrimination, harassment, and abuse on its campus was the

          Honor Charge that it chose to prosecute against the lone Jewish victim of antisemitism

          who openly spoke out about his experiences and suffering.

   472.   On the day that the Honor Committee dismissed the bogus and fraudulent charges against

          the Plaintiff, Virginia Attorney General Jason Miyares personally communicated with

          Matan, offering support and encouragement and providing him with a means to

          communicate with his office and him if he ever needed anything or if the antisemitism and

          hate continued.

   473.   President Ryan and his administration have never said or done anything remotely similar

          to those small acts of kindness and compassion for Matan or other victims of antisemitic

          hate on their own campus.

   474.   Throughout the school year and deep into the spring term at the University of Virginia, the

          displays of antisemitism, anti-Israel bias, and anti-Zionist prejudice were constant and

          continuous and ever-increasing in frequency, volume, hostility and rancor. The disruptive

          events occurred frequently. Matan was acutely and personally aware of all of it, and the

          antisemitism had the direct effect of closing off the University educational environment—

          in all of its components and elements—to him.

   475.   NSJP’s well-crafted, precise, and deliberate strategy was playing out on college campuses

          across the country and the SJP chapters were poised and directed to launch their most

          aggressive antisemitic attacks of the campaign, starting in mid-April as schools prepared

          for final exams and the pomp and circumstance of graduation: The pro-Hamas “Gaza

          Encampments” also known as “Jew Exclusion Zones.”




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   476.   Just as Hamas’s terror attacks on October 7 involved thousands of murderous jihadis

          attacking multiple sites in Israel simultaneously, just as the 9/11 hijackers commandeered

          multiple planes simultaneously in different cities with different targets, so too did dozens

          of SJP chapters across the country start preparations for and launching of “liberation zones”

          and the “popular university for Gaza” areas in the most prominent, centerpiece areas and

          facilities of universities across the country.

   477.   Jewish students at UVA, specifically including Matan, watched in horror as NSJP

          encampments sprang up like a grotesque, hateful fungus without any recrimination,

          warning, or preventive measures by the University of Virginia, where SJP at UVA and FJP

          at UVA pledged fealty to NSJP and its satellite “chapters.” Matan and others feared that

          the NSJP chapters at UVA would soon launch their own antisemitic encampments and

          exclusionary zones.

   478.   Jewish students at UVA, specifically including Matan, watched in terror and were

          debilitated with heartbreak as violence broke out at on their friends’ college campuses,

          caused by students and faculty members chanting the same chants that were being chanted

          at UVA, displaying the same hateful banners that were being displayed at UVA, wearing

          the same garb and uniforms of Hamas that were being worn at UVA, all supported and

          directed by the same parent organizations, NSJP and Hamas, and all for the same deadly,

          immoral, inhumane aims: the extermination of the Jewish people and the destruction of

          Israel.

   479.   What Jewish student wouldn’t be terrified and feel that a safe and secure educational

          environment was closed to them? Matan felt that way.




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   480.   Jewish students at UVA, specifically including Matan, watched with desperate heartbreak

          and grim resignation as “Jew Exclusion Zones” were established by miscreants with whom

          SJP at UVA and FJP at UVA proudly proclaimed and pledged their “solidarity,” at UVA’s

          “peer” institutions, all tolerated and enabled by administrators who are close friends and

          colleagues of President Ryan.

   481.   Jewish students at UVA, specifically including Matan, prayed and begged that the

          University of Virginia and its President would do something . . . anything . . . to quell the

          tide of antisemitism that was rising to a tsunami of hate at UVA.

   482.   On April 26, 2024, Attorney General Miyares once again took action regarding the

          illegality of “Jew Exclusion Zones” or “Gaza Encampments” on Virginia’s public

          universities or colleges by publishing the following legal opinion and directive to Virginia

          Secretary of Education Aimee Guidera and all of the Commonwealth’s university

          presidents and administrations:

                 It is the legal position of the Office of the Attorney General that setting up
                 a tent or establishing an encampment on university or college property is
                 disruptive of the school’s activities and may violate other administrative
                 policies. The university or college has the authority to refuse to allow such
                 activity and also has the authority to take down any tents that have been set
                 up. The Attorney General will vigorously defend the university or college
                 from any challenge to this authority. (Emphasis added.)

   483.   After months of despicable Jew hatred at UVA, just as classes were coming to an end and

          the stress of exams was setting in, the tsunami of antisemitism crested on UVA’s

          “Grounds.”

   484.   On April 30, 2023, masked SJP at UVA and FJP at UVA agitators, along with their

          members and supporters who are known ANTIFA agitators with a history of violent




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          behavior, cordoned off sections of the University at the Lawn, on both sides of the Rotunda,

          establishing their own University of Virginia Jew Exclusion Zone and Gaza Encampment.

   485.   Masked University of Virginia student and faculty agitators who are members of SJP at

          UVA and FJP at UVA publicly and openly conducted preparation sessions in the manner

          of soldiers. Expensive gear, equipment, tarps, tents, food, and clothing were transported to

          the encampments and distributed among the agitators.

   486.   Teams of protesters claiming to be “official legal observers” from UVA Law School and

          UVA Law School’s National Lawyers Guild UVA Chapter, adorned in matching neon

          green hats, assembled and participated in advising other protesters how to protest, resist,

          and riot effectively.

   487.   Important data and phone numbers were written with indelible markers on protesters’

          limbs, as if they were preparing for violence or combat, which in hindsight, they were.

   488.   The aura and sense of menace were palpable.

   489.   President Ryan and University Police Chief Timothy Longo would later claim and confirm

          that “known” violent offenders from “around the Commonwealth,” were among the

          protestors and, at some point, Chief Longo himself feared that he would become a victim

          of violence.

   490.   Many Jewish students, at the urging of their parents and leaders in the Jewish community,

          immediately fled, leaving their school and seeking shelter and solace at home.

   491.   By this time, Matan was living in hiding with the family of an anonymous local resident.

   492.   Like the other Jewish students, Matan was personally driven away and would flee home to

          safety, returning discretely to satisfy an academic obligation here and there, but not able to




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          enjoy access to the University or its educational environment safely or in any manner of

          unfettered access to which he is entitled.

   493.   This was not the cherished and beloved “First Year Experience” that UVA promises its

          students. This was something far different, something that evoked images of Germany in

          the 1930s, at least in the hearts and minds of UVA’s vulnerable and beleaguered Jewish

          students and faculty.

   494.   As the UVA Jew Exclusion Zone was coming together, with its gear and structures, the

          antisemitic signs appeared, everywhere, and the chants calling for the death of Jews, the

          extermination of Israel began anew, with ever increasing vigor.

   495.   The encampments occupied substantial portions of the University of Virginia’s central

          Grounds, the “Academical Village,” meaning that Jewish students and faculty members

          were forced to pass by and navigate around antisemitic banners, oaths, and slurs whenever

          they went to the library, class, or even passed by the University’s “campus.”

   496.   As a result of the “Jew Exclusion Zones” and “Gaza Encampments” on the University of

          Virginia’s campus, Matan and other Jewish students found access to the UVA educational

          environment, a public accommodation, impossible—including many of the main academic

          buildings or main University offices or the libraries—without encountering the antisemitic

          hate, abuse, and harassment.

   497.   University of Virginia faculty members who are members of FJP at UVA joined the

          encampment and proclaimed their presence, lending weight to the proposition that the

          entirety of the University of Virginia educational environment was consumed by and acting

          in concert with the antisemitic campaign. Jewish students at UVA, specifically including




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          Matan, were aware that over a thousand UVA faculty members had openly pledged their

          loyalty and support of the pro-Hamas, antisemitic, anti-Israel, and anti-Zionist movement.

   498.   Dozens of University of Virginia faculty groups, such as the American Association of

          University Professors – UVa Chapter, to name but one, joined, sponsored, and expressed

          their support and “solidarity” with SJP at UVA and FJP at UVA.

   499.   Entire University of Virginia academic departments such as the world-renowned Center

          for Politics, the vaunted UVA Department of English, the esteemed UVA Corcoran

          Department of History, the Department of Religious Studies, and the Department of Global

          Studies, again, naming just a few, expressed their “support and solidarity” in writing with

          pro-Hamas UVA faculty and students and the antisemitic discrimination and harassment

          taking place on Grounds against Jewish and Israeli students and faculty.

   500.   University of Virginia faculty members and student teachers who are members of FJP at

          UVA and SJP at UVA canceled classes and exams as expressions of support for pro-Hamas

          students such as SJP at UVA and to deprive students, including Jewish students such as

          Matan, of any notion of an educational environment that was safe and secure and free of

          antisemitic bias, prejudice, and hatred.

   501.   SJP at UVA and FJP at UVA faculty members and student teachers conducted tutoring

          sessions, essay writing assistance, exam preparation support, and student advancement

          sites within the Jew Exclusion Zone or “Gaza Encampment,” offering benefits to pro-

          Hamas students and depriving others of the educational benefits and opportunities on the

          basis of their religion, their ethnicity, and their shared ancestry.

   502.   Matan was made to feel and did in fact perceive and understand that he was unwelcome in

          the public accommodation UVA educational environment. Matan was left with the distinct




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          belief and perception that if he attempted to avail himself of these benefits and

          opportunities, he would be harassed and bullied, physically assaulted, and possibly even

          killed, all because of his faith, his ethnicity, his national origin, and his shared ancestry.

   503.   University of Virginia faculty members and student teachers who are FJP at UVA and SJP

          at UVA members threatened, without repercussion or any consequences, to withhold final

          grades or impair the grading process for their students, with the full understanding that

          doing so will cause tremendous harm to all students and create a hostile educational

          environment for Jewish students. Some of these faculty members even went so far as to

          acknowledge that their practices and threats were likely illegal and wrongful but that the

          advancement of the pro-Hamas cause to pressure the United States to withhold support for

          Israel would be worth it. A more blatant form of illegal, antisemitic discrimination or

          hostile environment is difficult to imagine:




      Social media posts confirming the withholding of grades by pro-Hamas professors and teaching assistants.

   504.   The University of Virginia conducted “alternative” graduation ceremonies for pro-Hamas

          students, faculty, and their families, presided over by FJP at UVA agent and member

          Robert Fatton.




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   505.   The University was fully aware of the antisemitic nature and illegality of the

          “encampments” and still condoned the “Jew Exclusion Zones” on their campus. President

          Ryan and his senior advisors repeatedly characterized and referred to the antisemitic

          discrimination, hate-based harassment and the illegal disruption of the educational

          environment as “peaceful” examples of “civil discourse” and an appropriate exercise of

          free speech and expression rights. At his own initiative, President Ryan assigned high-

          ranking administrators to monitor and be physically present at the Jew Exclusion Zones,

          without objection or protest, so they could “liaise” with the agitators and fully understand,

          “hear,” and meaningfully respond to the agitators’ antisemitic demands.

   506.   The Ryan Administration did not demand that the antisemitic agitators who were breaking

          the law and disrupting University operations comply with multiple terms just to parlay with

          his administration or him, as he had with his Jewish students and their parents.

   507.   Defendant UVA assigned members of its administration, such as Vice President for Student

          Affairs Kenyon Bonner, Dean of Students Cedric Rucker, Associate Vice President for

          Student Affairs Marsh Pattie, and University Police Chief Timothy Longo to maintain a

          close, cordial, and interactive presence with the protesters and encampment dwellers.

   508.   At various times throughout the day on May 1, 2024, and May 2, 2024, these UVA

          administrators were observed engaged in deep dialogue with masked pro-Hamas

          encampment dwellers who were serving as “liaisons” between FJP at UVA and SJP at

          UVA and the University Administration. Some of these “liaisons” appear to resemble

          members of the “Faculty Defense” legal team.

   509.   On Thursday, May 3, 2024, or thereabouts, Defendants FJP at UVA and SJP at UVA posted

          a list of demands to the University of Virginia and its administration.




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   510.   The demands are patently antisemitic. The protesters demanded a response by 12:00PM

          the following day, Friday, May 4, 2024.

   511.   Within twenty-four hours of the demands being affixed to the front door of the Rotunda

          and elsewhere, on May 4, 2024, the University of Virginia fearfully and gingerly responded

          to the demands, in writing, signed by Vice President and Chief Student Affairs Officer

          Kenyon Bonner and Brie Gertler, Vice Provost for Academic Affairs.

   512.   The letter included the following statements, in pertinent part:

          a.     “We welcome the opportunity for further conversation.”

          b.     In response to the “encampment’s” demands for “divestment” from Israel and

                 support for the “BDS movement,” both of which have been deemed to be patently

                 antisemitic and prohibited by even the most liberal of universities nationwide, the

                 University Administration stated that it would “welcome the opportunity to hear

                 more about your questions and concerns. We would be happy to arrange this [a

                 meeting with President Ryan and other senior administrators] for you.”

          c.     The administrators agreed that the protestors, despite violating numerous

                 University anti-discrimination policies, codes of conduct, and state and federal civil

                 rights laws, based on their conduct to date, would not be charged with or face any

                 University disciplinary measures or proceedings and could continue on without fear

                 of “administrative discipline.”

   513.   The University did manage to politely decline to cancel all existing academic programming

          and exchange trips involving Israel or Israelis or Zionists, as demanded by the pro-Hamas

          disruptors.




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   514.   However, like Commonwealth’s Attorney Hingeley predicted, the University’s policy of

          appeasement and rapid capitulation served only as evidence of the University’s

          endorsement and ratification of the antisemitic, disruptive, and illegal misconduct. The

          University’s tender treatment and coddling of students and faculty who were openly calling

          for the murder of Jews and the extermination of the Jewish people simply reinforced and

          rewarded the hate-based, illegal behavior.

   515.   Any parent, teacher, military officer, coach, business executive, or camp counselor could

          have advised President Ryan of the maxim “you get the conduct you tolerate.” Somehow,

          though, President Ryan failed to discharge his most fundamental, sacred duty—the

          safeguarding of his students—when it counted most.

   516.   Defendants SJP at UVA and FJP at UVA responded immediately to President Ryan’s

          entreaties: The pro-Hamas antisemites wrote “BULLSHIT” and “FREE PALESTINE”

          across the University’s responsive letter of capitulation and tacked it to the Rotunda and

          then posted pictures of their handiwork online for the world—but most importantly, UVA’s

          Jewish students and faculty—to see.

   517.   The effect of these behaviors has been to make Matan feel that his life was in danger and

          that he was unwelcome at the University of Virginia. Matan was made to feel unsafe,

          ashamed of his immutable, protected characteristics, uneasy moving freely within the

          University Community, and hesitant to attend classes and exams. Matan felt uncertain and

          insecure about his experience and whether he was being treated fairly by professors and

          peers.




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   518.   Most disturbing of all, the effect of these behaviors has been to place Matan and other

          Jewish and Israeli students and faculty at UVA in imminent and constant fear of physical

          attack, violence, and even death.

   519.   On Saturday, May 4, 2024, University, local, and state police were summoned to remove

          and dismantle the encampments and their occupants. Arrests were made. However, the

          University never accused or charged the antisemitic protesters with charges or criminal

          accusations related to hate, hate-based violence, or illegal harassment and abuse. Instead,

          the University argued that the sole basis for dismantling the encampments was the violation

          of the University’s “tent policy.” Of course, this all occurred after the University assured

          the antisemitic agitators that their antisemitism and their antisemitic harassment and abuse

          was perfectly within the bounds of “peaceful” behavior and applicable codes of conduct,

          and they would not be sanctioned, disciplined, or punished for any hate-based misconduct.

   520.   On May 6, 2024, the University of Virginia Student Council, led by the same student leader

          who, earlier in the year, published and widely disseminated the antisemitic, threatening

          “Bloody Hands” image on social media, issued a “Public Statement from UVA Student

          Council on UVA Liberation Encampment for Gaza.” The UVA Student Council is an

          “Agency Level” and “Special Status” organization, meaning that it is formally part of the

          University Administration, even if students staff and operate it. In the “Statement,” the

          UVA Student Council pledged to “actively seek” pro-Hamas students to whom it would

          provide funds for “water, food, masks, goggles, tear-gas first aid, and more.” Equally

          telling, the UVA Student Council offered “low-cost, confidential legal assistance to UVA

          students, both in and outside of the courtroom. Free consultations can be arranged either




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          in-person, virtually, or by phone, and our attorneys are dedicated to providing guidance

          and representation as needed.” (Emphasis added.)

   521.   That Defendants UVA and Ryan stubbornly cling to the notion that their administration

          and institution are not fully engaged in supporting, promoting and extending a legal defense

          at taxpayers’ expense to Defendants SJP at UVA and FJP at UVA is beyond credulity.

   522.   At no time have the University, President Ryan, or any members of the administration

          condemned or expressed any disagreement with the protesters’ misconduct or antisemitic

          harassment of Jewish students and faculty members.

   523.   Matan wanted to study and just be a UVA student in the last weeks of what was supposed

          to be a glorious “First Year” of college at the prestigious and esteemed University. Instead,

          Matan spent his last days on Grounds either in hiding or traveling back and forth to his

          parents’ home in Maryland, to safety. Matan wanted to lounge on the Lawn during the

          sunny days of late Spring and early Summer and study freely and openly without fear of

          harassment, persecution, or violence. But he could not. Matan wanted to attend graduation

          to see peers and friends “wear the honor of honors,” but by then, the University educational

          environment was so hostile and dangerous to Matan, his parents convinced him not to

          return to Grounds after his last exam. This caused great shame and hurt to Matan and this

          outcome was exactly what SJP at UVA and FJP at UVA were seeking to accomplish

          regarding Matan and other Jewish students at UVA.

   524.   Some of these antisemitic professors have even used their massive platforms, which have

          been built and created as a result of their association with and work for the University of

          Virginia, to degrade, humiliate, harass, and castigate Matan, specifically.




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   525.   In social media posts that have been drafted, posted, and “reposted” by prominent UVA

          professors and then viewed by many thousands or tens of thousands of followers and

          audiences, including other UVA professors and students, Matan and his efforts to fight

          antisemitic harassment have been called “batshit insane,” “frivolous,” a “fake victim,”

          “Jewish Jussie,” “absurd,” and a “shit,” to name but a few.

   526.   These are University of Virginia faculty members taking to their massive UVA-supported

          platforms to amplify messages of hate and to degrade one of their students, an eighteen-

          year-old Jew, and doing so while acting in the course and scope of their roles as professors,

          agents, and public employees of the University of Virginia. Such behavior is entirely

          inappropriate, indefensible, and reprehensible for many reasons, and yet, the University of

          Virginia refuses to do anything about it.

   527.   Matan has been personally subjected to severe, unwelcome, objectively hostile antisemitic

          abuse and harassment that has pervaded every facet of his UVA educational environment

          and has totally and completely deprived him of access to the public accommodation that is

          the UVA educational environment and has deprived him of the privileges, rights, and

          opportunities to which he is entitled as a student at the public university. There can be no

          doubt that the conduct that is alleged above is antisemitic and constitutes antisemitism, and

          that the antisemitic conduct is severe and objectively offensive.

   528.   Matan has been targeted and tormented by SJP at UVA and FJP at UVA because he is

          Jewish, because he is Israeli-American, because he is a Zionist, and because he has proudly

          spoken the truth about his faith and his experiences with antisemitism and antisemitic hate

          at UVA. The illegal torment and bullying has included, but is not limited to: physical

          assault, verbal insults, constant exposure to vulgar, antisemitic banners and slogans calling




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          for his death and the death of his people, being subjected to a bogus and fraudulent Honor

          Charge brought in bad faith by an agent of SJP at UVA and wrongfully pursued and

          prosecuted by the University of Virginia administration, being ostracized by students and

          faculty, being ridiculed and humiliated by famous, “celebrity” faculty members, being

          forced into hiding and out of his dormitory, being deprived of any and all support or

          protections from the University, including its Student Affairs Division and its Student

          Health Services, being forced to leave Grounds for his safety and well-being on numerous

          occasions, and, finally, being forced to flee Grounds early, before graduation, out of fear

          for his safety and well-being.

   529.   Every facet, element, and component of the University of Virginia’s “educational

          environment,” as set forth above and below, has been pervaded and infected by

          antisemitism and antisemitic hate, abuse, discrimination, and harassment. This includes, as

          set forth above in exacting detail, pervasion of the physical educational environment;

          pervasion of the online and virtual environment; pervasion of the human or “people”

          environment; pervasion of the Academy; and, finally, pervasion of the “Community of

          Trust” and unique culture and institutions that are and make up the University of Virginia.

   530.   The University of Virginia’s culpability goes far beyond mere imputation of responsibility

          as a result of its deliberate indifference to the open and obvious antisemitism and the

          express, multiple, formal complaints and cries for help from Matan and his fellow Jewish

          students. To be sure, the University of Virginia’s behavior in this matter is a textbook

          example of deliberate indifference, and worse. However, the University of Virginia is

          culpable because it has tolerated and encouraged antisemitism and antisemitic harassment

          and discrimination on Grounds to the point of enabling and promoting this ugly, illegal




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          misconduct. The University of Virginia itself has falsely denied the existence of

          antisemitism and antisemitic harassment and abuse on Grounds. The University of Virginia

          itself has engaged in the practice of “gaslighting” the community, especially Matan and

          other Jewish students, with dishonesty, false narratives, and denials. The University of

          Virginia has so obstinately refused to acknowledge the antisemitism on Grounds and has

          forcefully refused to take any action of any kind, whatsoever, to correct or call a halt to

          antisemitism on Grounds.

   531.   As a result of the whole-of-university or institutional pervasion of antisemitism throughout

          the entire school, the University of Virginia, itself, can be said to be engaged in

          antisemitism.

   532.   The term used by the Ryan Administration to describe this level of saturation and pervasion

          in the context of other “-isms” is “institutional” or “systemic.”

   533.   Importantly, and this cannot be stressed enough, from October 7, 2023, to the present, even

          through the conclusion and eventual dismantling of the “Jew Exclusion Zones” and “Gaza

          Encampments,” the University of Virginia has never enforced a single University policy,

          code of conduct, or state or federal law regarding antisemitism or antisemitic, hate-based

          harassment and abuse of Jewish UVA students and faculty. The University has expressly

          and specifically refused to press charges, initiate investigations, or punish or sanction any

          SJP at UVA or FJP at UVA member for committing violations of the University’s anti-

          discrimination and anti-harassment policies and codes of conduct.

   534.   The University of Virginia cannot claim that it responded to the harassment and abuse of

          Matan because there has been no response.




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   535.    The University of Virginia cannot claim that a response to antisemitism on campus was

           “reasonable” because there has been no response.

   536.    Thus, the Defendants individually and collectively created, fostered, and enabled a hostile

           educational environment for Jewish students and have exhibited nothing but disdain,

           discrimination, deliberate indifference, and retaliatory animus regarding the events and

           their Jewish students.

   537.    Defendants SJP at UVA and FJP at UVA, at the urging of Hamas and their “parent

           organization” NSJP, have turned what once was a beautiful bastion of enlightened

           freethinking and tolerance into a trash-laden, vulgar wasteland of antisemitic and anti-

           Israeli hate.

   538.    Worse still, the University of Virginia and its President, Defendant James E. Ryan, did not

           just allow it to happen, they can fairly be said to have encouraged it to happen.

   539.    Sometimes, hate needs no further explanation or elaboration than a simple image:




   Photograph depicting University of Virginia students and faculty intimidating Jews and Israelis with the antisemitic
                    hate symbols of the “bloody hands” during a pre-planned ambush on the Lawn,
               the sacred and cherished heart of the Academical Village at the center of the University.



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   D.     MATAN GOLDSTEIN

   540.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

          as if alleged anew.

   541.   As alleged and discussed above, Plaintiff Matan Goldstein is an eighteen-year-old, Jewish,

          Israeli-American, Zionist, actively and currently enrolled, full-time student at the

          University of Virginia.

   542.   Matan is the first member of his family to be born in the United States.

   543.   Matan is the direct descendant of Holocaust survivors.

   544.   Matan’s father Alon was born in Israel. Matan’s paternal great-grandparents on Matan’s

          grandmother Gina’s side met in a Displaced Persons Camp after World War II and

          emigrated from Europe to Israel in 1949. Matan’s paternal grandfather Abraham fought for

          Israel in the 1967 Six-Day War, the 1967-1970 War of Attrition, and the 1973 Yom Kippur

          War, in which he was permanently paralyzed. Matan’s father also served in the Israeli

          Army.




                                Image depicting Matan and his grandfather in Israel.



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   545.   Matan’s mother Vered was born in Israel. Matan’s ancestors on his mother’s side are

          Jewish and originated in the Middle East. They endured innumerable hardships and

          sacrifice, including the loss of Matan’s great-aunt in the journey to Israel. Matan’s great-

          uncle fought and died in Israel’s War for Independence at the Battle of Nabi-Samuel. Every

          year, Matan and his family visit and pay respects at his tomb in Israel. During the Arab

          Revolt during the British Mandate, Matan’s grandfather’s house was burned to the ground.

   546.   Matan’s mother and father are proud and staunch Zionists, as is Matan. They were raised

          to understand the horrors of the Holocaust and to cherish the sacred value of their

          homeland, Israel. They raised Matan with the same ideals, values, and faith.

   547.   Matan’s parents and Matan were raised Jewish and consider themselves “deeply

          connected” to Judaism and Israel. Their faith goes far beyond simply the passing of

          traditions or the observance or maintenance of the dictates of religion but a deep belief that

          their faith is a form of standing proud and defiant and defeating their ancestral oppressors.

          In Matan’s family and throughout his life, all of the Jewish holidays are observed, the

          Sabbath is celebrated, and every male owns a Jewish star necklace. From a very early age,

          Matan felt a passion to study history, especially the classics and antiquity. When the time

          came for Matan to make his Bar Mitzvah, he requested that the ceremony take place where

          he “could feel the ground of his ancestors below him.” His mother was left with three

          places from which he could choose: the Western Wall in Jerusalem, Masada in southern

          Israel, or Caesarea, in north-central Israel. Matan chose the site of Caesarea due to his own

          sense of connection to the important place. Even today, when Matan is at a synagogue, he

          reads his Bar Mitzvah portions.




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                         Image depicting Matan in Israel, praying and wrapping Teffilin.

   548.   Matan and his family have visited Israel at least twice a year, every year, for many years

          on end and Matan has spent over four whole years of his life in Israel. Matan’s mother

          raised him, in his words, to be a “staunch, unflinching Zionist who loves his people, his

          religion, and his country.” Matan’s father taught him first and foremost to approach all

          things in life, especially people, with an open mind, and to always stand firm in matters of

          his values and his aspirations.

   549.   Before college, Matan attended a Jewish school where he wore his Yarmulke, prayed every

          morning, read the Bible daily, engaged in the holy practice of wrapping

          Tefillin (phylacteries), studied rhetoric and debate, and learned to read Biblical Hebrew

          and Ancient Aramaic.

   550.   Like his counsel, hundreds of thousands of students and faculty, and millions of visitors to

          Mr. Jefferson’s University, Matan fell in love at first sight with the Academical Village,

          the Palladian, classical architecture, and the near-molecular level of historical significance


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          imbued in every brick and column. Matan knew that he absolutely must apply to the

          University the moment he set foot on Grounds for the first time. In his recollection, the

          entire educational environment—people, places, the learning environment, and the

          culture—was welcoming, and “the campus was gorgeous.” Matan’s father advised Matan

          not to apply to the school but to the professors, the “people” part of the educational

          environment. As Matan explored the University as an option for college, he discovered that

          many of the classics books he loved and was studying, especially and joyously including

          the edition of Marcus Aurelius’ Meditations that he was reading, were written and

          translated by University of Virginia professors. Matan learned and is extremely proud of

          the fact that the University of Virginia houses one of the most distinguished and impressive

          collections of classics materials, documents, and books, and the classics department at

          UVA is considered preeminent in the United States. As Matan puts it, “holding my personal

          copy of Meditations, seeing the UVA professor who wrote it and getting it autographed by

          him, during my First Year, was a dream come true.” Matan loves the study of classics, and

          he adores studying classics at the University of Virginia.

   551.   During the past year, Matan has continued to pray daily and read the Bible, but only in

          private. Matan still wraps Tefillin every day, but only in private. Though he would

          normally wear his Yarmulke, he only does so in private and has refrained from wearing his

          kippah in public for safety reasons, especially when he will be somewhere where he cannot

          be sure who will be near him or behind him, such as in class, in UVA facilities, or on

          Grounds where antisemitic demonstrations are taking place, which, today, is everywhere.




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   552.   Matan was not prepared for the overt, baldfaced, virulent antisemitism that he encountered

          as a student at the University of Virginia, and, frankly, he should not be expected to have

          been prepared for that hatred. No one should be.

   553.   Matan should not have been denied access to the thing he loves most in his life next to his

          faith and his family, the study of classics at the University of Virginia, because he is Jewish,

          or Israeli or a Zionist. But he was.

   554.   Matan should not have been forced to deny or hide his faith or forced to hide himself

          because he is Jewish or Israeli or a Zionist. But he was.




                            Image depicting Matan at the Homer Statue on the Lawn
                              during his early days at the University of Virginia.

   555.   As a result of antisemitic abuse and harassment at the University of Virginia, Matan’s life

          has been irrevocably altered, harmed, and impaired. Matan’s ambitions, career prospects,

          reputation, physical and mental well-being, and opportunities for happiness have been

          altered, harmed, and impaired.




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   556.   The Plaintiff has lost his innocence, his sense of wonder, his aspirations, his sense of safety

          and security, and his belief in the goodness and sanctity of the institutions where he should

          feel safe and secure and be free to live, study, learn, and thrive as a young adult.

   557.   Matan has been threatened, physically assaulted, and called vile names and slurs on

          multiple occasions. “Filthy Jew” is but one of the many epithets to which the Plaintiff is

          treated on a regular basis.

   558.   President Ryan and the University of Virginia have denied Matan the protections and

          privileges that they afford non-Jewish students, because of his race, his faith, his ethnicity,

          his national origin, and his shared ancestry—in other words, all of the identities of being

          Jewish. But for race, Matan’s race— his faith, his ethnicity, his national origin, his shared

          ancestry, his “Jewishness”—which is considered by the Ryan Administration to be “white”

          and an “oppressor,” Defendant Ryan and the University of Virginia would have afforded

          him necessary protections, opportunities, and privileges.

   559.   As a result of Defendants UVA and Ryan’s failure and refusal to comply with their own

          policies and legal obligations to prevent and prohibit discrimination and harassment against

          Jewish students, Matan, unlike other UVA students, has been totally denied and deprived

          of the benefits, privileges, and protections that those other students enjoy at UVA. As a

          result of Defendants UVA and Ryan’s direct, discriminatory acts and deliberate

          indifference, Matan has been totally isolated and ostracized from access to the educational

          environment that is the University of Virginia.

   560.   University of Virginia students and faculty members who are members of Defendants FJP

          at UVA and SJP at UVA, acting individually and in concert with other groups and




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          individuals, taunt, malign, ridicule, assault, abuse, harass, intimidate, isolate, exclude and

          marginalize Matan with impunity and without consequence.

   561.   Matan does not feel physically safe in Charlottesville or anywhere on University premises

          and as a result spent much of his First Year away from his dormitory and away from

          Charlottesville, away from his college friends, his teachers, and his college experience in

          order to remain safe and secure.

   562.   The antisemitic events and incidents described and set forth in this lawsuit and the absence

          of action by the University of Virginia have devastated and frustrated Matan’s ability to

          participate in and enjoy UVA’s expansive educational programs and other University

          experiences. Matan has lost the joys of his academic pursuits and the adoration of his

          studies as a result of the severe, pervasive, objectively offensive, hostile educational

          environment.

   563.   Matan does not feel safe walking on Grounds, being on University property or in University

          facilities, or going to class. Matan is fearful—resulting in constant, unhealthy vigilance—

          that he will be identified as Jewish and targeted as a result of his identity, faith, national

          origin, ethnicity, and shared ancestry. Matan has been denied meaningful access to all of

          the benefits and resources of UVA student life, including health and safety resources.

   564.   Matan has suffered a profound wounding—a lasting heartache and deep disappointment—

          as a result of the Defendants’ discrimination, harassment, and retaliation. Matan has lost

          an entire year of college—the sacred and near-mythical “UVA First Year Experience” and

          his entire college experience will be forever tarnished, impaired, and ruined. Matan and his

          reputation have been forever branded and tarnished by the fraudulent “Honor Charge,” that

          the University took up and illegally prosecuted, knowing that it was illegitimate and




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          brought in utter bad faith as a means of harassing and tormenting Matan because he is

          Jewish and because he expressed his faith and his experiences.

   565.   Matan’s legitimate expectations for his college career and experience—rights, privileges,

          and opportunities—have been entirely frustrated, impaired, and lost.

   566.   Matan has suffered significant physical injuries, harms, and damages. Matan suffers from

          a serious auto-immune disease that affects major life functions and can often be fatal.

          Physical and mental stress are known triggers of the conditions and symptoms associated

          with this disease. The exacerbation of the disease, its symptoms, and its long-term effects

          by the types of distress and anguish that Matan has suffered is widely accepted by the

          scientific and medical community. Matan has also suffered mental anguish, severe

          emotional distress, paralyzing anxiety, constant oppressive fear, depression, feelings of

          worthlessness, humiliation, embarrassment, a constant sense of dread and impending

          doom, Post Traumatic Stress Disorder and related syndromes or conditions, Traumatic

          Invalidation, and severe psychological distress of the gravest degree. Privacy concerns and

          the utterly heartbreaking, gruesome, personal, and sensitive nature of the health and

          medical conditions suffered by Matan limit what can or should be alleged in this pleading,

          but they are real, tangible, scientific, and medically cognizable. Matan has suffered and

          will continue to suffer actual long-term economic and financial repercussions and damages.

   567.   Perhaps worst of all, Matan, a young man of deep faith and spiritual adoration and

          adherence of Judaism, was forced to deny his faith, to hide his Jewish identity, to shield

          himself from recognition as a Jew and an Israeli. This has caused him endless personal

          suffering of a spiritual and existential nature.




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   568.   The individuals who personally committed the underlying actionable, egregious

          misconduct were University of Virginia students and faculty members and were, at all

          times, acting in furtherance of and fully in the course and scope of their membership in and

          association with Defendants SJP at UVA and FJP at UVA. These bad actors were all

          University of Virginia students and faculty members, and they were all acting on behalf of

          SJP at UVA and FJP at UVA when they broke the law and violated University policies and

          codes of conduct.

   569.   All of the damages that the Plaintiff has suffered—physical, emotional, mental,

          psychological, economic, and financial—are the direct, proximate, and foreseeable result

          of the illegal, immoral, and egregious acts, errors, and omissions of each Defendant

          individually and collectively.

                         VI. LEGAL CLAIMS & CAUSES OF ACTION

                   “Those who kept silent yesterday will remain silent tomorrow.”
                                        Night, Elie Wiesel.

   570.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

          as if alleged anew.

   A.     CLAIMS AGAINST DEFENDANTS SJP at UVA and FJP at UVA

   571.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

          as if alleged anew.

                                           COUNT I
                         VIOLATIONS OF VIRGINIA CODE § 8.01-42.1
                          Against Defendants FJP at UVA & SJP at UVA

   572.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

          as if alleged anew.




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   573.   Virginia Code § 8.01-42.1 creates a civil cause of action for any person who is subjected

          to acts of intimidation, harassment, or violence based upon racial, religious, or ethnic

          animosity.

   574.   As set forth in exacting and exhaustive detail above, the Plaintiff was subjected to and a

          victim of acts of intimidation, harassment, and violence by Defendants FJP at UVA and

          SJP at UVA that were motivated by racial, religious, and ethnic animosity.

   575.   As a result, the Plaintiff is entitled to entry of a Declaratory Judgment in his favor regarding

          Defendants FJP at UVA and SJP at UVA’s violations of Virginia Code § 8.01-42.1.

   576.   The Plaintiff is entitled to permanent, prospective injunctive relief regarding Defendants

          FJP at UVA and SJP at UVA’s violations of Virginia Code § 8.01-42.1.

   577.   The Plaintiff is entitled to an award of compensatory damages, including a financial award

          reflecting the substantial economic and non-economic damages and losses the Plaintiff has

          suffered from Defendants FJP at UVA and SJP at UVA’s violations of Virginia Code §

          8.01-42.1.

   578.   Because Defendants FJP at UVA and SJP at UVA’s acts, errors, and omissions were

          malicious, intentional, intentionally discriminatory, and impermissibly motivated, an

          award of punitive damages under Virginia Code § 8.01-42.1 is warranted.

   579.   The Plaintiff is entitled to an award of attorneys’ fees and pre- and post-judgment interest

          and litigation costs against Defendants FJP at UVA and SJP at UVA under Virginia Code

          § 8.01-42.1.




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                                       COUNT II
                        NEGLIGENCE, GROSS NEGLIGENCE &
                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                       Against Defendants FJP at UVA & SJP at UVA

   580.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

          as if alleged anew.

   581.   Defendants FJP at UVA and SJP at UVA were negligent. Defendants FJP at UVA and SJP

          at UVA owed the Plaintiff and other students and faculty at the University of Virginia

          certain duties of care, including the duty of ordinary care, the duty to follow the anti-

          discrimination and anti-harassment rules and policies of the University of Virginia,

          including those pertaining specifically to student and faculty conduct and the duty to

          faithfully adhere to local, state, and federal laws when “on Grounds” or acting as a student

          or faculty member associated with the University of Virginia.

   582.   As set forth in exacting and exhaustive detail above, Defendants FJP at UVA and SJP at

          UVA individually, separately, and repeatedly breached the applicable duties and standards

          of care and were repeatedly negligent in the discharge of each’s duties and responsibilities

          as members of the University Community.

   583.   Defendant FJP at UVA is liable for negligence.

   584.   Defendant SJP at UVA is liable for negligence.

   585.   As set forth in exacting and exhaustive detail above, Defendants FJP at UVA and SJP at

          UVA’s behavior and breaches constitute gross negligence. These Defendants separately

          and jointly engaged in egregious, hate-based misconduct. Defendants FJP at UVA and SJP

          at UVA separately and jointly engaged in acts, errors, and omissions that represented a

          heedless and palpable violation of the legal duties respecting the rights of others that

          amounted to the total and abject absence of slight diligence, or the want of even scant care.



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          Defendants FJP at UVA and SJP at UVA’s behavior and misconduct are shocking to fair-

          minded people and the Defendants exhibited willful recklessness and an utter disregard of

          prudence amounting to complete neglect of the safety of others.

   586.   Defendant FJP at UVA’s acts, errors, and omissions constitute gross negligence. Defendant

          SJP at UVA’s acts, errors, and omissions constitute gross negligence.

   587.   Defendants FJP at UVA and SJP at UVA individually and jointly intentionally inflicted

          severe emotional distress upon the Plaintiff and, consequently, must answer in tort for their

          respective acts, errors, and omissions. As set forth in exacting and exhaustive detail above,

          Defendants FJP at UVA and SJP at UVA’s behavior and breaches were purposeful,

          calculated, intentional, pre-meditated, and beyond reckless. Defendants FJP at UVA and

          SJP at UVA’s behavior and breaches were outrageous and intolerable and entirely

          unacceptable in any version of decent society. Defendants FJP at UVA and SJP at UVA’s

          behavior and breaches were specifically intended to and did in fact cause the Plaintiff

          severe emotional, mental, and psychological harm, and the emotional damages and harms

          suffered by the Plaintiff as a result of the Defendants’ willful and heinous misconduct was

          the very definition of serious and severe.

   588.   The Plaintiff has suffered substantial, severe, and permanent physical and psychological

          damages as well as financial and economic losses as a proximate, direct, and foreseeable

          result of Defendants FJP at UVA and SJP at UVA’s negligence, gross negligence, and

          intentional infliction of emotional distress.

   589.   The Plaintiff is entitled to entry of a Declaratory Judgment in his favor regarding Defendant

          FJP at UVA and SJP at UVA’s negligence, gross negligence, and intentional infliction of

          emotional distress.




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   590.   The Plaintiff is entitled to permanent, prospective injunctive relief regarding Defendant

          FJP at UVA and SJP at UVA’s negligence, gross negligence, and intentional infliction of

          emotional distress.

   591.   The Plaintiff is entitled to an award of compensatory damages, including a financial award

          reflecting the substantial economic and non-economic damages and losses the Plaintiff has

          suffered from Defendants FJP at UVA and SJP at UVA’s negligence, gross negligence,

          and intentional infliction of emotional distress.

   592.   Because Defendants FJP at UVA and SJP at UVA’s acts, errors, and omissions were

          malicious, intentional, intentionally discriminatory, and impermissibly motivated, an

          award of punitive damages is warranted.

   593.   The Plaintiff is entitled to an award of attorneys’ fees and pre- and post-judgment interest

          and litigation costs against Defendants FJP at UVA and SJP at UVA.

                                        COUNT III
                     VIOLATIONS OF 42 U.S.C. §§ 1981, 1985, 1986 & 1988
                        Against Defendants FJP at UVA & SJP at UVA

   594.   At and in universities and colleges, 42 U.S.C. § 1981 prohibits intentional discrimination

          and hostile educational environments on the basis of race, shared ancestry, or ethnicity

          (whether perceived or actual) and prohibits retaliation based on participation or support of

          protected activities.

   595.   Courts are uniform in the conclusion that the “relationship” between student and university

          or college is “contractual in nature,” bringing the conduct alleged in this lawsuit within the

          ambit, protections, and governance of 42 U.S.C. § 1981.

   596.   42 U.S.C. § 1985 of the Ku Klux Klan Act provides that

                  [i]f two or more persons in any State or Territory conspire or go in disguise
                  on the highway or on the premises of another, for the purpose of depriving,



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                 either directly or indirectly, any person or class of persons of the equal
                 protection of the laws, or of equal privileges and immunities under the laws
                 . . . the party so injured or deprived may have an action for the recovery of
                 damages occasioned by such injury or deprivation, against any one or more
                 of the conspirators. 42 U.S.C. § 1985(3).

   597.   Defendants SJP at UVA and FJP at UVA conspired both among themselves and with the

          others for the purpose of depriving Matan of his rights and protections and privileges,

          including his constitutional rights and equal protection under the law, specifically including

          access to all parts of the UVA public accommodation educational environment and

          campus, equal to the access enjoyed by others.

   598.   As a result of these Defendants’ actions, Matan has been injured by losing access to

          educational opportunities, losing access to library and classroom facilities, losing in-person

          learning opportunities, losing the ability to prepare for exams, being denied equal

          participation in the life of the university, suffering emotional and physical damages and

          stress that has diverted time, attention, and focus from study, and by other harms.

   599.   Intentional discrimination against Jews and Israelis based on actual or perceived shared

          ancestry, race, and/or ethnicity, is prohibited under 42 U.S.C. §§ 1981, 1985, and 1986.

   600.   Defendants FJP at UVA and SJP at UVA intentionally discriminated against the Plaintiff

          on the basis of race, shared ancestry, and ethnicity or ethnic characteristics in violation of

          42 U.S.C. §§ 1981, 1985, and 1986.

   601.   Harassment, intimidation, humiliation, and abuse, on the basis of his race, shared ancestry,

          and ethnicity or ethnic characteristics, called a “hostile environment,” are prohibited by 42

          U.S.C. §§ 1981, 1985, and 1986.

   602.   Defendants FJP at UVA and SJP at UVA intentionally and deliberately harassed,

          intimidated, humiliated, physically assaulted, and abused the Plaintiff on the basis of his




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          race, shared ancestry, and ethnicity or ethnic characteristics in violation of 42 U.S.C. §§

          1981, 1985, and 1986.

   603.   Retaliation against those who engage or participate in protected activities or support others

          who do is prohibited 42 U.S.C. 42 U.S.C. §§ 1981, 1985, and 1986.

   604.   Defendant SJP at UVA intentionally and deliberately retaliated against the Plaintiff in

          response to and because of his participation and engagement in protected activities and

          because of, or “but for” his race, shared ancestry, and ethnicity or ethnic characteristics

          when it fraudulently and maliciously filed a false “Honor Charge” against the Plaintiff with

          the sole purposes of silencing the Plaintiff, retaliating against the Plaintiff, and causing him

          excruciating and severe mental, emotional, and psychological distress along with

          reputational harm and financial and economic losses.

   605.   Defendant SJP at UVA sought to drive the Plaintiff away from UVA, to “exterminate” him

          from his college experience, all because of his race, his shared ancestry, and his ethnicity.

   606.   “But for” the Plaintiff’s race, shared ancestry, and ethnicity or ethnic characteristics,

          Defendants FJP at UVA and SJP at UVA would not have mistreated, discriminated,

          harassed, or retaliated against the Plaintiff, all in violation of 42 U.S.C. §§ 1981, 1985, and

          1986.

   607.   Defendants FJP at UVA and SJP at UVA’s intentional discrimination and harassment have

          the aim and result of denying and depriving the Plaintiff equal access to the full panoply

          of educational opportunities, experiences, benefits, and privileges on the basis of race,

          religion, ethnicity, ethnic characteristics, and shared ancestry in violation of 42 U.S.C. §§

          1981, 1985, and 1986.




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   608.   “But for” the Plaintiff’s race, religion, shared ancestry, and ethnic characteristics,

          Defendants FJP at UVA and SJP at UVA would not have discriminated against, harassed,

          or retaliated against the Plaintiff in violation of 42 U.S.C. §§ 1981, 1985, and 1986.

   609.   The Plaintiff is entitled to entry of a Declaratory Judgment in his favor regarding

          Defendants FJP at UVA and SJP at UVA’s violations of 42 U.S.C. §§ 1981, 1985, and

          1986.

   610.   The Plaintiff is entitled to permanent, prospective injunctive relief regarding Defendants

          FJP at UVA and SJP at UVA’s violations of 42 U.S.C. §§ 1981, 1985, and 1986.

   611.   The Plaintiff is entitled to an award of compensatory damages in his favor arising from

          Defendants FJP at UVA and SJP at UVA’s violations of 42 U.S.C. §§ 1981, 1985, and

          1986. The Plaintiff is entitled to recover monetary relief and/or a financial award of

          compensatory damages for the profound and heartbreaking injuries and harm he has

          suffered, including substantial economic and non-economic damages and losses.

   612.   Because Defendants FJP at UVA and SJP at UVA’s acts, errors, and omissions that

          violated the federal civil rights laws were malicious, intentional, intentionally

          discriminatory, and impermissibly motivated, an award of punitive damages reflective of

          their purposeful intent, their willful disregard for the Plaintiff’s federally protected rights,

          the extent of the harm they caused the Plaintiff, and the certainty that the Plaintiff would

          be permanently and forever harmed by their actions is necessary and appropriate under 42

          U.S.C. §§ 1981, 1985, and 1986.

   613.   The Plaintiff is entitled to an award of attorneys’ fees, pre- and post-judgment interest, and

          taxable litigation costs against Defendants FJP at UVA and SJP at UVA’s pursuant to 42

          U.S.C. § 1988.




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                                           COUNT IV
                                      CIVIL CONSPIRACY
                           Against Defendants FJP at UVA & SJP at UVA

   614.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

          as if alleged anew.

   615.   In Virginia, the common law has long recognized actions based on civil conspiracy. Dunlap

          v. Cottman Transmission Systems LLC, 287 Va. 207, 214-15 (2014).

   616.   Members of Defendants FJP at UVA and SJP at UVA, acting as members and on behalf of

          those entities, agreed to participate in the illegal, unlawful, and tortious conduct alleged in

          great detail above that was part of a planned and calculated common scheme to illegally,

          unlawfully, and tortiously harass, terrorize, and abuse Jewish students and faculty members

          at the University of Virginia for the overall pro-Hamas, anti-Israel, antisemitic, and anti-

          Zionist aims and common cause. Defendants FJP at UVA and SJP at UVA’s overt acts in

          furtherance of the common scheme and conspiracy proximately, directly, and foreseeably

          injured and damaged Matan.

   617.   As set forth in exacting and exhaustive detail above, the Plaintiff was subjected to and a

          victim of acts of intimidation, harassment, and violence by Defendants FJP at UVA and

          SJP at UVA that were motivated by racial, religious, and ethnic animosity and part of the

          common pro-Hamas scheme.

   618.   As a result, the Plaintiff is entitled to entry of a Declaratory Judgment in his favor regarding

          Defendants FJP at UVA and SJP at UVA’s civil conspiracy.

   619.   The Plaintiff is entitled to permanent, prospective injunctive relief regarding Defendants

          FJP at UVA and SJP at UVA’s civil conspiracy.




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   620.   The Plaintiff is entitled to an award of compensatory damages, including a financial award

          reflecting the substantial economic and non-economic damages and losses the Plaintiff has

          suffered from Defendants FJP at UVA and SJP at UVA’s civil conspiracy.

   621.   Because Defendants FJP at UVA and SJP at UVA’s conspiracy and the underlying acts,

          errors, and omissions were malicious, intentional, intentionally discriminatory, and

          impermissibly motivated, an award of punitive damages is warranted.

   622.   The Plaintiff is entitled to an award of attorneys’ fees and pre- and post-judgment interest

          and litigation costs against Defendants FJP at UVA and SJP at UVA.

   B.     CLAIMS AGAINST DEFENDANT THE UNIVERSITY OF VIRGINIA

   623.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

          as if alleged anew.

                                     COUNT V
          VIOLATIONS OF TITLE VI – 42 U.S.C. § 2000d et seq. and 42 U.S.C. § 1983
                          Against The University of Virginia

   624.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

          as if alleged anew.

   625.   Title VI, found at 42 U.S.C. § 2000d et seq., prohibits intentional discrimination, including

          disparate treatment and harassment, on the basis of race, color, or national origin in any

          program or activity that receives federal funds or other federal financial assistance.

   626.   The University of Virginia receives federal funds and financial assistance and has admitted

          in other matters and at other times that it falls within the jurisdiction and purview of Title

          VI. In imposing liability under Title VI upon public universities that qualify as state actors,

          Congress has abrogated any sovereign or Eleventh Amendment immunities that might

          otherwise apply to the University of Virginia.




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   627.   On May 25, 2023, just one year ago, The Honorable Catherine E. Lhamon, the United

          States Department of Education Assistant Secretary for Civil Rights, writing to universities

          and colleges nationwide who are subject to Title VI in what is known as a “Dear Colleague

          Letter,” stated the following:

                 I write to remind you of schools’ legal obligation under Title VI of the Civil
                 Rights Act of 1964 (Title VI) to provide all students, including Jewish
                 students, a school environment free from discrimination based on race,
                 color, or national origin, including shared ancestry or ethnic characteristics.

                 Earlier this year, the Department of Education’s Office for Civil Rights
                 (OCR) issued a fact sheet - Protecting Students from Discrimination Based
                 on Shared Ancestry or Ethnic Characteristics - explaining how the
                 protection offered by Title VI, which prohibits discrimination based on race,
                 color, or national origin by programs or activities of recipients of federal
                 financial assistance, extends to students who experience discrimination,
                 including harassment, based on their actual or perceived: (i) shared ancestry
                 or ethnic characteristics; or (ii) citizenship or residency in a country with a
                 dominant religion or distinct religious identity.

                 Title VI protects all students, including students who are or are perceived to
                 be Jewish, from discrimination based on race, color, or national origin. For
                 example, OCR may investigate complaints that students have been
                 subjected to ethnic or ancestral slurs; harassed for how they look, dress, or
                 speak in ways linked to ethnicity or ancestry (e.g., skin color, religious
                 attire, language spoken); or stereotyped based on perceived shared ancestral
                 or ethnic characteristics.

   628.   Discrimination against Jews and Israelis, including based on actual or perceived shared

          ancestry, race, national origin, and/or ethnicity, is prohibited under Title VI.

   629.   The allegations set forth above describe direct violations of Title VI by the University of

          Virginia for intentional discrimination against the Plaintiff on the basis of race, national

          origin, shared ancestry, and ethnic characteristics.

   630.   The Plaintiff is and identifies as Jewish and Israeli and his status and identification as a

          Jew and an Israeli brings him within the purview and scope of Title VI’s protections.




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   631.   The University of Virginia expressly refused to protect Matan on the basis of race, because

          of race, because of his race, and, “but for” Matan’s race, it would have acted and followed

          its obligations to protect Matan. The University of Virginia’s decisions that were motivated

          and driven by race constitute a basis for liability independent of the direct creation of a

          hostile educational environment and its deliberate indifference to the hostile educational

          environment under both Title VI and 42 U.S.C. § 1983.

   632.   The University of Virginia created, tolerated, nurtured, fomented, and fostered intentional,

          severe, and pervasive harassment and abuse, known as a hostile environment, against the

          Plaintiff on the basis of his race, national origin, shared ancestry, and ethnic characteristics,

          in violation of Title VI.

   633.   The University of Virginia intentionally discriminated against the Plaintiff and treated the

          Plaintiff worse than other non-Jewish and non-Israeli students on the basis of the Plaintiff’s

          race, national origin, shared ancestry, and ethnic characteristics, in violation of Title VI.

   634.   The University of Virginia’s intentional discrimination and hostile educational

          environment deny and deprive the Plaintiff equal access to the full panoply of educational

          opportunities, experiences, benefits, and privileges that are available and afforded to non-

          Jewish and non-Israeli students in violation of Title VI.

   635.   “But for” the Plaintiff’s race, national origin, shared ancestry, and ethnic characteristics,

          the University of Virginia would not have discriminated against or harassed the Plaintiff.

   636.   The allegations set forth above describe direct violations of Title VI by the University of

          Virginia for retaliation against the Plaintiff, including tangible adverse actions because of

          and as a result of the Plaintiff’s engagement or participation in protected activities.




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   637.   The University of Virginia’s own acts, errors, and omissions constitute violations of Title

          VI, meaning that Defendant UVA is directly responsible and liable to the Plaintiff for

          violations of Title VI.

   638.   The University of Virginia is also vicariously liable for violation of Title VI, and the acts,

          errors, and omissions of administrators, employees and agents that violate Title VI are

          attributable and imputable to the University of Virginia.

   639.   The University of Virginia’s violations of Title VI, including intentional discrimination;

          the creation, maintenance, and deliberate indifference to a hostile educational environment;

          and retaliatory actions have directly, proximately, and foreseeably damaged, injured, and

          harmed the Plaintiff.

   640.   As a result, the Plaintiff is entitled to entry of a Declaratory Judgment in his favor regarding

          the University of Virginia’s Title VI violations.

   641.   As a result, the Plaintiff is entitled to an award of compensatory damages in his favor

          regarding the University of Virginia’s Title VI violations.

   642.   The University of Virginia’s acts, errors, and omissions violate the Plaintiff’s Fourteenth

          Amendment right to Equal Protection and First Amendment rights of Free Speech and Free

          Exercise. Absent prospective injunctive and declaratory relief against the University of

          Virginia, the Plaintiff will continue to be harmed by the University of Virginia’s actions.

   643.   As to claims under 42 U.S.C. § 1983 against the University of Virginia, the Plaintiff only

          seeks prospective injunctive relief.

   644.   As a result, the Plaintiff is entitled to an award of attorneys’ fees and pre- and post-

          judgment interest and litigation costs pursuant to Title VI and 42 U.S.C. § 1988.




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   C.     CLAIMS AGAINST DEFENDANT PRESIDENT JAMES E. RYAN

   645.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

          as if alleged anew.

                                       COUNT VI
                         VIOLATIONS OF 42 U.S.C. §§ 1981, 1983 & 1988
                                  Against Defendant Ryan

   646.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

          as if alleged anew.

   647.   Defendant Ryan is a public official who owes duties to the Commonwealth of Virginia and

          is a state actors who acted at all times under color of state law and within the course and

          scope of his position, employment, and duties as the senior and ultimate representative of

          the University of Virginia and as a public official.

   648.   At and in universities and colleges, 42 U.S.C. § 1981 prohibits intentional discrimination

          and hostile educational environments on the basis of race, shared ancestry, or ethnicity

          (whether perceived or actual) and prohibits retaliation based on participation or support of

          protected activities.

   649.   Courts are uniform in the conclusion that the “relationship” between student and university

          or college is “contractual in nature,” bringing the conduct alleged in this lawsuit within the

          ambit, protections, and governance of 42 U.S.C. § 1981.

   650.   Intentional discrimination against Jews and Israelis, including based on actual or perceived

          shared ancestry, race, and ethnicity, is prohibited under 42 U.S.C. § 1981.

   651.   The Fourteenth Amendment of the United States Constitution, as applied to state actors

          and public officials and made actionable under 42 U.S.C. § 1983, prohibits unlawful




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          discrimination, harassment, and retaliation on the basis of race, religion, national origin,

          ethnicity, or shared ancestry at public universities or colleges.

   652.   The First Amendment of the United States Constitution, as applied to state actors and

          public officials and made actionable under 42 U.S.C. § 1983, prohibits unlawful

          discrimination, harassment, and retaliation on the basis of religion or expressions of faith,

          or other expressions of public concern at public universities or colleges.

   653.   Defendant Ryan intentionally discriminated against Matan on the basis of his race, shared

          ancestry, ethnicity, ethnic characteristics, and religion (and the free expression and exercise

          thereof) in violation of 42 U.S.C. §§ 1981 and 1983.

   654.   The creation, toleration, nurturing, fomenting, and fostering of intentional, severe, and

          pervasive, harassment and abuse, on the basis of his race, shared ancestry, ethnicity, ethnic

          characteristics, and/or religion (or the free expression or exercise thereof), called a “hostile

          environment,” is prohibited by 42 U.S.C. §§ 1981 and 1983.

   655.   The creation, toleration, nurturing, fomenting, and fostering of intentional, severe, and

          pervasive, harassment and abuse, on the basis of religion, national origin, protected free

          speech and expressions, race, shared ancestry, ethnicity or ethnic characteristics, and

          engagement or participation in protected activities violates the First and Fourteenth

          Amendments of the United States Constitution, as applied to Defendant Ryan by 42 U.S.C.

          § 1983.

   656.   Defendant Ryan intentionally and deliberately created, tolerated, nurtured, fomented, and

          fostered a hostile environment of severe and pervasive harassment, intimidation, and abuse

          on the basis of Matan’s race, shared ancestry, ethnicity, ethnic characteristics, and/or




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          religion (or the free expression or exercise thereof) in violation of 42 U.S.C. §§ 1981 and

          1983.

   657.   Retaliation against those who engage or participate in protected activities or support others

          who do is prohibited 42 U.S.C. §§ 1981 and 1983.

   658.   Defendant Ryan intentionally and deliberately retaliated against Matan in response to and

          because of his participation and engagement in protected activities and because of, or “but

          for” his race, shared ancestry, ethnicity, ethnic characteristics, and his religion in violation

          of 42 U.S.C. §§ 1981 and 1983.

   659.   “But for” Matan’s race, including shared ancestry, ethnicity, ethnic characteristics, and

          religion, Defendant Ryan would not have mistreated, discriminated, or retaliated against;

          maintained a hostile environment against; nor refused to protect the Plaintiff, all in

          violation of 42 U.S.C. §§ 1981 and 1983.

   660.   Defendant Ryan’s intentional discrimination and creation of a hostile educational

          environment denied and deprived Matan of equal access to the full panoply of educational

          opportunities, experiences, benefits, and privileges on the basis of race, ethnicity, ethnic

          characteristics, shared ancestry, and religion in violation of 42 U.S.C. §§ 1981 and 1983.

   661.   “But for” the Plaintiff’s race, shared ancestry, ethnic characteristics and religion,

          Defendant Ryan would not have discriminated against, harassed, or retaliated against the

          Plaintiff in violation of 42 U.S.C. §§ 1981 and 1983.

   662.   Defendant Ryan intentionally discriminated against the Plaintiff on the basis of religion,

          national origin, protected free speech and expressions, race, shared ancestry, ethnicity or

          ethnic characteristics, and engagement or participation in protected activities in violation




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          of the First and Fourteenth Amendments of the United States Constitution, as applied to

          Defendant Ryan by 42 U.S.C. § 1983.

   663.   Defendant Ryan intentionally and deliberately created, tolerated, nurtured, fomented, and

          fostered a hostile environment of severe and pervasive harassment, intimidation, and abuse

          on the basis of religion, national origin, protected free speech and expressions, race, shared

          ancestry, ethnicity or ethnic characteristics, and engagement or participation in protected

          activities in violation of the First and Fourteenth Amendments of the United States

          Constitution, as applied to Defendant Ryan by 42 U.S.C. § 1983.

   664.   Retaliation against those who engage or participate in protected activities or support others

          who do on the basis of religion, national origin, protected free speech and expressions,

          race, shared ancestry, ethnicity or ethnic characteristics, and engagement or participation

          in protected activities violates the First and Fourteenth Amendments of the United States

          Constitution, as applied to Defendant Ryan by 42 U.S.C. § 1983.

   665.   Defendant Ryan intentionally and deliberately retaliated against the Plaintiff in response to

          and because of his participation and engagement in protected activities on the basis of

          religion, national origin, protected free speech and expressions, race, shared ancestry,

          ethnicity or ethnic characteristics, and engagement or participation in protected activities

          in violation the First and Fourteenth Amendments of the United States Constitution, as

          applied to Defendant Ryan by 42 U.S.C. § 1983.

   666.   The Plaintiff is entitled to entry of a Declaratory Judgment in his favor regarding Defendant

          Ryan’s violations of 42 U.S.C. §§ 1981 & 1983.

   667.   The Plaintiff is entitled to permanent, prospective injunctive relief regarding Defendant

          Ryan’s violations of 42 U.S.C. §§ 1981 & 1983.




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   668.   The Plaintiff is entitled to an award of compensatory damages in his favor arising from

          Defendants Ryan’s violations of 42 U.S.C. §§ 1981 & 1983. The Plaintiff is entitled to

          recover monetary relief and/or a financial award of compensatory damages for the

          profound and heartbreaking injuries and harm he has suffered, including substantial

          economic and non-economic damages and losses.

   669.   Because Defendant Ryan’s acts, errors, and omissions that violated the federal civil rights

          laws were malicious, intentional, intentionally discriminatory, and impermissibly

          motivated, an award of punitive damages reflective of their purposeful intent, their willful

          disregard for the Plaintiff’s federally protected rights, the extent of the harm they caused

          the Plaintiff, and the certainty that the Plaintiff would be permanently and forever harmed

          by their actions is necessary and appropriate under 42 U.S.C. §§ 1981 & 1983.

   670.   The Plaintiff is entitled to an award of attorneys’ fees and pre- and post-judgment interest

          and litigation costs against Defendant Ryan pursuant to 42 U.S.C. § 1988.

                                        VII. JURY DEMAND

   671.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

          as if alleged anew.

   672.   The Plaintiff respectfully requests and demands a jury trial on all issues and matters so

          triable.

                                   VIII. PRAYER FOR RELIEF

   673.   The Plaintiff hereby incorporates, restates, and re-alleges the preceding paragraphs above

          as if alleged anew.




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   674.   WHEREFORE, the Plaintiff respectfully prays for, petitions, and requests the Honorable

          Court to enter Final Judgment in the Plaintiff’s favor, including the following award and

          relief:

          a.        A Declaratory Judgment in the Plaintiff’s favor pursuant to 28 U.S.C. § 2201;

          b.        An order compelling permanent, prospective injunctive relief in the Plaintiff’s

                    favor;

          c.        An award of compensatory damages against all Defendants to be determined by the

                    jury and trier of fact, that is reasonably calculated to compensate the Plaintiff for

                    the significant losses, injuries, and lasting damages and harm he has directly,

                    proximately, and foreseeably suffered as a result of the Defendants’ acts, errors,

                    and omissions;

          d.        An award of punitive damages against Defendants FJP at UVA, SJP at UVA, and

                    Ryan, separately and individually, in an amount to be determined by the jury that

                    is calculated to reflect the severity of the harm inflicted upon and damages suffered

                    by Matan Goldstein and taking into account for the intentional, purposeful, and

                    deliberate nature of these Defendants’ decisions, committed with the certainty that

                    Matan Goldstein would be damaged and that his life and future would be

                    irreparably impaired and ruined;

          e.        An award of attorneys’ fees and litigation and taxable costs to the maximum extent

                    permitted by applicable law;

          f.        Pre- and post-judgment interest to the maximum extent permitted by applicable

                    law;

          g.        Such other relief as the Court deems just and proper; and




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         h.    A JURY TRIAL ON ALL ISSUES AND MATTERS SO TRIABLE.

                                      Respectfully submitted, August 6, 2024,

                                      MATAN GOLDSTEIN

                                      By his counsel:

                                      /s/ Gregory W. Brown
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                                      Counsel for Matan Goldstein




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                                      CERTIFICATE OF SERVICE

   I hereby certify that on the 6th day of August, 2024, I will electronically file a copy of the foregoing
   with the Clerk of Court using the CM/ECF system, which will then send a notification of such filing
   (NEF) to the registered participants as identified on the NEF to receive electronic service, including:

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